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                                                  Office of
                                                  Energy Projects

                                                  August 2021



Mountain Valley Pipeline, LLC                     Docket No. CP21-57-000




             Mountain Valley Pipeline
              Amendment Project


                        Environmental
                           Assessment

                            Cooperating Agency:




                                   U.S. Army
                                    Corps of
                                   Engineers



                           Washington, DC 20426
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                            FEDERAL ENERGY REGULATORY COMMISSION
                                       WASHINGTON, D.C. 20426



OFFICE OF ENERGY PROJECTS                                       In Reply Refer To:
                                                                OEP/DG2E/Gas 3
                                                                Mountain Valley Pipeline, LLC
                                                                Mountain Valley Pipeline
                                                                Amendment Project
                                                                Docket No. CP21-57-000


TO THE INTERESTED PARTY:

       The staff of the Federal Energy Regulatory Commission (FERC or Commission)
has prepared an environmental assessment (EA) for the Mountain Valley Pipeline
Amendment Project (Amendment Project), proposed by Mountain Valley Pipeline, LLC
(Mountain Valley) in the above-referenced docket. Mountain Valley requests
authorization to change the crossing method of specific waterbodies and wetlands from
open-cut dry crossings (as authorized by its October 13, 2017 Certificate of Public
Convenience and Necessity [Certificate]) to trenchless methods (conventional bore,
guided conventional bore, or Direct Pipe® 1). In addition, Mountain Valley requests
authorization for two minor route adjustments to avoid wetlands and waterbodies and
authorization to conduct nighttime construction at eight trenchless crossings.

       The EA assesses the potential environmental effects of the construction and
operation of the Amendment Project in accordance with the requirements of the National
Environmental Policy Act (NEPA). The FERC staff concludes that approval of the
proposed project, with appropriate mitigating measures, would not constitute a major
federal action significantly affecting the quality of the human environment.

       The U.S. Army Corps of Engineers (COE) is a federal cooperating agency who
assisted us in preparing this EA because they have jurisdiction by law or special expertise
with respect to impacts to waters of the U.S. The COE may adopt the EA per 40 CFR
1501.8 if, after an independent review of the document, it concludes that their
requirements and/or regulatory responsibilities have been satisfied. However, the COE
would present its own conclusions and recommendations in its respective and applicable
records of decision or determinations. Otherwise, it may elect to conduct its own
supplemental environmental analyses.




1       Direct Pipe® is a construction method developed by Herrenknecht AG that combines
        microtunneling and horizontal direction drill (HDD).
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      The proposed Amendment Project includes the following:

      •      120 trenchless crossings (117 conventional bores, 2 guided conventional
             bores, and 1 Direct Pipe®) of 47 wetlands and 136 streams in Wetzel, Lewis,
             Webster, Nicholas, Greenbrier, Summers, and Monroe counties, West
             Virginia and Giles, Montgomery, Roanoke, Franklin, and Pittsylvania,
             counties, Virginia;
      •      avoidance of one wetland via a shift in the permanent operational right-of-
             way at MP 0.70;
      •      avoidance of one waterbody due to a route adjustment at MP 230.8; and
      •      24-hour construction activities at the previously authorized Gauley River and
             Roanoke River, two guided conventional bore crossings, the Direct Pipe®
             crossing, and three conventional bore locations.

        The Commission mailed a copy of the Notice of Availability to federal, state, and
local government representatives and agencies; elected officials; environmental and
public interest groups; Native American tribes; potentially affected landowners and other
interested individuals and groups; and newspapers and libraries in the project area. The
EA is only available in electronic format. It may be viewed and downloaded from the
FERC’s website (www.ferc.gov), on the natural gas environmental documents page
(https://www.ferc.gov/industries-data/natural-gas/environment/environmental-
documents). In addition, the EA may be accessed by using the eLibrary link on the
FERC’s website. Click on the eLibrary link (https://elibrary.ferc.gov/eLibrary/search),
select “General Search” and enter the docket number in the “Docket Number” field, (i.e.
CP21-57). Be sure you have selected an appropriate date range. For assistance, please
contact FERC Online Support at FercOnlineSupport@ferc.gov or toll free at (866) 208-
3676, or for TTY, contact (202) 502-8659.

       The EA is not a decision document. It presents Commission staff’s independent
analysis of the environmental issues for the Commission to consider when addressing the
merits of all issues in this proceeding. Any person wishing to comment on the EA may
do so. Your comments should focus on the EA’s disclosure and discussion of potential
environmental effects, reasonable alternatives, and measures to avoid or lessen
environmental impacts. The more specific your comments, the more useful they will be.
To ensure that the Commission has the opportunity to consider your comments prior to
making its decision on this project, it is important that we receive your comments in
Washington, DC on or before 5:00pm Eastern Time on September 13, 2021.

       For your convenience, there are three methods you can use to file your comments
to the Commission. The Commission encourages electronic filing of comments and has
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staff available to assist you at (866) 208-3676 or FercOnlineSupport@ferc.gov. Please
carefully follow these instructions so that your comments are properly recorded.

       (1)    You can file your comments electronically using the eComment feature on
              the Commission’s website (www.ferc.gov) under the link to FERC Online.
              This is an easy method for submitting brief, text-only comments on a
              project;

       (2)    You can also file your comments electronically using the eFiling feature on
              the Commission’s website (www.ferc.gov) under the link to FERC Online.
              With eFiling, you can provide comments in a variety of formats by
              attaching them as a file with your submission. New eFiling users must first
              create an account by clicking on “eRegister.” You must select the type of
              filing you are making. If you are filing a comment on a particular project,
              please select “Comment on a Filing”; or

       (3)    You can file a paper copy of your comments by mailing them to the
              Commission. Be sure to reference the project docket number (CP21-57-
              000) on your letter. Submissions sent via the U.S. Postal Service must be
              addressed to: Kimberly D. Bose, Secretary, Federal Energy Regulatory
              Commission, 888 First Street NE, Room 1A, Washington, DC 20426.
              Submissions sent via any other carrier must be addressed to: Kimberly D.
              Bose, Secretary, Federal Energy Regulatory Commission, 12225 Wilkins
              Avenue, Rockville, Maryland 20852.

        Filing environmental comments will not give you intervenor status, but you do not
need intervenor status to have your comments considered. Only intervenors have the
right to seek rehearing or judicial review of the Commission’s decision. At this point in
this proceeding, the timeframe for filing timely intervention requests has expired. Any
person seeking to become a party to the proceeding must file a motion to intervene out-
of-time pursuant to Rule 214(b)(3) and (d) of the Commission’s Rules of Practice and
Procedures (18 CFR 385.214(b)(3) and (d)) and show good cause why the time limitation
should be waived. Motions to intervene are more fully described at
https://www.ferc.gov/ferc-online/ferc-online/how-guides.

       Additional information about the project is available from the Commission’s
Office of External Affairs, at (866) 208-FERC, or on the FERC website (www.ferc.gov)
using the eLibrary link. The eLibrary link also provides access to the texts of all formal
documents issued by the Commission, such as orders, notices, and rulemakings.
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       In addition, the Commission offers a free service called eSubscription which
allows you to keep track of all formal issuances and submittals in specific dockets. This
can reduce the amount of time you spend researching proceedings by automatically
providing you with notification of these filings, document summaries, and direct links to
the documents. Go to https://www.ferc.gov/ferc-online/overview to register for
eSubscription.
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               MOUNTAIN VALLEY PIPELINE AMENDMENT PROJECT
                       ENVIRONMENTAL ASSESSMENT

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              TECHNICAL ABBREVIATIONS AND ACRONYMS

ACHP              Advisory Council on Historic Preservation
AFM               acid forming material
AFM Plan          Acid Forming Materials Mitigation Plan
Amendment Project Mountain Valley Pipeline Amendment Project
APE               area of potential effects
BGEPA             Bald and Golden Eagle Protection Act
BIA               Bureau of Indian Affairs
CAA               Clean Air Act
Certificates      Order Issuing Certificates
CFR               Code of Federal Regulations
CH4               methane
CO                carbon monoxide
CO2               carbon dioxide
CO2e              carbon dioxide equivalents
COE               U.S. Army Corps of Engineers
Commission        Federal Energy Regulatory Commission
CWA               Clean Water Act
dB                decibels
dBA               decibels on the A-weighted scale
DWWM              Division of Water and Waste Management
EA                environmental assessment
EPA               U.S. Environmental Protection Agency
ESA               Endangered Species Act
EI                environmental inspector
EEP               Equitrans Expansion Project
Equitrans         Equitrans, L.P.
EO                Executive Order
FERC              Federal Energy Regulatory Commission
FEIS              final environmental impact statement
FHWA              Federal Highway Administration
FWS               U.S. Fish and Wildlife Service
GHG               greenhouse gases
GPM               gallons per minute
HAP               hazardous air pollutants
Ldn               day-night sound level
Leq               equivalent sound level
MBTA              Migratory Bird Treaty Act

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MP                mileposts
Mountain Valley   Mountain Valley Pipeline, LLC
N2 O              nitrous oxide
NAAQS             National Ambient Air Quality Standards
NEPA              National Environmental Policy Act
NGA               National Gas Act
NHPA              National Historic Preservation Act
NLAA              not likely to adversely affect
NOA               Notice of Application and Establishing Intervention Deadline
NOS               Scoping Notice
NOSS              Notice of Supplemental Scoping
NOx               oxides of nitrogen
NRCS              Natural Resources Conservation Service
NRHP              National Register of Historic Places
NSA               Noise Sensitive Area
OEP               Office of Energy Projects
Order             Order Issuing Certificates
PA                Programmatic Agreement
PEM               Palustrine Emergent
PFO               Palustrine Forested
Plan              Upland Erosion Control, Revegetation, and Maintenance Plan
PM2.5             particles with an aerodynamic diameter less than or equal
                  to 2.5 microns
PM10              particles with an aerodynamic diameter less than or equal
                  to 10 microns
Procedures        Wetlands and Waterbody Construction and Mitigation Procedures
PSS               Palustrine Scrub-shrub
RCNM              Roadway Construction Noise Model
SO2               sulfur dioxide
SPCC              Spill Prevention, Control, and Countermeasures Plan
SHPO              State Historic Preservation Office
SSURGO            Soil Survey Geographic Database
U.S.C             U.S. Code
USGCRP            U.S. Global Change Research Program
VDEQ              Virginia Department of Environmental Quality
VADHR             Virginia Department of Historic Resources
VOC               volatile organic compounds
WVDEP             West Virginia Department of Environmental Protection
WVDNR             West Virginia Department of Natural Resources

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WVDCH            West Virginia Division of Culture and History




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SECTION A – PROPOSED ACTION

      1.0     Introduction

        The staff of the Federal Energy Regulatory Commission (Commission or FERC)
prepared this environmental assessment (EA) to assess the environmental impacts of the
proposed Mountain Valley Pipeline Amendment Project (Amendment Project). On
October 13, 2017, the FERC published an Order Issuing Certificates (Order) to Mountain
Valley Pipeline, LLC (Mountain Valley) and Equitrans, L.P. (Equitrans) to construct and
operate pipeline, compression and metering facilities, and their related infrastructure as
part of the Mountain Valley Pipeline Project and Equitrans Expansion Project (EEP).1
The authorized Mountain Valley Pipeline Project facilities consist of approximately 304
miles of new natural gas pipeline and multiple aboveground facilities in West Virginia
and Virginia.

       Mountain Valley was authorized to begin construction of the Mountain Valley
Pipeline Project in January 2018. Since that date, Mountain Valley has installed and
backfilled approximately 81 percent of the pipeline, and more than 52 percent of the
Project right-of-way has been fully restored. Due to permitting challenges, Mountain
Valley has not been able to complete construction. Mountain Valley has subsequently
engaged in a comprehensive analysis of each remaining aquatic feature proposed to be
crossed.2

       On February 19, 2021, Mountain Valley, pursuant to section 7(c) of the Natural
Gas Act (NGA), in FERC Docket No. CP21-57-000, filed an application seeking to
amend the Certificate of Public Convenience and Necessity (Certificate) granted in
Docket No. CP16-10-000 for its Mountain Valley Pipeline Project. Mountain Valley
proposes to change the crossing method of specific waterbodies and wetlands from open-
cut dry crossings (as authorized by the Certificate) to trenchless methods (conventional
bore, guided conventional bore, or Direct Pipe®3). Specifically, Mountain Valley
proposes to use trenchless methods at 120 locations to cross 183 waterbodies and
wetlands that the Commission originally authorized as open-cut dry crossings. Five




1     The Amendment Project would not impact Equitrans or EEP facilities; therefore, Equitrans and
      EEP are not discussed further.
2     Approximately 460 streams and 183 wetlands remain to be crossed.
3     Direct Pipe® is a construction method developed by Herrenknecht AG that combines
      microtunneling and horizontal direction drill (HDD).


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waterbodies in the Project area would be subject to Section 10 of the Rivers and Harbors
Act. These waterbodies are discussed further in section B.2.3.1 of this EA.

       On February 19, 2021, Mountain Valley also voluntarily requested the U.S. Army
Corps of Engineers (COE) administratively revoke its September 25, 2020 Nationwide
Permit 12 verifications for the Mountain Valley Pipeline Project. The COE granted
Mountain Valley’s request and revoked the Nationwide Permit 12 verifications for the
Mountain Valley Pipeline Project on March 2, 2021 (Pittsburgh and Huntington Districts)
and March 3, 2021 (Norfolk District). On March 4, 2021, Mountain Valley submitted a
Department of the Army application to the COE Huntington, Pittsburgh, and Norfolk
Districts requesting an Individual Permit, pursuant to Section 404 of the Clean Water Act
(CWA) and Section 10 of the Rivers and Harbors Act, to complete the remaining
crossings that Mountain Valley would complete via the open-cut method (i.e., the
remaining crossings not covered by the amendment application). This method is
consistent with the Certificate.4 In the Individual Permit application, Mountain Valley
proposes to permanently discharge dredged and/or fill material into 1,198 linear feet of
streams and 0.5 acre of wetlands, to temporarily discharge dredged and/or fill material
into 38,332 linear feet of streams and 13.92 acres of wetlands, including the permanent
conversion of 3.7 acres of palustrine forested (PFO) and palustrine scrub-shrub (PSS)
wetlands to palustrine emergent (PEM) wetlands, and to work in navigable waters of the
U.S.

       We5 prepared this EA in compliance with the requirements of the National
Environmental Policy Act (NEPA), the Council on Environmental Quality’s (CEQ)
regulations for implementing NEPA (Title 40 Code of Federal Regulations (CFR), Parts
1500-1508 [40 CFR 1500-1508])6, and the Commission’s regulations for implementing
NEPA at 18 CFR 380.

       The FERC is the lead federal agency for authorizing interstate natural gas
transmission facilities under the NGA, and the lead federal agency for preparation of this
EA, in accordance with NEPA (40 CFR 1501) and the Energy Policy Act of 2005. The
COE is a federal cooperating agency who assisted us in preparing this EA because they

4      The Individual Permit would include all Section 10 streams including those that would be crossed
       via a trenchless method (see section B.2.3.1).
5      “We,” “us,” and “our” refer to the environmental staff of the FERC’s Office of Energy Projects.
6      On July 16, 2020, the Council on Environmental Quality issued a final rule, Update to the
       Regulations Implementing the Procedural Provisions of the NEPA (Final Rule, 85 Fed. Reg.
       43,304), which was effective as of September 14, 2020. Therefore, we are using the new
       regulations in the preparation of this EA.


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have jurisdiction by law or special expertise with respect to impacts to waters of the U.S.
The COE may adopt this EA per 40 CFR 1501.8 if, after an independent review of the
document, it concludes that their requirements and/or regulatory responsibilities have
been satisfied. However, the COE would present its own conclusions and
recommendations in its respective and applicable records of decision or determinations.
Otherwise, it may elect to conduct its own supplemental environmental analyses.

       The assessment of environmental impacts is an integral part of the Commission’s
decision-making process to determine whether to authorize Mountain Valley’s proposal.
Our principal purposes in preparing this EA are to:

    identify and assess potential impacts on the natural and human environment that
     could result from implementation of the proposed action;
    identify and recommend reasonable alternatives and specific mitigation measures,
     as necessary, to avoid or minimize project-related environmental impacts; and
    facilitate public involvement in the environmental review process.

        The trenchless crossing methods, a small route adjustment at milepost (MP) 230.8
and alignment shift at MP 0.7, and a requested modification to allow nighttime noise
activities at certain crossings were not considered in the June 23, 2017 final
environmental impact statement (FEIS) issued in FERC Docket No. CP16-10-000. In the
FEIS, staff assessed the impacts that would result from open-cut dry crossings of the 183
waterbodies and wetlands considered here. The FEIS concluded that no long-term or
significant impacts on surface waters were anticipated and that impacts on wetlands
would not be significant.

       2.0     Purpose and Need

        On October 13, 2017, the Commission issued a Certificate to Mountain Valley to
construct and operate pipeline, compression and metering facilities, and their related
infrastructure as part of the Mountain Valley Pipeline Project. In its amendment
application, Mountain Valley states it has re-evaluated the approved Mountain Valley
Pipeline Project facilities and construction methods and now proposes certain
modifications (which are more specifically described below) to facilitate completion of
the Mountain Valley Pipeline Project.

      This EA supplements the Commission staff’s June 23, 2017 FEIS for the
Mountain Valley Pipeline Project. As previously mentioned, the purpose of the proposed
amendment is to allow Mountain Valley to change the crossing method for specific
wetlands and waterbodies that remain to be crossed from open-cut dry crossings that

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were authorized by the Certificate to trenchless crossing methods. In addition, Mountain
Valley would complete a route adjustment and a minor alignment shift to avoid specific
wetlands and waterbodies. Lastly, the Amendment Project’s purpose includes the ability
to complete nighttime construction at certain previously approved and newly proposed
trenchless crossings.

       Mountain Valley states that the reason for the change in crossing method, the
alignment shift, and the route adjustment is to avoid certain waters of the U.S. As further
explained below, Mountain Valley states that it conducted a detailed review of the
waterbodies and wetlands that remain to be crossed on the Mountain Valley Pipeline
Project route to determine whether the features could feasibly be crossed using a
trenchless method or would be more practicable to use the previously authorized open-cut
dry crossing method. Open-cut dry crossings of the waterbodies and wetlands were
authorized by the Certificate and do not require additional Commission authorization. As
mentioned above, Mountain Valley has separately submitted a joint Department of the
Army Individual Permit application package to the COE Huntington, Pittsburgh, and
Norfolk Districts requesting authorization to cross these open-cut crossings under Section
404 of the CWA and Section 10 of the Rivers and Harbors Act (as applicable).

       Under section 7(c) of the NGA, the Commission determines whether interstate
natural gas transportation facilities are in the public convenience and necessity and, if so,
grants a Certificate to construct and operate them. The Commission bases its decisions
on both economic issues, including need, and environmental impacts.

       3.0     Public Review and Comment

       Commission Staff issued four notices soliciting public comment during the NEPA
process for the Amendment Project. On March 1, 2021, the Commission issued a Notice
of Application and Establishing Intervention Deadline (NOA). The NOA established a
21-day comment and intervention period and requested comments on specific concerns
about the Amendment Project or issues that should be considered during the preparation
of the EA. The comment period ended on March 22, 2021.

        On March 16, 2021, the Commission issued a Notice of Scoping Period and
Requesting Comments on Environmental Issues for the Proposed Amendment to the
Certificate of Public Convenience and Necessity for the Mountain Valley Pipeline Project
(NOS). The NOS established a 30-day comment period to assist with the identification
of the scope of issues to address in the EA. The scoping comment period ended on April
15, 2021.




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        On July 1, 2021, the Commission issued a Notice of Supplemental Scoping Period
for the Proposed Amendment to the Certificate of Public Convenience and Necessity for
the Mountain Valley Pipeline Project and Request for Comments on Environmental
Issues (NOSS). The NOSS established a second 30-day scoping period. The
supplemental scoping comment period ended on August 2, 2021.

       On August 13, 2021, we issued a Notice of Availability of the Environmental
Assessment for the Proposed Mountain Valley Pipeline Amendment Project that
established a 30-day comment period on the EA. The EA comment period will end on
September 13, 2021.

       In response to the NOA, NOS, and NOSS, the Commission received
approximately 398 discrete comments from individuals, environmental non-profit groups,
and an industry group. We also received 1,092 form letters from individuals. Several
commenters request the original scoping comment period be extended. We have
reviewed all comment letters submitted prior to issuance of this EA, regardless of
whether comments were received during or after the comment periods identified in the
notices.

       The pertinent7 comments received in response to the NOA, NOS, and NOSS are
summarized in table 1 below and are further addressed, as applicable, in the relevant
sections of this EA. However, other comments received that are outside the scope of our
NEPA analysis are not addressed further in this EA because they are not specific to
environmental resources that may be affected by the actions requested in Mountain
Valley’s amendment application. Such topics may be addressed, as appropriate, in the
subsequent Commission Order in this proceeding. These comments:

     address the need for the Mountain Valley Pipeline Project and associated
      amendments and express opposition to fossil fuels in favor of renewable energy;
     request that a Supplemental Environmental Impact Statement be prepared for the
      Amendment Project;
     request a performance bond for completion of the Project or restoration if the
      Project is canceled or abandoned;



7      As stated previously, the purposes for preparing this EA are to identify and assess potential
       impacts on the natural and human environment and identify and recommend reasonable
       alternatives and specific mitigation measures, as necessary, to avoid or minimize project-related
       environmental impacts. Comments that inform this analysis are considered pertinent.


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  address the potential for community spread of COVID-19 by construction
   workers;
  request that the Commission not issue a Certificate for the Amendment Project
   until Mountain Valley obtains all permits necessary for completion of the entire
   Mountain Valley Pipeline Project, including a permit under Section 404 of the
   CWA for the COE-jurisdictional activities; and
  determination of whether a Section 401 certification is required for the
   Amendment Project.
                                               Table 1

                 Issues Identified From Agency and Public Comments
Issue                                                           EA Section Addressing Issue

Air quality, greenhouse gases, climate change (including
                                                                section B.6 Air Quality and Noise
fugitive emissions)
Aquatic resources (including sedimentation impacts)             section B.3.1 Fisheries and Aquatic
                                                                Resources
Cultural resources (including adherence to Section 106 of
                                                                section B.5 Cultural Resources
the National Historic Preservation Act [NHPA])
Geology (including karst; trenchless crossing
constructability; blasting; steep terrain; and acid-producing   section B.1 Geologic Hazards and Soils
rock)
Environmental Justice                                           section B.4.1 Environmental Justice
Noise                                                           section B.6.2 Noise
Safety                                                          section B.7 Reliability and Safety

Soils (including spoil storage, sedimentation, and
                                                                section B.1 Geologic Hazards and Soils
constructability)
Surface water, groundwater, and wetlands (including water
quality, sedimentation, subsidence, dewatering, and             section B.2 Water Resources
riparian buffers)
Vegetation and wildlife (including riparian impacts)            section B.3 Fisheries, Vegetation, and
                                                                Wildlife
Threatened and endangered species                               section B.3.5 Special Status Species




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       4.0     Proposed Facilities and Land Requirements

       Mountain Valley proposes to conduct 120 trenchless crossings (117 conventional
bores, 2 guided conventional bores, and 1 Direct Pipe®) of 47 wetlands and 136 streams
in Wetzel, Lewis, Webster, Nicholas, Greenbrier, Summers, and Monroe counties, West
Virginia and Giles, Montgomery, Roanoke, Franklin, and Pittsylvania, counties, Virginia.
Appendix A of this EA provides a list of each of these crossings. Appendix B includes
maps of each of the crossings. The change in crossing methods would not result in a
change of land requirements as authorized by the October 13, 2017 Certificate. However,
Mountain Valley proposes to avoid one wetland, W-A2a, via a shift in the permanent
operational right-of-way at MP 0.70, which would modify 0.23 acre that was certificated
as temporary construction workspace to permanent workspace. This is a minor shift that
would occur entirely within the previously approved construction workspace and would
move the pipeline closer to an existing meter station adjacent to the construction right-of-
way. The total amount of permanent certificated workspace at MP 0.70 would not
change. Mountain Valley also proposes to adjust the originally certificated pipeline
centerline to avoid one waterbody (S-OO11) at MP 230.8. This route adjustment, which
also includes the H-016 railroad crossing, would require 0.13 acre for construction right-
of-way and 0.04 acre of new permanent operational right-of-way. The route adjustment
at MP 230.8 would not affect new landowners and Mountain Valley has acquired the
necessary land rights.

               4.1    24-Hour Construction

       As part of its amendment application, Mountain Valley requests that the
Commission allow nighttime microtunneling activities at the Gauley River and Roanoke
River crossings.8 Commission staff previously authorized Mountain Valley to change the
crossing method for the Gauley and Roanoke Rivers to a microtunneling technique under
variances D-35 and H-21, respectively.9 Additional information regarding these streams
can be found in sections B.2.3.1 and B.2.4 of this EA.

       Mountain Valley also proposes to conduct 24-hour trenchless crossing activities at
both guided conventional bore crossings (Elk River and Little Stony Creek crossings), the
Direct Pipe® crossing (Greenbrier River), and three conventional bore locations which
also include railroad crossings (E-012, H-016, and H-020). Mountain Valley states that
nighttime trenchless activities would be necessary at these locations in order to reduce the

8      See Mountain Valley’s April 27, 2021 Response to Environmental Information Request #3 at 7.
9      See accession numbers 20200518-3008 and 20200527-3040.




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length of time that the pit excavations would remain open. Crossings E-012, H-01610,
and H-020 would cross railroads operated by CSX, Roanoke Valley Resource Authority,
and Norfolk Southern, respectively. The owners of these railroads require boring
operations to progress on a 24-hour basis, without stopping, until complete. Nighttime
activities would only include boring and welding of the pipe. Pit excavations at all of
these crossings would not occur at night.

      5.0     Trenchless Crossing Construction Procedures

        In contrast to open-cut dry trenching, the use of a trenchless crossing method to
cross an environmental resource such as a waterbody or wetland avoids direct impacts
associated with working directly within the sensitive resource. Trenchless crossing
methods allow for uninterrupted existing streamflow and undisturbed wetland soils,
scrub-shrub, and herbaceous vegetation, thereby minimizing impacts on aquatic resources
and wetland and wildlife habitat. Additionally, the proposed trenchless crossings would
result in reduced in-stream sedimentation as compared to the in-water construction
approved for the Mountain Valley Pipeline Project. This reduction results from less
disturbance of the riparian areas adjacent to the waterbodies and avoidance of impacts on
the streambed. Lastly, trenchless crossings would avoid the ground disturbance
associated with trenching and backfilling in the subject wetlands and reduce longer-term
impacts by accelerating the post-construction revegetation period.

       Mountain Valley provided plan and profile views of topographic conditions at
each of the planned crossings relative to borehole and bore pit depths below the resource,
which provides information concerning bank conditions, the depth of the pipe, and the
positioning of the bore pits.11 Provided below is a summary of the techniques proposed.

              5.1     Conventional Bore

       As previously stated, the conventional bore method would be used for the majority
(about 98 percent) of the trenchless crossings. The conventional bore method is a
technology that has been used for decades to install natural gas pipelines. Mountain

10    According to Mountain Valley, the railroad at H-016 is owned by Roanoke Valley Resource
      Authority and operated under contract with Norfolk Southern. This railroad provides rail service
      to the Smith Gap Landfill. Mountain Valley’s current permit requires a bored crossing and 24-
      hour boring operations. Roanoke Valley Resource Authority is currently paving over the railroad
      tracks. As of July 29, 2021 a base layer of asphalt has been installed. Mountain Valley is
      currently working with the Roanoke Valley Resource Authority to modify its permit to eliminate
      24-hour boring.
11    See Appendix C of accession number 20210219-5176.


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Valley has already successfully completed 52 conventional bores without incident. The
conventional bore method requires excavation of launching and receiving bore pits
located within upland areas of the existing construction right-of-way on each side of the
feature(s) being crossed. We received multiple comments concerning bore pit collapse
and maintaining the integrity of the bore pits during construction activities. The bore pit
excavations would be sloped, shored, or shielded to comply with all local, state, and
federal safety regulations, including the Occupational Safety and Health Administration
(OSHA) regulations for excavations, which would minimize the possibility of collapse or
a lack of integrity. According to Mountain Valley, relatively narrow excavations may
use trench boxes while larger excavations may require specially designed shoring
systems such as sheet pile walls, soldier pile walls, or secant pile walls. An excavation
competent person, as defined by the OSHA, would determine if excavations within stable
rock require supports. A registered professional engineer would design shoring for
excavations greater than 20 feet deep.

        Once the bore pits are excavated, the construction crew, working from the
launching side, would advance a jacking pipe and a rotating cutting head that is attached
to the leading edge of the auger string. The spoil would be transported back by the
rotation of auger flights within the steel jacking pipe. The conventional bore method is
non-steerable.

        Conventional boring can be used to install pipes ranging from 4 to 60 inches in
diameter and spanning lengths of up to several hundred feet. The major advantage of
conventional auger borings over other boring technologies is that the drill pipe is installed
as the boring is advanced and the line pipe is installed immediately behind the bore pipe
once the boring is completed, leaving no unsupported borehole. Because the borehole is
continuously supported by pipe throughout the process, the risk of bore collapse is
minimized. Accordingly, the circulation of drilling fluids to transport drill cuttings and to
support the wall of the borehole is generally not necessary for the drilling of conventional
bores. However, in some situations, especially in long conventional bores or in
conventional bores through mixed ground or clay, Mountain Valley may use small
amounts of bentonite or polymer-based lubricant on the cutting head and exterior casing
to reduce friction and to increase the success of the crossing. If the conventional auger
bore encounters excessively hard rock, an air-driven rock hammer drill can be deployed
at the bore face, as needed. Boulders and cobbles up to one third of the diameter of the
installed pipe can be accommodated.

      Conventional auger boring typically requires the least amount of areal footprint
(workspace) of mechanical trenchless technologies because large tanks and drilling fluid-
mixing systems are not required. Cuttings (spoil) generated by boring operations would


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be stockpiled temporarily at the site but would ultimately be reused to backfill the bore
pits. Prior to boring operations, wetlands and waterbodies adjacent to each work site
would be protected using the erosion and sediment control devices and best management
practices appropriate to the specific site (as discussed in section B.2 of this EA).

        We received multiple comments regarding the potential for deflection of the bore
intersecting the bottom of the resource (i.e., streambed). A bore deflection that would
breach the stream bottom is very unlikely to occur, for the following reasons. Mountain
Valley indicates that in order to breach the streambed an average bore length (less than
95 feet) would either have to be misaligned at least 10 percent at initial set up or deflect
at least 10 percent due to encountering a large rock, cobble, or interface between two
rock types. Bore operators thoroughly check the line and grade prior to beginning bore
operations so as to prevent a misalignment.

       A deflection of at least 10 percent would measurably increase bore machine
resistance which would be detectable by the bore operator. A deflection of this
magnitude would also likely damage the auger and halt any forward progress. Bore
operators can also detect increased resistance in the bore machine due to deflections
smaller than 10 percent for longer than average bores (greater than 95 feet).
Additionally, bore operators can change the cutting heads during the bore process in
order to select the appropriate cutting head for the expected substrate. Potential impacts
on streambeds are further discussed in section B.2.2 of this EA.

        We also received comments concerning protection of the external coating of the
pipe from damage during installation via a trenchless crossing method. Mountain Valley
states that pipe utilized at the trenchless crossings would have an abrasion resistant
overlay (ARO) over the standard fusion bonded epoxy (FBE) coating used on all pipe.
Most locations would use a mill-applied Powercrete ARO coating. ARO coatings are
more durable than FBE coating and designed to protect the pipe from abrasions and
gouging. Mountain Valley states that ARO coatings are commonly used in trenchless
crossings.

        Crews would coat welds with a field-applied Powercrete coating for crossings that
would require more than a standard joint of pipe, generally more than about 40 feet long.
According to Mountain Valley, the field-applied Powercrete coating is designed for field
application and would provide the same protection as a mill-coated ARO. Mountain
Valley would check the pipe and weld coatings for pinhole defects immediately prior to
installation.




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        Bore pit dewatering would be required to provide for a dry workspace at all
trenchless crossing locations. Dewatering would be conducted in accordance with all
existing plans and procedures reviewed and approved for the Mountain Valley Pipeline
Project. Mountain Valley would utilize 3-inch to 6-inch diameter submersible pumps in
each of the bore pits. These pumps have the ability to control groundwater infiltration
rates up to 2,750 gallons per minute, although anticipated infiltration rates are
substantially less (see section B.2.1 of this EA for more discussion). In some instances,
pumping may require 24-hour operation to keep up with water infiltration and ensure
personnel are able to enter the bore pits safely and efficiently when beginning bore
activities each day. Mountain Valley provided a qualitative estimate of dewatering
conditions encountered at 54 previously completed trenchless crossing locations.
Dewatering was not previously necessary at 19 of the 54 locations, while minimal
dewatering was necessary at 13 locations. The remaining 22 locations required
continuous dewatering with 2 locations reporting extensive dewatering. Any dewatering
associated with the Amendment Project would be completed in accordance with the
FERC’s Wetlands and Waterbody Construction and Mitigation Procedures (Procedures),
as well as West Virginia Department of Environmental Protection (WVDEP) and
Virginia Department of Environmental Quality (VADEQ) specifications. Additional
information regarding dewatering can be found in section B.2.1 of this EA.

       Based on Mountain Valley’s estimates, the average length of time required for a
conventional bore (including pit excavation and boring) would be just over 2.5 weeks (18
days), with a median duration of slightly less (13 days). More than half (about 60
percent) of the conventional bores would be completed within 2 weeks. About 26
percent would be completed within 4 weeks, 7 percent would be completed within 4 to 6
weeks, and 7 percent would be completed within 5 to 10 weeks. One conventional bore
may require 72 days (10.3 weeks) to complete. Mountain Valley’s duration estimates are
based primarily on the length of the bore. The actual duration could increase to some
extent by weather delays or slow boring rates due to unexpectedly hard rock or changing
geological makeup that may necessitate equipment change-outs. Mountain Valley
estimates 41 crews would be working on the nine construction spreads12 to complete all
of trenchless crossings in about 4 months. Concurrent work within each spread would
occur between 3 (Spreads A and B) and 13 (Spread I) locations (see table 2).




12    Construction of the Mountain Valley Pipeline Project is split into nine construction spreads
      ranging in length from 26.6 miles to 49.2 miles.


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                                              Table 2

 Estimated Number of Crews and Duration by Spread for the Amendment Project
                        Spread        Total      Bore Crews        Duration
                                      Miles                        (months)
                        A&B            65.4             3             4
                        C&D            62.8             7             4
                        E&F            66.9             4             4
                          G            32.3             8             4
                          H            26.6             6             4
                           I           49.2             13            4
                        Total         303.1             41            4



              5.2    Guided Conventional Bore

        The guided conventional bore method is a variation of the conventional bore
method as discussed in section A.5.1 of this EA. Following preparation of the bore pits
(as discussed in section A.5.1 of this EA), a small diameter “guided pilot” would be
installed first. The drill string is attached to the front of the conventional auger during the
final hole opening phase. Placing the pilot in front of the auger keeps the path of the
auger on its intended trajectory during the hole opening phase.

       The pilot hole can be created using a small diameter self-propelled, hydraulic
steerable drill unit with a tri-cone cutting head. The tri-cone head is about 6 to 12 inches
in diameter and is guided using a bottom-hole assembly. The bottom-hole assembly
includes an electronic communication device (sonde) which provides location and
orientation information to the operator.

        The guided conventional bore method may require the use of bentonite drilling
fluid to bring drill cuttings back to the surface and to help stabilize the bore hole. Shorter
guided conventional bores can use only water to carry cuttings back and cool the cutting
head. Extremely hard rock may require an air hammer to create the pilot hole. An air
hammer uses air to remove cuttings. Where bentonite drilling fluids are used, fluids are
pressurized at levels that are much lower than those used for horizontal directional drills
(HDD). However, because the depth of the drill profile below the ground surface is less
than what is typical for an HDD, the down-hole pressure would be monitored at the drill
rig when drilling fluid or water are used to carry back cuttings and the surface is visually
inspected for inadvertent returns.


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        Following completion of the pilot hole across the length of the crossing, the drill
string remains in place and the conventional auger machine completes the bore to the
required diameter attaching to the drill stem to keep the auger in line. The risk of bore
hole collapse is minimized as the drill string remains in place. The stems are then
removed on the exit side as the auger advances from the launching side.

        We received multiple comments concerning the storage and use of drilling fluids
and the possibility of contamination in resources. Drilling fluids would be stored in tanks
on the right-of-way. Secondary containment (such as soil berms, straw bales with liners,
or prefabricated liners) would be installed around the drilling fluid tanks. Mountain
Valley would utilize vacuums and pumps to remove all fluids from the bore pit. All
drilling fluids would be disposed of at an approved local waste management facility.

       Guided conventional bores typically require 24-hour operation to avoid potential
collapse of the bore or freezing up of the pipe within the bore. To reduce potential
impacts from 24-hour operation, Mountain Valley would perform as much work as
possible during daylight hours, including preparation of the workspace, excavation of
bore pits, and moving heavy equipment to the crossing locations.

       The two guided conventional bores would require 33 to 79 days to complete. As
stated above, the actual duration could increase to some extent by weather delays or slow
boring rates due to unexpectedly hard rock or changing geological makeup that may
necessitate equipment change-outs.

              5.3    Direct Pipe®

        Direct Pipe® is a trenchless construction method that can be used to install
pipelines underneath rivers or roads without surface impacts. It is a combination of a
micro-tunneling process, described below, and HDD. Direct Pipe® crossings are
completed using an articulated, steerable micro-tunnel boring machine (MTBM) mounted
on the leading end of the pipe or casing. A bentonite slurry is used to increase lubrication
and advance the MTBM. The pipeline is pre-fabricated and welded in sections to the
back of subsequent sections as the MTBM advances. Because the product pipe is
attached to and advances with the MTBM, like microtunneling, it benefits from a
continuously supported hole during the drilling process, and allows for the product pipe
to be installed in varying formations such as boulders and rock. Additionally, the
bentonite lubrication system used to lubricate the annulus between the product pipe and
the excavation is introduced at a relatively low pressure, reducing the potential for
hydraulic fracture and inadvertent drilling fluid returns. Because the drilled hole is
continuously supported and the risk of hydraulic fracture is low, the Direct Pipe®


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alignment can be designed much shallower than is typical for an HDD. During drilling,
Mountain Valley will implement its approved contingency plan for inadvertent returns
which includes downhole pressure monitoring. Installation of a Direct Pipe® typically
requires 24-hour operation to avoid freezing up of the pipe within the bore. To reduce
potential impacts from 24-hour operation, Mountain Valley would perform as much work
as possible during daylight hours, including the preparation of the workspace, the
excavation of bore pits, and moving heavy equipment to the crossing locations.

       As with the guided conventional bore, drilling fluids would be stored in tanks on
the right-of-way. Secondary containment (such as soil berms, straw bales with liners, or
prefabricated liners) would be installed around the drilling fluid tanks. Mountain Valley
would utilize vacuums and pumps to remove fluids from the bore pit. All drilling fluids
would be disposed of at an approved local waste management facility.

       The Direct Pipe® crossing of the Greenbrier River is estimated to require about
103 days total for pit excavation and boring. As stated above, the actual duration could
increase to some extent by weather delays or slow boring rates due to unexpectedly hard
rock or changing geological makeup that may necessitate equipment change-outs.

              5.4    Microtunneling

     No crossings utilizing microtunneling are proposed for the Amendment Project.
Mountain Valley would utilize microtunneling to cross the Gauley River and the
Roanoke River as previously approved under variances D-35 and H-21, respectively.

        In a microtunnel crossing, a pipe is jacked behind a remotely controlled, steerable,
guided, and articulated MTBM. Microtunneling can be used in many soil types,
including boulders and rock. Boulders and cobbles up to one third of the diameter of the
installed pipe can be accommodated. The microtunnel technique can range from 10 to
136 inches in diameter and span 200 feet to 1,500 feet. This technique is often used in
longer trenchless crossings because the advanced control and guidance system allows for
precise line and grade tolerances. This technique requires only one bore pass and the
bore hole is continuously supported minimizing the chance of a collapse. A small
amount of bentonite drilling fluid is used to cool and lubricate the cutting head. A
dedicated drilling fluid return pipe carries cuttings through the installed line pipe at a low
pressure. The closed drilling fluid return system and pressure-control features at the
cutting head minimize inadvertent returns. In addition, during drilling, Mountain Valley
will implement its approved contingency plan for inadvertent returns which includes
downhole pressure monitoring. Microtunneling typically requires 24-hour operation to




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avoid any potential for collapse above the bore or freezing up of the pipe within the bore
hole.13

               5.5    Trenchless Crossing Contingency Plans

        Mountain Valley states that it would implement a contingency plan should
insurmountable issues be encountered while using trenchless crossing methods, including
excessive torqueing, poor cutting returns, mechanical failure of the drill string or bit
assembly, deviation from the planned bore path, and unanticipated geological or
hydrological conditions. Should Mountain Valley encounter one or more of these issues,
it would notify the appropriate FERC compliance monitor and attempt another bore 10
feet to either side of the original bore path within the existing right-of-way. Should the
failure involve a stuck pipe and a standard recovery fails, the pipeline in this area would
be abandoned in place and backfilled with grout. Should all attempts at the trenchless
crossing fail, Mountain Valley would seek necessary variances or approvals from FERC
and any applicable agency including the COE, to revise the crossing method.

               5.6    Trenchless Crossing Schedule

        Mountain Valley would begin trenchless crossings upon receipt of all necessary
federal approvals and authorizations and a notice to proceed from the Commission.
Mountain Valley estimates 41 crews would be working on the nine spreads to complete
all of the trenchless crossings in about 4 months.

       6.0     Equipment Bridges

       Mountain Valley states that 19 crossings still require the installation of equipment
bridges to allow for the passage of equipment across the sensitive resource. Mountain
Valley anticipates that the equipment bridges, listed in table 3, would be installed at the
19 crossings. These actions would be conducted in accordance with Mountain Valley’s
Procedures and any applicable agency approvals. Impacts associated with the installation
and removal of equipment bridges, including those listed in table 3, were analyzed in the
FEIS.




13     The shallow depth profile could lead to ground settlement due to over-excavation by the MTBM
       leading to the loss of stability at the tunnel face and the formation of empty space above the
       tunnel.


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                                                Table 3

                Crossings Requiring Installation of New Equipment Bridges
    Crossing Number             Waterbody or Wetland           Anticipated Equipment Bridge Type
                                Features to be Bridged
 E-009                        W-M18                          Timber mat
 F-022                        S-19                           Clear span bridge
 G-009                        S-G35                          Bridge
 G-010                        S-SS4                          Bridge
 G-017                        S-Y3                           Bridge
 G-19B                        S-E25-downstream and           Bridge
                              upstream
 H-030                        S-IJ82                         Bridge
 H-031                        S-IJ83, S-IJ88, S-IJ84         Bridge
 H-032                        S-IJ89, S-IJ90                 Bridge
 H-040                        S-ST9b                         Bridge
 H-042                        S-KL55                         Bridge
 H-043                        S-IJ12                         Bridge
 H-044                        S-EF44                         Bridge
 H-045                        S-IJ43                         Bridge
 H-046                        S-Y9, S-Y7, S-Y8               Bridge
 H-047A                       S-B22, S-B23                   Bridge
 H-048A                       S-B25                          Bridge
 H-054                        S-D11                          Bridge
 I-121                          S-EF26                       Mat bridgea
 a        As stated in the joint Department of the Army Individual Permit application, the mat bridge
          would have a temporary discharge of 20 linear feet (0.0092 acres) due to supports located
          within the ordinary high water mark. A timber mat is used in wetlands to avoid compaction.



         7.0     Environmental Compliance Inspection and Monitoring

       We received multiple comments on environmental compliance and issues
surrounding erosion and sediment control during construction activities associated with
the Mountain Valley Pipeline Project. Mountain Valley personnel and its contractors
would be required to comply with any conditions of a FERC Order and the existing
Mountain Valley Pipeline Project certificate, all mitigation measures identified in its
application, and any other federal permits and authorizations. At least one environmental
inspector (EI) per spread would be responsible for Mountain Valley’s environmental


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compliance. The EIs performing environmental oversight would serve to monitor the
implementation of all environmental requirements during construction. The EIs would
have the authority to enforce compliance with permit conditions, the environmental
conditions of a FERC Order, and environmental requirements in landowner agreements.
The FERC third-party compliance monitoring program would also continue to be
implemented.14 Under this program, a contractor is selected by, managed by, and reports
solely to the FERC staff to provide environmental compliance monitoring services. The
FERC Compliance Monitors would provide daily reports to the FERC Project Manager
on compliance issues and make recommendations on how to deal with compliance issues
and construction changes, should they arise.

      Mountain Valley would construct the Amendment Project in accordance with the
methods described in the Mountain Valley Pipeline Project FEIS, including
implementing its Erosion and Sediment Control Plan, our Upland Erosion Control,
Revegetation, and Maintenance Plan (Plan) and its Procedures, its Spill Prevention,
Control, and Countermeasures Plan (SPCC), its General Blasting Plan, and its Acid
Forming Materials Mitigation Plan (AFM Plan). Other resource-specific plans have
been developed for the larger Mountain Valley Pipeline Project (see appendix C) and
would be implemented as needed for the Amendment Project.

      8.0     Permit Approvals and Regulatory Consultations

        As discussed above, on March 4, 2021, Mountain Valley submitted a joint
Department of the Army Individual Permit application package to the COE Huntington,
Pittsburgh, and Norfolk Districts to complete the remaining open-cut crossings and to
permanently discharge dredged and/or fill material into 1,198 linear feet of streams and
0.5 acre of wetlands, to temporarily discharge dredged and/or fill material into 38,332
linear feet of streams and 13.92 acres of wetlands, including the permanent conversion of
3.7 acres of PFO and PSS wetlands to PEM wetlands, and to work in navigable waters of
the U.S.

       We received many comments regarding the information contained within
Mountain Valley’s application to the COE for an Individual Permit. Review of the
application for an Individual Permit and consideration of associated comments will be
conducted by the COE and does not fall under the jurisdiction of the Commission. As
mentioned above, the FERC has already analyzed and approved the open-cut dry


14    Under the current third-party compliance monitoring program for the Mountain Valley Pipeline
      Project, nine compliance monitors (one for each construction spread) typically inspect portions of
      the Project six days a week.


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crossings for the waterbodies and wetlands contained within the requested COE
Individual Permit.

       Mountain Valley would be required to continue compliance with all authorizations
issued for the original Mountain Valley Pipeline Project under Section 7 of Endangered
Species Act (ESA), Section 106 of the NHPA, and the pending FERC certificate, if the
amendment application is approved. Additional information regarding Section 7 of the
ESA can be found in section B.3 of this EA, and information regarding Section 106 of the
NHPA can be found in section B.5 of this EA.




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SECTION B – ENVIRONMENTAL ANALYSIS

       We incorporate by reference the environmental analyses contained in the FEIS in
Docket No. CP16-10-000. The Amendment Project would continue to be designed,
operated, and maintained in accordance with the U.S. Department of Transportation
(DOT) pipeline safety regulations, 49 CFR 192 and all applicable permits, as identified in
the FEIS.

Environmental Trends and Planned Activities

       According to the most recent Mountain Valley Pipeline Project weekly
construction report from the reporting period of July 24, 2021 to July 30, 202115 the
construction completeness of the pipeline right-of-way for all spreads is approximately
100 percent for tree felling, 95 percent for vegetation clearing, 95 percent for upland
right-of-way-preparation, and 90 to 94 percent for trenching, stringing, welding, and
coating and wrapping. According to the status report, approximately 81 percent of the
right-of-way has been backfilled and approximately 52 percent is in the final restoration
stage. Mountain Valley states that at areas of waterbody crossings, trees were cleared but
a 50-foot riparian buffer of other vegetation was maintained. These areas currently
consist of tree stumps along with scrub-shrub and herbaceous vegetation.

        Previously in the construction process and prior to filing the amendment
application, Mountain Valley requested changes in crossing methods from open-cut dry
crossings to trenchless techniques for over 70 wetlands and waterbodies. Commission
staff reviewed and approved each of those changes, determining that the change in
crossing methods provided an equal or greater protection of resources than the previously
proposed open-cut dry crossings. As a result, Mountain Valley has completed 52
conventional bore crossings of 67 waterbodies and wetlands as part of the Mountain
Valley Pipeline Project. In addition, Mountain Valley completed one Direct Pipe®
crossing of two waterbodies and one HDD of four wetlands and waterbodies. Mountain
Valley has completed all of these crossings in the construction workspaces granted by the
Certificate for the Mountain Valley Pipeline Project.

       As discussed in the FEIS, West Virginia has a humid continental climate while
Virginia has a humid coastal climate. Based on information gathered from the National
Centers for Environmental Information during the period 1985 through 2014, average
monthly precipitation was about 3.8 inches in West Virginia and 3.7 inches in Virginia.
Construction of the Mountain Valley Pipeline Project began during the winter of 2018.


15    See accession number 20210811-5021.


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By the end of 2018, about 88 percent of the construction right-of-way for the Mountain
Valley Pipeline Project had been cleared. The region was subjected to unusually high
precipitation totals around this time. For example, Roanoke County, Virginia averages
about 42 inches of precipitation annually, but Roanoke County received about 63 inches
of rain in 2018. Lewis County in West Virginia also exceeded its annual average
precipitation (about 48 inches) during this period by 21 inches. Overall 2019
precipitation was very close to average. However, in 2020, Roanoke County received
about 23 inches above average rainfall, while Lewis County received only 8 inches above
average rainfall.

       Overall, for the period of construction of the Mountain Valley Pipeline Project
(February 2018 to June 2021), Roanoke County received about 191 inches of rain, which
exceeds the historical average by about 48 inches. Lewis County received 190 inches of
rain exceeding its average by almost 31 inches. (NOAA NCEI, 2021)

        We received several comments stating that a cumulative impact analysis was
needed for the Amendment Project. As mentioned above, the Amendment Project would
be constructed within the existing Mountain Valley Pipeline Project construction and
permanent right-of-way except for one minor route adjustment that would be constructed
adjacent to the current right-of-way. This right-of-way has been the site of active
construction and maintenance/restoration since 2018. Current reasonably foreseeable
planned actions in the Amendment Project area include logging/tree trimming operations,
coal mining activities, the conversion of existing railroad tracks to a roadway, and the
installation of a solar farm (see table 4).




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                                             Table 4

        Foreseeable and Planned Activities within the Amendment Project Area
Spread Milepost(s)        Entity                     Proposed/Current Activity
   C       74.9 – 87.4    Unknown                    Non-Project related logging operations that utilize Project
                                                     access roads (MVP-BR-103.01, MVP-BR-104, MVP-
                                                     BR-104.01, MVP-WB-119, and County Road 7).
   D      98.6 – 128.2    Unknown                    Non-Project related logging activities across the Spread.
   D         127.0        Quinwood Coal Company      Longwall mining using Project access road AR-161.
   F         154.8        Unknown                    Non-project related logging activities near Springdale
                                                     Dawson Road.
   F      155.6 – 156.5   Local power company        Tree trimming near Project access roads MVP-GR-193
                                                     and MVP-GR-194.
   H         230.9        Roanoke Valley Resource    Conversion of existing railroad tracks to a roadway. This
                          Authority                  activity crosses the Project right-of-way and Project
                                                     access road MVP-MN-275.
   I      292.4 – 294.0   Dominion Energy            Construction of the 1,200-acre Maplewood Solar Project.
                                                     The project includes sites adjacent to one or both sides of
                                                     the Mountain Valley Pipeline Project limits of
                                                     disturbance.
  A-I       0.0-304       Mountain Valley            Completing construction of the pipeline, including open-
                                                     cut crossings of streams included in the COE permit
                                                     application.



       A cumulative impacts analysis was completed for the Mountain Valley Pipeline
Project in the FEIS. This analysis concluded that when added to other past, present, and
reasonably foreseeable future actions, the Mountain Valley Pipeline Project would not
have significant adverse cumulative impacts on environmental resources within the
geographic scope affected by the Mountain Valley Pipeline Project. As further discussed
under each of the resource sections in this EA, the Amendment Project would largely
reduce impacts on a number of environmental resources, including minimizing direct
impacts on surface water resources, wetlands, aquatic resources, and riparian habitat.
However, the Amendment Project would lead to changes in construction emissions and
construction noise (see sections B.6 and B.7 of this EA).

       As discussed in the FEIS, concurrent construction, including the proposed
Amendment Project, could contribute to noise impacts in the area proximal to the
proposed action if noise is generated at the same time as other projects within 0.25 mile
of the Mountain Valley Pipeline Project right-of-way. However, the majority of the noise
impacts from the Amendment Project and other projects in the area would be limited to

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the periods of construction, and most of this construction would occur during daytime
hours. As discussed in section B.7 of this EA, there are limited locations where
Mountain Valley anticipates 24-hour boring operations. Mountain Valley conducted
noise assessments for each of these sites and determined that mitigation would be
required at three locations (F-021, G-013, and H-016). In addition, as detailed in section
B.7 of this EA, we are recommending Mountain Valley notify all landowners within 0.5
mile of nighttime trenchless crossing activities. As such, the Amendment Project would
only temporarily contribute to elevated increases in daytime and nighttime construction
noise as compared to the certificated Mountain Valley Pipeline Project.

       As further discussed in section B.6 of this EA, the Amendment Project would also
lead to an increase in construction emissions compared to the Mountain Valley Pipeline
Project. These emissions may contribute to other emissions occurring within the
Amendment Project area if projects are constructed simultaneously. However, the
increased emissions from the Amendment Project would be temporary and would be
spaced along the entirety of the Mountain Valley Pipeline Project right-of-way. As
discussed in section B.6 of this EA, the Amendment Project does not require a General
Conformity analysis for consistency with the applicable state implementation plans.

       Based on the information above, we conclude that the impacts from the
Amendment Project on emissions and noise in the vicinity of the Mountain Valley
Pipeline Project right-of-way would exceed those analyzed in the FEIS but would not be
significant. As such, the conclusions from the FEIS remain appropriate based on the
substance and scale of the Amendment Project and are adopted by reference.

        The Amendment Project would not result in any changes to the following
resources that were analyzed in the Mountain Valley Pipeline Project FEIS and
certificated by the FERC in the Certificate: mineral resources; hazardous waste sites;
wellhead protection areas, sole source aquifers, or public surface water intakes; federally
owned or managed lands; National or state wild or scenic rivers, national trails, nature
preserves, wilderness areas, registered natural landmarks, or Native American
reservations; and socioeconomics. Therefore, these resources are not addressed further in
this analysis.

       1.0     Geologic Hazards, and Soils

      Geologic resources and hazards along the Mountain Valley Pipeline Project’s
alignment are discussed in section 4.1 of the FEIS. The bedrock lithology along the
proposed trenchless crossings consists of sedimentary or metamorphic bedrock
comprised primarily of shales, sandstone, siltstone, limestone and dolomite, granulite,


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granitic gneiss, biotite gneiss, charnockite gneiss and actinolite schist. The rock is
primarily of the Pennsylvanian, Mississippian, Ordovician, Cambrian, Mesoproterozoic,
and Neoproterozoic Periods. The primary geologic groups represented include Dunkard,
Monongahela, Conemaugh, Pottsville, Mauch Chunk, Blue Ridge Basement Complex,
Lynchburg, and Smith River. Additionally, unconsolidated materials consisting of
Holocene-age alluvium are present along streams, as well as residual, weathered bedrock
material overlying competent bedrock. Five of the trenchless crossings (G-017, G-023, G-
024, H-017, and H-020 – north side bore pit only) would occur in areas that may include
karst terrain developed in carbonate bedrock, including Cambrian through Ordovician-age
dolomite and limestone. These five crossings would cross eight streams and two wetlands
as listed in appendix A. Four of these crossing locations would also be associated with
conventional bores for road crossings. Karst terrain is addressed in the following section.

       We received several comments regarding the feasibility of using trenchless
crossing methods through subsurface material that may contain boulders, mixed face
(overburden and bedrock along the drill path), flowing/heaving sand, and artesian
groundwater flow. We also received comments regarding the adequacy of the
information provided by Mountain Valley, the need for site-specific characterization of
the subsurface material at each individual crossing, and depths to bedrock based on U.S.
Department of Agriculture Natural Resources Conservation Service (NRCS) Soil Survey
Geographic database (SSURGO) data.

        Mountain Valley used NRCS SSURGO data to estimate depths to bedrock, which
it determined would be encountered at depths greater than 7 feet at 73 percent of the
crossings. Depth to bedrock was measured to be approximately 18 to 20 feet below the
ground surface for select sites based on previously submitted geotechnical reports.16
Based on this information, along with information obtained from previously installed
pipeline, and given the proximity of the planned bore pits adjacent to the waterbody
crossings, Mountain Valley expects that at most of the proposed crossings, the bore pits
would be excavated within overburden material consisting of heterogeneous valley fill
deposits of poorly graded silt, sand, gravel, cobbles, and boulders.

        Based on experience from the trenchless crossings already completed for the
certificated Mountain Valley Pipeline Project, Mountain Valley may encounter boulders
and mixed-face conditions while conducting the proposed bores and would mitigate their
potential impact through the use of appropriate conventional bore tooling and technology.
In order to anticipate these conditions and to address them should they occur, Mountain
Valley would use available geologic data, site-specific observations during excavation of

16     See filings in Docket No. CP16-10 under accession number 20201013-5344.


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bore pits, and assessment of drill cuttings from the bores to modify boring tools and
techniques, if needed. Mountain Valley states that its contractors have access to a variety
of cutter heads to overcome anticipated subsurface conditions, including all-purpose
heads, rock-cutting heads, and mixed-ground heads. Mountain Valley may also utilize
alternative boring machines to bore through solid rock, such as an air hammer instead of
a conventional track auger machine.

      Also, based on familiarity with the regional geology from bores and excavations
completed to date, and information from the NRCS SSURGO database, Mountain Valley
does not anticipate encountering flowing sands or artesian conditions at any of the
proposed bore locations.

        The proposed trenchless crossings would occur entirely within the previously
authorized workspace and would not result in a change in general impacts on or from
geologic hazards or to soils compared to the Mountain Valley Pipeline Project. The
minor route adjustment proposed at MP 230.8 to avoid waterbody S-OO11 would impact
0.13 acre of new workspace, but would not affect soil types with soil limitations and
contaminated soils, acid forming material (AFM), or oil and gas wells were not identified
at that location. The proposed alignment shift at MP 0.7 to avoid wetland W-A2a would
occur within the same certificated workspace as the Mountain Valley Pipeline Project
with no change to soils or geological hazards.

        As discussed in section A.5 of this EA, the trenchless crossings would require
excavation of bore pits on each side of the resource crossing. Individual bore pits may be
excavated to depths as shallow as 3 to 8 feet (at crossing I-103) or as deep as 35 to 49
feet (at crossing C-022), depending on resource attributes and local topography
immediately adjacent to the individual bore pit location. In some cases, bore pit
excavation could encounter shallow bedrock consisting of potential AFM17 such as coal
seams, and other sulfide-rich materials such as pyrite-bearing shales and sandstone.

       In the event that AFM is encountered during excavation of the bore pits, Mountain
Valley would implement its AFM Plan. As outlined in the plan, field assessments would
be conducted to identify potential AFM. A Mountain Valley EI would be deployed on-
site during excavation of the bore pits and any land disturbance to conduct field
observations of the bore pit and excavated materials. The EI, as appropriate, would
conduct an evaluation of the soil horizon and strata, depths and colors (hue/value/chroma),
depth and thickness of partially weathered “saprolite” zone, and would identify whether
one or more coal seams are encountered (coal possesses the highest susceptibility for acid

17     AFM is discussed in section 4.1 of the FEIS.


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forming characteristics in the local and regional geological formations likely to be
encountered by bore-pit excavation). Additionally, where deemed necessary by
Mountain Valley, the EI would analyze field samples to determine moderate- and high-
risk AFM and identify corresponding lime (acid-neutralizing material) application rates.
A 30 percent hydrogen peroxide test is well-documented for rapid determination in the
field of potentially reactive AFM (i.e., rapidly oxidizes sulfidic materials) via evolution of
heat, vigorous frothing, and water vapor. A moderate reaction would be characterized as
representing moderate-risk AFM, while highly reactive results would be characterized as
high-risk AFM. As appropriate, Mountain Valley would apply agricultural lime to bore pit
walls, floor, and spoils at a rate commensurate with either moderate- or high-risk AFM per
its AFM Plan.

      Once applied, the treated material would be used as normal backfill, with final land
reclamation covering the treated material. Return of treated AFM to the bore-pit backfill
would be compacted to limit internal permeability. The upper 12 to 18 inches of backfill
would be left loosened to support plant growth for post-construction reclamation.

        Excess AFM material that cannot be returned to the pit backfill due to
construction factors or concerns over net swell, would be bulk-blended with agricultural
lime at the applicable moderate-risk or high-risk rate and placed in accordance with
Mountain Valley’s standard practice for excess spoils, and managed per Mountain
Valley’s AFM and standard erosion and sediment control measures. In order to contain
run-off and leachate, excess AFM would not be placed within an area that may become
saturated as per the Project’s Erosion and Sediment Control Plans. Bulk blending with
lime would mitigate acidic leachate generated when exposed to surface elements such as
rainfall. Additionally, Mountain Valley would conduct routine post-reclamation site
inspections and would evaluate the potential for acidic leachate runoff, typically indicated
by orange-discolored soil staining, and would apply spot-blending with agricultural lime
as necessary.

       Construction of the bore pits and stockpiling of soils could be impacted by the
presence of steep slopes. The estimated volume of spoil for each bore pit is provided in
appendix D. In areas containing steep slopes, Mountain Valley would relay bore-pit
spoils away from the bore site and up or down the right-of-way to a nearby flat section of
pipeline right-of-way or additional temporary workspace. In steep terrain, equipment
may need to be winched down to and back from the bore pit site to remove spoil material.
Where possible, Mountain Valley would temporarily spread spoil along those flatter
portions of the limit of disturbance to avoid creating large stockpiles until bore operations
are complete and the bore pits can be backfilled.



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        Mountain Valley would protect against slope failure resulting from the weight of
spoil stockpiles by placing stockpiles away from slopes and on flatter terrain. Mountain
Valley would implement the Project’s Erosion and Sediment Control Plans to enhance
stockpile stability and protect environmental resources downstream of bore pits and
stockpiles. Protective measures include installation of silt fence or super silt fence and
temporary mulching of stockpiles. Bore pits would be backfilled as soon as practicable
upon completion of the bores to avoid having stockpiles exposed to excessive
precipitation and erosional forces and to minimize the time over which existing slopes are
subjected to additional loading. Lastly, in the event that bedrock is encountered that
cannot be excavated by standard construction practices and blasting becomes necessary,
Mountain Valley would conduct any blasting required to establish bore pits according to
its General Blasting Plan approved in the certificated Mountain Valley Pipeline Project.
During final restoration, Mountain Valley would restore any disturbed upland areas and
soils in accordance with the FERC’s Plan and its Procedures including backfilling the
bore pits with the removed and stored soil. Based on these measures, we do not anticipate
long-term or significant impacts on geological or soil resources as a result of construction
or operation of the Amendment Project.

       2.0     Water Resources

               2.1     Groundwater

       Aquifer conditions along Mountain Valley’s pipeline alignment are thoroughly
discussed in the FEIS. Bedrock aquifers predominate in the Amendment Project area with
minor surficial alluvial aquifers occurring along streams. Bedrock aquifers consist of the
Appalachian Plateau Regional, Valley and Ridge Regional, and the Blue Ridge and
Piedmont Crystalline-Rock aquifer systems. With the exception of the sandstone
aquifers, primary porosity and permeability in these bedrock aquifers are for all practical
purposes negligible. Groundwater flow is predominantly through secondary permeability
such as bedding planes, bedrock fractures and joints, as well as the potential for conduit
flow through karst-developed carbonate bedrock aquifers.

        Groundwater flow within the bedrock aquifers occurs within small, localized
drainage basins where flow originates in groundwater recharge areas within and along
hilltops and hillsides, and discharges to local streams. Aquifers in the Amendment Project
area are typically characterized by small groundwater capture areas.18 However, there are
exceptions, and wells completed in close proximity to streams may be affected by
induced recharge from the stream when the stream is within the radius of influence of


18     Three‐dimensional volumetric portion of a groundwater‐flow field that discharges water to a well.


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groundwater pumping (Kozar and Paybins, 2016). As discussed above in section B.1 of
this EA, Mountain Valley expects that based on the NRCS SSURGO data, the bore pits at
most of the proposed crossings would be excavated within bedrock overburden and
alluvium material consisting of heterogeneous valley fill deposits of poorly graded silt,
sand, gravel, cobbles, and boulders, as well as decomposed bedrock regolith.

       The proposed Amendment Project conventional bore crossings range between 20
and 405 feet in length. Mountain Valley prepared feasibility analyses for four
conventional bores (C-035, H-017, H-031, I-121) that would exceed 300 feet in length, as
well as for the two proposed guided conventional bores and the proposed 1,250-foot-long
Direct Pipe® crossing.19 The desktop feasibility assessments for the four conventional
bores that would exceed 300 feet and the guided conventional bore at Stony Creek
(crossing G-013) concluded that the bores were feasible. Mountain Valley completed test
borings and resistivity imaging studies for the proposed guided conventional bore for the
Elk River (crossing C-022) and the proposed Direct Pipe® crossing of the Greenbrier
River (crossing F-021). Based on the more detailed evaluations, the Elk River and
Greenbrier River crossings also would be feasible and would reduce impacts on the
waterbodies with minimal risk.

      Mountain Valley also completed feasibility studies for the Gauley River and the
Roanoke River (along with an adjacent braid of the Roanoke River), Section 10 streams.
Both would be crossed by microtunneling. These two crossings have already been
approved by the FERC staff through our variance process.

        We received comments regarding the bore pit dewatering and boring activities
potentially impacting the local groundwater systems and local drinking water wells and
springs. The proposed trenchless crossings could result in a minor, temporary change to
the impacts on shallow groundwater compared to the Mountain Valley Pipeline Project as
a result of the bore-pit dewatering. As discussed in section A.5.1 of this EA, Mountain
Valley has the capacity to utilize 3-inch to 6-inch diameter submersible pumps in each of
the bore pits with the capability to control groundwater infiltration rates up to 2,750
gallons per minute (gpm). Pumping may be required 24 hours-per-day for several days
depending upon site conditions. However, given the low permeability constraints of the
fractured bedrock aquifers and of the overburden material, the depths of the borings and
bore pits, and local aquifer boundary conditions (i.e., alluvium valleys in contact with the
bedrock over a short lateral distance), much lower pumping rates are expected to maintain
dry working conditions in the drill pits.


19     See accession numbers 20210219-5176 (Appendix F) and 20210427-5306 (Attachment 1).


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        Mountain Valley has successfully completed 52 conventional bore crossings of
streams in similar terrain for the Mountain Valley Pipeline Project using the drill-pit
dewatering methodology. Mountain Valley provided a qualitative assessment of these
crossings and states that many of the bore pits for these trenchless crossings were either
dry or required pumping of minimal continuous flow of groundwater into the pits. In
many of these cases, 3-inch diameter pumps with a maximum capacity of 300 gpm were
all that was needed to maintain dry working conditions in the drill pit. Based on
Mountain Valley’s experience, we expect that many of the bore pits associated with the
Amendment Project would not require dewatering except for stormwater and/or
seasonally high water-table conditions.

       Commenters also stated that drinking water wells may be impacted by boring
operations. Mountain Valley stated that although no known public or private groundwater
wells or springs are located within 150 feet of the Amendment Project, private wells could
be located within 150 feet of the proposed bore pits at MPs 203.6 (near a residence at
crossing G-009) and 270.6 (near a structure at crossing I-040). As outlined in its Water
Resources Identification and Testing Plan,20 Mountain Valley would identify and assess
private water supplies within 150 feet, or 500 feet in karst terrain, of the Amendment
Project.

       Groundwater withdrawal during bore pit dewatering could potentially result in
short-term water-level drawdown of shallow groundwater in wells within the vicinity of
the bore pits, and in the temporary reduction in the discharge rate of nearby springs. The
magnitude and lateral distance of water-level drawdown, and spring-flow impacts would
depend on the existing groundwater levels at each site at the time of construction and site-
specific aquifer characteristics. However, any groundwater-level drawdown and related
impacts would be short-term and temporary and levels would be expected to recover to
non-pumping conditions following construction.

      Mountain Valley estimated the areal extent or radius of pumping influence (r0) of
groundwater drawdown using standard analytical methods for well and aquifer evaluation
(Walton, 1962), and by utilizing published aquifer hydrogeologic characteristic data
(hydraulic conductivity (K), Transmissivity (T) and Storativity (S)21 for each of the


20     See accession number 20171101-5042.
21     Hydraulic Conductivity (K) is the rate of flow of water through a cross section of aquifer (i.e. one
       square foot) under a unit hydraulic gradient; Transmissivity (T) is the rate at which groundwater
       can flow through a unit width of an aquifer’s saturated thickness (b) under a unit hydraulic
       gradient (T=Kb); and Storativity (S) is a dimensionless measure of the volume of water that will



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underlying rock types and formations present at each crossing. The estimated depth to
bedrock/thickness of overburden, the depth of the bore pit, the saturated thickness of the
drill pit, and the duration of drilling for each specific crossing were input variables to the
quantitative estimates developed for each of the planned conventional drills.

       The selection of hydraulic conductivity values began with a review of the USGS
Water Resource Investigation Report and Scientific Investigations Report (Kozar and
Mathas, 2001 and USGS, 2016, respectively), as well as the USGS Open File Report
Documentation of Spreadsheets for the Analysis of Aquifer-Test and Slug-Test Data
(USGS, 2002). Selected hydraulic conductivity values were considered conservative,
based on the review of the above documents, and reasonably valid based on previous
boring logs and available subsurface geotechnical information performed by Mountain
Valley.22

        Utilizing information from the Greenbrier River geotechnical analysis, the depth
to the water table for deeper pits (greater than 12 feet) was estimated to be 6 feet. For
pits less than 12 feet in depth, the water table was estimated to be 2 feet below the surface
as these bore pits are expected to be topographically closer to the waterbody being
crossed. Saturated thickness was estimated to be the depth of the bore pit minus the
water table for the pits in the alluvium. The bore pits in bedrock were assigned a
saturated thickness of 50 feet. By assigning a saturated thickness to bedrock crossings of
50 feet, the transmissivity used in the analysis of the bedrock crossings is considered to
be conservative and most likely more representative of the upper portion of the West
Virginia stratigraphy. These data were applied to the reverse distance-drawdown
calculator based on the Cooper-Jacob (1946) equations available from the North Carolina
Division of Water Resources (2021).

       The calculated radius of pumping influence ranged from 10 feet to 393 feet, and
groundwater drawdown impacts ranged from a maximum at the bore pit face (the
difference in feet between pit depth and groundwater depth [full pit saturated thickness])
to zero feet at the outer limit of the radius of influence as shown in appendix E. These
calculations are considered conservative and the actual areal extent of potential
temporary groundwater drawdown is reasonably assumed to be less than the values
shown in appendix E as the calculations assume a totally flat water table of infinite
extent. However, the Amendment Project area hydraulic gradient is steep with numerous

       be discharged from an aquifer per unit area of the aquifer and per unit reduction in hydraulic
       head. For a confined aquifer, storativity results only from the rock and fluid compressibility.
22     Boring logs and/or subsurface geotechnical information was available for the proposed crossings
       at C-035, G-013, H-017, H-031, I-121, and the Elk (C-022) and Greenbrier (F-021) Rivers.


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aquifer boundary conditions, which would contain effects on groundwater levels from
bore pit dewatering. For example, alluvium valleys in contact with the bedrock over a
short lateral distance from the center of pumping.

        The radius of influence analysis can be used to estimate potential impacts on
groundwater users near the proposed bore pits. A groundwater well at the very limit of
the calculated radius of influence would show no change (zero feet) in groundwater level
and no impact, while a well located within the calculated radius of influence would show
some groundwater drawdown. The analysis shows that for a majority of the proposed
crossings, about 74 percent, potential temporary dewatering effects on groundwater levels
would be limited to within 150 feet of bore pits. With the exception of two crossings, the
C-022 and D-041 crossings, where groundwater drawdown is estimated to be 8 feet and 7
feet, respectively, the analysis showed that groundwater drawdown would be in the range
of 0 to 3 feet outside of the 150-foot radius, which is within the range of natural water
table fluctuations.

        Further, the average distance between the proposed trenchless crossings is 11,000
feet and if simultaneous bore pit dewatering was required, the calculated pumping radius
of influence for each crossing shows that there would be no overlap except for at three
locations. At those three locations, involving crossings D-011 and D-012, F-014 through
F-017, and H-047A and H-048A, the crossings are located close enough together such
that potential groundwater impacts could overlap if simultaneous bore-pit dewatering
were required. However, at these locations, because of right-of-way access logistics, the
crossings would be completed sequentially and not simultaneously. Therefore, if bore pit
dewatering is required during any of these crossings, there would be no overlap of
groundwater impacts and no cumulative drawdown impacts.

       Calculated rates of pumping for the crossings ranged from less than 1 gpm to a
maximum of 35 gpm, which is consistent with the observed dewatering at the crossings
completed by Mountain Valley. Mountain Valley has already completed 52 crossings of
67 waterbodies and wetlands using conventional bores without any known impact on
wells or springs. Based on this experience, and without any direct recharge (rainfall)
events, it is anticipated that groundwater levels would recover to pre-pumping
background conditions within 60 percent of the elapsed time that pumping occurred.

        Mountain Valley would notify all potential groundwater users, both well and
potable spring users, within the pumping radius of influence provided in appendix E of
the initiation of dewatering activities.




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       Mountain Valley would construct the Amendment Project in accordance with the
methods described in the FEIS, including Mountain Valley’s commitments to protecting
drinking water of nearby residents. As discussed in the FEIS, in the event of landowner
complaints that nearby wells or springs are impacted by the dewatering activities,
Mountain Valley would evaluate any complaints and identify a suitable solution with the
landowner. If it is determined by Mountain Valley through the use of qualified
groundwater and surface water scientists and engineers that suitable potable water is no
longer available due to construction related activities, Mountain Valley would provide
adequate quantities of potable water during repair or replacement of the damaged water
supply. In the event that an impact occurs to a livestock well, Mountain Valley would
provide a temporary water source to sustain livestock while a new water supply well is
constructed. Mountain Valley would also need to continue to fully comply with its Water
Resources Identification and Testing Plan for identifying and assessing water supplies in
the vicinity of the Amendment Project.

       The U.S. Environmental Protection Agency (EPA) requested the identification of
mitigation measures to prevent water movement along the alignment where trenchless
crossing methods would be used below the seasonal high water table. Additionally, we
received comments from stakeholders concerned with the potential for creating
preferential groundwater flow conduits from the drilling and installation of the pipeline,
permanent changes to groundwater flow patterns, and the potential for the permanent loss
of surface water (leakage) to these preferential flow conduits.

        All of the crossings are positioned with their entry and exit points adjacent to the
resource, outside of the high water mark for streams, and outside of the wetland areas.
The drilling of the borehole and installation of the product pipeline would not permanently
alter the groundwater flow or groundwater/surface water interactions near the resource.
These interactions are governed by the location of the resource, relative to the course of
recharge-discharge flow pattern within the basin. For example, stream sections that are
characterized by perennial flow, intermittent flow, or ephemeral flow would remain as
such following construction, and would not be permanently altered by the drilling and
pipeline construction. Although the borehole and pipeline may represent a small linear
permeability contrast relative to the surrounding aquifer matrix, its presence begins and
terminates into undisturbed aquifer material on each side of the resource. An aquifer’s
thickness and lateral extent varies, but is much greater than the space that would be
occupied by the pipeline proposed for the Amendment Project. The physical pipeline
would occupy only a negligible portion of the aquifer and have no permanent influence on
groundwater flow.




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        Mountain Valley’s design also includes the installation of trench breakers on
slopes and at all waterbodies to impede flow of water along the buried pipeline. Trench
breakers would be constructed from earthen fill, sand, or concrete-filled sacks and would
be a minimum of 24 inches to 36 inches thick and in accordance with the FERC’s Plan.
Trench breakers would be installed at both ends of a bored crossing. These measures
have been implemented on the bores that have been successfully completed to date on the
certificated Mountain Valley Pipeline Project.

        Further, during the boring process, and in conjunction with bore pit dewatering,
there is the potential for temporary, pumping-induced infiltration of surface water to
enter the borehole through the bottom of the streambed and into the bore pits. This may
lead to a temporary reduction in stream flow or wetland saturation. However, any water
entering the bore hole would be pumped from the bore pits and into sediment-removal
structures constructed within the same drainage basin. As such, any water pumped from
the bore pits during dewatering activities would be discharged and infiltrated back into the
same drainage basin and would not constitute a consumptive use of groundwater from the
basin, or lead to a permanent impact on surface-water flow or wetland saturation.

        Discharge of construction-related water within and in the near vicinity of the right-
of-way in karst areas would be managed according to Mountain Valley’s Karst
Mitigation Plan,23 which, among other things, prevents direct discharge to a karst feature.
Specific to dewatering/filtering, these dewatering devices would be located within, or in
the near vicinity of the right-of-way that has been cleared and graded and inspected for
karst features. Notification and offers of pre- and post-construction testing of wells and
springs located within 500 feet of work in karst areas would be provided to landowners in
accordance with Mountain Valley’s Water Resources Identification and Testing Plan.

       Mountain Valley’s Karst Mitigation Plan requires that karst inspectors be present
in karst areas during construction to surveil potential karst feature formation. The
inspectors have stop-work authority, and if a cover-collapse type feature is activated
during dewatering/filtering, the karst inspector would notify Mountain Valley to stop
work, assess the feature, and mitigate discharge directed toward the feature. The feature
would be stabilized according to the Karst Mitigation Plan. Further discharge would be
re-directed away from the karst feature. Five of the proposed conventional bores
(crossings G-017, G-023, G-024, H-017, and H-020), located between MP 206.6 to
235.5, would be in areas that may exhibit karst features. Mountain Valley would
implement its Karst Mitigation Plan for these crossings.


23     See Docket No. CP16-10 accession number 20171101-5042.


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       We also received multiple comments discussing the possibility of off right-of-way
sedimentation caused by dewatering activities. As noted in the FEIS, water would be
discharged through sediment-removal devices in well-vegetated upland areas away from
waterbodies and wetlands. As discussed above, any water pumped from the bore pits
during dewatering activities would be released back into the same drainage basin and
would not be a consumptive use of groundwater from the basin, or a permanent impact on
surface water flow.

       Based on these measures and the others described previously, we do not anticipate
long-term or significant impacts on groundwater resources as a result of construction or
operation of the Amendment Project.

              2.2     Surface Water

       The Amendment Project would require the crossing of 136 surface waterbodies,
which are described in appendix A. The Amendment Project would entirely avoid stream
S-OO11 at MP 230.8, which was approved in the certificated Mountain Valley Pipeline
Project as an open-cut dry crossing, through implementation of a minor route adjustment.
The proposed alignment shift at MP 0.7 would not affect waterbodies.

       The conventional bore crossings range in length from 20 feet to 405 feet. The
guided conventional bores range from 296 feet (Elk River) to 331 feet (Little Stony
Creek) in length. The Direct Pipe® crossing of the Greenbrier River would be 1,250 feet
long. The actual waterbody crossing widths, which are shorter than the bore lengths,
were listed in the FEIS.24 Installing the pipeline beneath these waterbodies via the three
trenchless methods described previously (section A.5 of this EA) would avoid all in-
water construction at these locations. Associated waterbody stream beds and banks
would also not be disturbed.

       During scoping and preparation of the EA, we received comments about surface
water resources concerning bore feasibility, bore hole collapse and subsidence, water
quality impacts, spills and inadvertent releases, dewatering, and surface water
withdrawals. As appropriate, these comments are addressed herein.

       Using trenchless crossing methods greatly reduces potential effects on surface
waterbodies, particularly compared to open-cut crossings. In general, typical pipeline
effects on waterbodies are avoided with trenchless methods. However, using these
techniques, as proposed in the Amendment Project, could still affect water quality. We


24    Waterbody crossing lengths are listed in appendix F-1 of the FEIS.


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received multiple comments concerning the possibility of erosion and off right-of-way
sedimentation due to the storage of spoil from the bore pits and from the boring activities.
The excavated material to create the bore pits would be placed in spoil piles within the
existing pipeline right-of-way. Stockpiled soils would be stored away from existing
slopes, in flatter locations or along ridges, and placed such that they do not exceed a
stable angle of repose. Mountain Valley would implement the Project’s Erosion and
Sediment Control Plans to enhance stockpile stability and protect environmental
resources downstream of bore pits and stockpiles. Such measures would include
installation of silt fence or super silt fence and temporary mulching of stockpiles. Any
spoil remaining following the completion of the bore and the backing filling of the bore
pits would be evenly spread on the right-of-way. Thus, off right-of-way sedimentation
should be unlikely to occur. Mountain Valley would use an off-site disposal facility for
excess spoil as a last resort. In addition, equipment needed for these crossings could leak,
resulting in adverse effects on water quality. To avoid and reduce these potential impacts
on surface waterbodies, Mountain Valley would implement measures within its SPCC,
including locating hazardous material storage and equipment refueling activities at least
100 feet from waterbodies. These measures would reduce the potential for hazardous
materials to enter waterbodies.

       Regarding bore feasibility, based on available geologic data (Appendix I of
Mountain Valley’s amendment application25) and Mountain Valley’s site-specific
feasibility studies for the two proposed guided conventional bores (see section B.2.1 of
this EA), we conclude that the Direct Pipe® crossing, and all three conventional bores
that would be longer than 300 feet are feasible. Conventional bores less than 300 feet
long would be within acceptable soil types and crossing lengths for conventional boring
technology and would also be feasible. Further, Mountain Valley has already
successfully completed 54 trenchless crossings of 73 waterbodies and wetlands, including
67 waterbodies and/or wetlands crossed via 52 conventional bores. Additionally,
Mountain Valley successfully crossed the Meadow River and an unnamed tributary to the
Meadow River via a single Direct Pipe®, and crossed four additional waterbodies and
wetlands via a single HDD at the Pigg River. Should Mountain Valley encounter
difficulties during a trenchless crossing, such as excessive torqueing, poor cutting returns,
mechanical failure, deviation of the bore path, or unanticipated site conditions, Mountain
Valley would implement contingency measures including shifting the bore entry point
over and re-attempting the bore. Mountain Valley would be required to seek any




25     See accession number 20210219-5176.


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necessary authorizations and agency approvals before modifying the proposed crossing
method.

        Water that would infiltrate into the bore pits would be pumped out as needed (see
section B.2.1 of this EA). During construction, water removed from the bore pits would
be discharged through sediment removal devices such as filter bags and hay bale-lined
dewatering structures26 and directed to vegetated land surfaces (where available) to
control erosion and runoff unless the water was used for boring purposes as described
below. Mountain Valley would continuously monitor the structure, flow rate, and
volume so as not to cause erosion, compromise the dewatering structures, or result in
sediment-laden water entering a sensitive resource. The discharges of water from bore
pits would flow back into the same watershed. Implementation of these measures would
minimize potential local and temporary effects from turbidity and sedimentation.
Dewatering of bore pits would occur in lieu of trench dewatering, which was approved as
part of the Mountain Valley Pipeline Project.

        Bore or drill hole collapse and resulting impacts on stream bottoms would be very
unlikely to occur. As the conventional bore or Direct Pipe® is advanced, the pipeline is
installed immediately behind the drill pipe, thereby greatly reducing the potential for
borehole collapse or subsidence. There would not be an unsupported hole during these
boring or drilling activities. A pilot hole would be bored first for guided conventional
bores. The potential for hole collapse would be minimized since the main bore auger
would be connected to the in-place pilot hole drill string after completion of the pilot
hole. The main bore hole would then be completed with the hole supported at all times.
In the unlikely chance of drill or borehole collapse, the overlying streambed could
subside. Subsidence of the stream bank or channel could cause erosion or sedimentation,
increased turbidity, and altered flow patterns.

       A bore deflection that would breach the stream bottom is also very unlikely. As
previously stated, in order to breach the streambed, an average bore length (less than 95
feet) would either have to be misaligned at least 10 percent at initial set up or deflect at
least 10 percent due to encountering a large rock, cobble, or interface between two rock
types. Bore operators thoroughly check the line and grade prior to beginning bore
operations so as to prevent a misalignment. Bore operators can also detect increased
resistance in the bore machine due to deflections of less than 10 percent for bores greater



26     See Appendix C-2_ESCP VA AS&S_113017_Part 1.pdf and Appendix C-2_ESCP VA
       AS&S_113017_Part 2.pdf at accession number 20171206-5004 for filter bag and dewatering
       structure typical drawings.


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than 95 feet in length. Deflections were not encountered during the 52 previously
performed conventional bores.

        In the event that a conventional bore deflected substantially enough to potentially
breach the stream bottom, this condition would be readily observed by the bore operator
and timely corrections could be made. However, if a deflection were to breach the
stream bottom, surface water would then flow into the borehole and into the bore pits. If
this were to happen and the water flow could be controlled through pumping, Mountain
Valley would grout the hole and reattempt the bore crossing at an adjacent location. If
too much water were to enter the bore pit to maintain a dry workspace, Mountain Valley
would work with the appropriate agencies to establish a repair methodology. This would
most likely include grouting the bore hole and rebuilding the streambed. The guided
conventional bore is steerable, thereby greatly reducing the potential for deflection during
installation of the pilot hole. The Direct Pipe® also uses an advanced guidance system
for steering, thereby effectively limiting the possibility of deflection.

        An inadvertent release of drilling fluids could impact surface water quality. An
inadvertent release of drilling fluids into a waterbody would increase turbidity and
sedimentation within the affected waterbody. The use of conventional bores greatly
reduces the potential for an inadvertent return as no high-pressure drilling fluid slurry
would be needed. The majority of the conventional bore crossings proposed in the
Amendment Project would not require the use of any drilling fluids; however, for some
conventional bore crossings, like the longer conventional bores or the conventional bores
through mixed ground or clay, Mountain Valley may use small amounts of bentonite or
polymer-based lubricants on the cutting head and exterior casing to reduce friction and to
increase the success of the crossing. Because the borehole is not filled with drilling fluids
under pressure with a conventional bore, hydraulic fracturing leading to an inadvertent
release would not occur. However, there is a small chance these drillings fluids could
enter surface waterbodies incidentally as a result of an inadvertent spill at a workspace
adjacent to the waterbody. Mountain Valley states that the drilling fluids would be of
small quantities and would be non-petrochemical-based, non-hazardous, NSF-60
compliant, and that ecotoxicity data would be provided to the FERC staff, and thus are
not expected to negatively impact waterbodies. Mountain Valley would submit a request
to the FERC for the use of any polymer-based lubricants prior to their use.

        A water-bentonite-based drilling mud mixture would be used during installation of
the Direct Pipe® crossing. However, for Direct Pipe®, the drilling fluids are utilized
only at the cutting face. A pressurized fluid-filled borehole is not required for Direct
Pipe® drilling as the product pipe is advanced with the drill bit providing support for the
drilled hole and eliminating the potential for hydraulic fracturing of the borehole and an


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inadvertent release of drilling fluids. The drill cuttings suspended in the drilling fluid
returns are delivered back to the surface via umbilical piping inside the advancing
installation pipe.

       For the guided bore crossings (pilot hole drilling phase only), pressurized water or
water/bentonite slurry is pumped through drill stem to pilot drill head to facilitate
removal of formation cuttings. An inadvertent surface return could occur during the pilot
hole drilling phase dependent on geologic strata, down-hole pressure, and overburden
confining pressure. However, the drilling fluid pressures would be relatively low.
Monitoring of downhole drilling pressure would be conducted by utilizing an annular
pressure probe during pilot hole drilling for the guided bore method.

       During construction, Mountain Valley would implement the construction practices
outlined in its Procedures and its Direct Pipe® and Horizontal Directional Drilling
Contingency Plan to reduce the potential for an impact to occur. Inadvertent releases that
could occur with the pilot hole phase of the guided conventional bore or during drilling
by Direct Pipe® would be much smaller compared to other trenchless methods such as
HDD, where the volume of drilling fluids under pressure used is considerably higher. As
with the conventional bores, any additives used for guided conventional bores and Direct
Pipe® would be non-petrochemical-based, non-hazardous, NSF-60 compliant, and that
ecotoxicity data would be provided to the FERC staff, and thus are not expected to
negatively impact waterbodies.

       Pits or containment structures could be constructed around the drilling fluid tanks
to contain drilling fluid that may accidently spill on the surface of the ground, and a
pump may be required to transfer the released drilling fluid from the pit or structure to a
containment vessel. All drilling fluids would be disposed of at an approved local waste
management facility.

        The guided conventional bores of the Elk River and Little Stony Creek (40,000
gallons each) and the Direct Pipe® crossing of the Greenbrier River (600,000 gallons)
would require water to prepare the slurry described above. Mountain Valley states that
where possible it would obtain water to prepare the slurry from the bore pits (dewatering)
and then store it in aboveground tanks. Mountain Valley stated that the Greenbrier River
would serve as a backup source of water for the Greenbrier crossing if the volume
obtained from the bore pits is not sufficient. Mountain Valley would coordinate with the
West Virginia DEP’s Division of Water and Waste Management (DWWM) and West
Virginia Department of Natural Resources (WV DNR) regarding guidance, time of year
restrictions, and other stream criteria if the backup water source is used. Mountain
Valley would use DWWM’s water withdrawal guidance tool, limit water withdrawal


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from the stream to 10 percent of instantaneous flow, and would not withdraw water
during low flow or drought conditions. Mountain Valley would use municipal water
supply as a backup water source for the proposed crossings of the Elk River and Little
Stony Creek.

       The EPA commented that Mountain Valley should implement a water quality
monitoring plan. Mountain Valley is in the process of installing water quality monitoring
equipment on streams containing or feeding into aquatic habitat supporting listed fish
species, in compliance with the U.S. Fish and Wildlife Service’s (FWS) September 2020
Biological Opinion (BO).

       The Amendment Project would reduce impacts on waterbodies and water quality
as compared to the certificated Mountain Valley Pipeline Project. Therefore, given the
analyses above, we conclude that the Amendment Project would not have a significant
impact on surface waters and would result in a reduction of the impacts already disclosed
and analyzed in the FEIS.

              2.3     Wetlands

        The Amendment Project would require the crossing of 47 wetlands, including 37
conventional bore crossings (46 wetlands) and one guided conventional bore crossing.
The bore lengths to cross these wetlands range in length from 31 feet to 405 feet. The
actual wetland crossing widths, which would be shorter than the bore lengths, were listed
in the FEIS.27 Installing the pipeline across these wetlands via trenchless methods would
avoid all in-wetland construction and disturbance (reducing wetland impacts by 4.2
acres). Additionally, the Amendment Project would avoid wetland W-A2a at MP 0.7
entirely through implementation of an alignment shift and the proposed new workspace
associated with a minor route adjustment at MP 230.8 would not affect wetlands. The
Amendment Project would avoid disturbance and trenching of a variable buffer between
the edge of the bore pits and the wetland boundary, unlike the open-cut dry crossing
methods associated with the certificated Mountain Valley Pipeline Project.

       Using trenchless crossing techniques greatly reduces impacts on wetlands.
However, as described previously, trenchless crossing techniques could result in an
underlying borehole collapse and/or subsidence or deflection of the bore path resulting in
breaching of the wetland bottom. As discussed in the preceding section, the potential for
borehole collapse and/or subsidence and deflection is low. Subsidence or breaching of
the wetland bottom would be unlikely, but could result in increased turbidity or modified


27    Wetland crossing lengths are listed in appendix G-1 of the FEIS.


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hydrology. If these impacts were to occur, Mountain Valley would restore the wetland as
necessary. Additionally, using conventional bores to cross wetlands avoids the risk of
inadvertent returns as there is no high-pressure drilling fluid slurry. The risk of
inadvertent release of drilling fluids from the guided conventional bore would be low and
would be minimized and potential incidents mitigated as described above for surface
water resources. Bore pit dewatering could temporarily affect wetland hydrology and
subsequently wetland soils and vegetation. However, these effects would be minor and
temporary, not unlike the natural within season variability experienced by wetlands based
on fluctuations in precipitation.

       To further reduce impacts on wetlands, Mountain Valley would implement
measures in our Plan and its Procedures. This includes the installation of erosion and
sediment controls. Mountain Valley would also adhere to measures within its SPCC,
including locating hazardous material storage and equipment refueling activities at least
100 feet from wetlands. Therefore, given the analyses above and the implementation of
impact minimization measures, we conclude that the Amendment Project would not have
a significant impact on wetlands and would result in a reduction of the impacts already
disclosed and analyzed in the FEIS.

                    2.3.1 U.S. Army Corps of Engineers Jurisdiction

       Mountain Valley submitted a joint application to the COE Huntington, Pittsburgh,
and Norfolk Districts for Individual Permits for crossings of waterbodies and wetlands
per Section 10 of the Rivers and Harbors Act and Section 404 of the CWA. In
association with its permit application to the COE, Mountain Valley applied to the
WVDEP and the VADEQ for water quality certifications per Section 401 of the CWA.

        The proposed open-cut dry crossings for waterbodies and wetlands described in
the COE permit application are not a part of the Amendment Project, as the FERC has
already analyzed those impacts in our FEIS and authorized the crossings for the
certificated Mountain Valley Pipeline Project. Other waterbody and wetland crossings
that would be modified from open-cut dry crossings as described in the FEIS to
trenchless crossings are analyzed in this EA.

      Five waterbodies in the Project area would be subject to Section 10 of the Rivers
and Harbors Act. These waterbodies are described in table 5.




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                                              Table 5.

  Waterbodies in the Project Area Subject to Section 10 of the Rivers and Harbors
                                       Act
 Waterbody        COE          County,        Original/Currently    Proposed         Notes
 Name (ID)        District     State          Certificated          Crossing
                                              Crossing Method       Method a/
 Elk River        Huntington Webster          Open-cut Dry          Guided
 (S-E68)                     County, WV                             Conventional
                                                                    Bore
 Gauley River     Huntington Nicholas         Original: Open-cut    Microtunnel      The FERC
 (S-J29)                     County, WV       Dry; Current:                          authorized the use
                                              Microtunnel                            of a microtunnel
                                                                                     on May 18, 2020
                                                                                     per variance D-35
 Greenbrier       Huntington Summers          Open-cut Dry          Direct Pipe®
 River (S-I8)                County, WV
 b/
 Roanoke          Norfolk      Montgomery     Original: Open-cut    Microtunnel      The FERC
 River                         County, VA     Dry; Current:                          authorized the use
 (two crossings                               Microtunnel                            of a microtunnel
 – S-NN16 and                                                                        on May 27, 2020
 S-NN16-                                                                             per variance H-21
 Braid)
 Blackwater       Norfolk      Franklin       Open-cut Dry          Open-cut Dry
 River                         County, VA
 (S-F11)
 a       See section A of this EA for a description of the guided conventional bore, Direct Pipe®, and
         microtunnel crossing methods. Microtunnel is a trenchless crossing method that was approved by
         the Commission’s variance process. A description of the open-cut dry crossing method can be
         found in the FEIS.
 b       Included within the Amendment Project



       Proposed modifications to the Elk River and Greenbrier River crossing methods
are included in the analysis in this EA. The crossing method changes for the Gauley
River and Roanoke River were already authorized by the FERC staff as part of our
variance process, and the crossing method for the Blackwater River has not changed
(additional discussion regarding the Blackwater River is include in section C of this EA).

      As noted in table 5 above, the change in crossing methods for the Gauley River
and Roanoke River were already authorized by the FERC staff as part of our variance

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process. However, to support the COE’s review of the joint application for the Section
10 regulated streams, we have included information concerning the crossings of these
waterbodies in this EA. A discussion of the microtunnel construction technique is
included in section A.5.4 of this EA. A summary of the expected construction emissions
associated with the microtunnel crossings is included in section B.6.1 of this EA. In
addition, the crossings for these waterbodies are included in appendix A; the estimated
bore pit spoils from the crossings are included in appendix D; and the bore pit underlying
geology, depths, duration, and estimated groundwater drawdowns associated with the
microtunnel crossings are included in appendix E.

        As stated in our variance approvals28 for the Gauley River and Roanoke River
change in crossing methods, the use of a microtunnel construction technique would result
in a reduction on impacts on aquatic resources in these waterbodies by avoiding impacts
on the stream banks and channels. The changes in these crossing methods would not
affect historic properties and were considered in the 2020 BO issued by the FWS.

       Lastly, as mentioned in section A above, as part of the Amendment Project,
Mountain Valley is requesting the use of 24-hour construction at these locations.
Information concerning nighttime noise impacts for these crossings is discussed in
section B.6.2 below.

      3.0     Fisheries, Vegetation, and Wildlife

              3.1   Fisheries and Aquatic Resources

        We received multiple comments regarding potential impacts on aquatic resources
from the Amendment Project. In general, the proposed trenchless crossings would result
in less impact on fisheries and aquatic resources in the subject waterbody crossings as
compared to open-cut crossings. Trenchless crossings would occur at 47 wetlands and
136 streams. Completing the waterbody crossings using trenchless crossing methods
would avoid in-water construction and the associated short-term impacts on fisheries and
aquatic species that are described in the FEIS for the Mountain Valley Pipeline Project.
Additionally, the proposed route adjustment at MP 230.8 would avoid waterbody S-
OO11 and associated impacts on the waterbody and aquatic resources.

       The use of trenchless crossing methods to cross an environmental resource, such
as a waterbody or wetland, avoids direct impacts associated with working directly within
the resource. Trenchless crossing methods allow for uninterrupted existing streamflow


28    See accession numbers 20200518-3008 and 20200527-3040.


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and undisturbed wetland soils and scrub-shrub and herbaceous vegetation, thereby
minimizing impacts on aquatic resources and wetland and wildlife habitat. Additionally,
the proposed trenchless crossings would result in reduced in-stream sedimentation as
compared to the in-water construction approved for the Mountain Valley Pipeline Project.
Lastly, trenchless crossings would result in less disturbance of the riparian areas adjacent
to the waterbodies. As a result, habitat for many aquatic and semi-aquatic species would
not be affected.

        The bore pits needed to accomplish these trenchless crossing methods may act as a
sediment trap for upland sediment, thereby reducing sediment loading into the subject
streams. As described in the FEIS, increased sediment loads into streams has the
potential to alter aquatic habitat and affect aquatic species both physiologically and
behaviorally. Dewatering would be necessary if water accumulates in the bore-pits. To
minimize impacts, such as sediment loading into the waterbodies, dewatering would be
conducted in accordance with all existing plans and procedures reviewed and approved
for the Mountain Valley Pipeline Project. The water would pass through a pumped-water
filter bag within an appropriately sized dewatering structure. Additionally, dewatering
structures would be located within vegetated upland areas, where practicable. Mountain
Valley would continuously monitor the structure, flow rate, and volume so as not to cause
erosion, compromise the dewatering structures, or result in sediment-laden water entering
a sensitive resource.

        Construction activities for the proposed trenchless crossings could result in an
inadvertent release of fuel, oil, or other hazardous materials from construction equipment
into waterbodies that could have impacts on fish and aquatic species. A leak of
hazardous material into a waterbody could result in direct mortality to aquatic species,
altered behavior, changes in physiological processes, or effects on food sources. As
described in the FEIS, Mountain Valley would implement its SPCC, which would include
preventive measures such as personnel training, equipment inspection, and refueling
procedures to reduce the likelihood of spills, as well as mitigation measures such as
containment and cleanup to minimize potential impacts should a spill occur. Adherence
to the SPCC would prevent a spill from occurring near surface waters because
construction equipment fueling, and bulk hazardous material storage would be prohibited
within 100 feet of the waterbody banks. In addition, portable equipment such as water
pumps would be placed in secondary containment structures in order to contain any leaks
or spills.

       In order to protect all waterbody and wetland habitat near the areas where ground
disturbance would occur, Mountain Valley would implement erosion, sediment, and spill
control measures in compliance with the Plan and its Procedures, Erosion and Sediment


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Control Plans, and SPCC. Additionally, Mountain Valley would restore riparian areas
that would be disturbed once boring operations are completed. Given all factors
discussed above, we conclude that Mountain Valley’s proposed Amendment Project
would not result in significant impacts on fisheries and aquatic resources.

              3.2     Vegetation

       The proposed trenchless crossings would occur almost entirely within previously
authorized workspace. Impacts on vegetation within these workspaces would not
substantially differ from the impacts considered in the FEIS, excluding the minimization
of impacts on riparian scrub-shrub and herbaceous vegetation.

       Mountain Valley proposes to conduct a total of 120 trenchless crossings consisting
of 117 conventional bores, 2 guided conventional bores, and 1 Direct Pipe® at 47
wetlands and 136 streams.29 Some vegetation clearing would be required between the
proposed bore pits. Vegetation clearing and bore pit excavations would be located within
the existing already certificated construction right-of-way. Vegetation clearing in the
areas between the proposed bore pits was analyzed in the FEIS as this and additional
clearing would be necessary for the completion of the open-cut dry crossings at these
locations.

       The proposed route adjustment at MP 230.8 would result in impacts on 0.13 acre
of upland herbaceous vegetation outside of the certificated right-of-way for temporary
construction right-of-way and workspace. The route adjustment would also result in 0.04
acre of permanent operational impacts on herbaceous upland vegetation. No tree felling
would be required as part of the proposed route adjustment. These areas were not
analyzed as impacts in the FEIS. The proposed alignment shift at MP 0.7 would result in
a change in the location of the permanent right-of-way, within the certificated
construction right-of-way, but the overall acreage of permanent right-of-way would not
change. All areas at this alignment shift location were analyzed as impacts in the FEIS.



29    On April 27, 2021, Mountain Valley requested the Commission allow nighttime microtunneling
      activities at the Gauley River and Roanoke River. The Commission previously authorized
      Mountain Valley to change the crossing method to a microtunnel technique as part of our
      variance process. Therefore, only new impacts associated with Mountain Valley’s request to
      conduct 24-hour microtunneling activities at these locations are analyzed (see sections B.3.3 and
      B.6.2 of this EA). As these waterbodies are also Section 10 streams they are also discussed in
      section B.2.3.1 of this EA. In addition, Mountain Valley would utilize a conventional bore at the
      H-016 railroad crossing as authorized by the Certificate. Nighttime noise associated with
      conventional boring activities at this location are evaluated as part of the Amendment Project.


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       As described in the FEIS, areas of temporary right-of-way and workspace would
be allowed to revegetate to pre-construction conditions. Herbaceous and scrub-shrub
areas are expected to be fully restored within 1 to 3 years. In upland areas, the 50-foot-
wide permanent right-of-way would be maintained in an herbaceous state. In wetland
areas, native vegetation would be allowed to regenerate; however, to facilitate periodic
corrosion/leak surveys, a corridor centered on the pipeline and up to 10 feet wide may be
cleared at a frequency necessary to maintain the 10-foot corridor in an herbaceous state.
In addition, trees that are located within 15 feet of the pipeline that have roots that could
compromise the integrity of the pipeline coating may be cut and removed from the
permanent right-of-way. Impacts of the route adjustment on the additional 0.13 acre of
herbaceous uplands would be minimized by implementing the measures contained in the
FERC Plan and Mountain Valley’s Project-specific Erosion and Sediment Control Plans.
Mountain Valley would continue to reduce the potential introduction and spread of non-
native invasive plant and weed species by following the measures outlined in its Project-
specific Exotic and Invasive Species Control Plan.

                     3.2.1 Riparian Areas

       Riparian areas are functionally defined as three-dimensional ecotones of
interaction that include terrestrial and aquatic ecosystems along perennial stream
corridors. All riparian areas possess some similar ecological characteristics such as
energy flow, hydrologic function, nutrient cycling, and plant and animal habitat. These
functions give riparian areas unique values relative to the surrounding landscape.
Riparian ecosystems are extremely productive and have diverse habitat values for
wildlife. The linear nature of riparian ecosystems provides migration and dispersal
corridors and connects habitats for wildlife. The presence and movement of the surface
and groundwater enhance the recycling of nutrients and other chemical reactions
beneficial to plant growth within the riparian zone.

        Throughout construction, Mountain Valley has maintained, as feasible, a 50-foot
riparian buffer on each side of the surface waterbodies. Mountain Valley has already
cleared vegetation at 109 of the proposed trenchless crossings. Grading, in addition to
clearing, has also occurred between the bore pits at three locations, along with grading for
travel lanes at 95 locations. The certificated Mountain Valley Pipeline Project authorized
impacts on approximately 28.4 acres of riparian buffer located within the Amendment
Project work areas, of which approximately 4.5 acres of this buffer have been affected by
already installed travel lanes. The remaining 23.9 acres of riparian buffer consist of tree
stumps, where trees were previously felled, and a mix of herbaceous and shrub species.
The Amendment Project would reduce impacts on the riparian buffer from 28.4 acres to a
total of 17.7 acres (4.5 acres from already installed travel lanes, 2.0 acres of new travel


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lanes, and 11.2 acres of impacts from bore pits). Approximately 10.7 acres of riparian
vegetation that would have been affected by the certificated open-cut dry crossings would
remain undisturbed as a result of the proposed trenchless crossing methods.

        As stated, all of the clearing and grading between the proposed bore pits that has
already been completed was analyzed in the FEIS. Apart from the activities discussed
above, Mountain Valley does not anticipate the need to conduct any other vegetation
clearing within the riparian buffer between the bore pits for the installation of the
trenchless crossings. However, if additional vegetation clearing is needed within
certificated workspaces due to surveying or engineering concerns, clearing would be
conducted via hand tools or mowing and without ground disturbance. As mentioned
above, impacts on riparian vegetation would be reduced compared to those already
disclosed and analyzed in the FEIS. No additional clearing outside of what was already
analyzed in the FEIS would take place as a result of the Amendment Project.

       Mountain Valley would conduct restoration activities in accordance with
landowner agreements, permit requirements, and written recommendations on seeding
mixes, rates, and dates obtained from the Wildlife Habitat Council and measures outlined
in Mountain Valley’s Exotic and Invasive Species Control Plan and Migratory Bird
Conservation Plan. In riparian areas, the FERC Procedures require Mountain Valley to
allow a riparian strip of at least 25 feet to permanently revegetate with native species
during post-construction maintenance.

        Because the majority of vegetation clearing, including all tree clearing, has already
occurred in the proposed workspaces and Mountain Valley would follow restoration
protocols outlined in the FERC Plan and in accordance with all permits and
recommended seeding requirements, we conclude that the Amendment Project would not
result in a significant impact on vegetation.

              3.3    Wildlife

       We received multiple comments regarding potential impacts on wildlife from the
Amendment Project. Because the majority of the Amendment Project would occur
entirely within previously authorized workspace, with the exception of 0.13 acre of
herbaceous habitat that was included in previous biological surveys for the Mountain
Valley Pipeline Project, the impacts and mitigation for wildlife would generally be the
same as compared to the Mountain Valley Pipeline Project as described in the FEIS.

      Mountain Valley would install orange construction safety fencing around
unoccupied bore pits to prevent entrapment of animals. Mountain Valley’s EIs would



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inspect the bore pits for entrapped animals prior to restarting work each day. The EIs
would remove any animals from the bore pits.

        Construction work for the two guided conventional bore crossings, the one Direct
Pipe® crossing, three conventional bore crossings which include railroads (E-012, H-
016, and H-020), dewatering activities at all trenchless crossings, and the microtunnel
crossings of the Gauley River and Roanoke River, could require 24-hour operations
resulting in additional noise and light pollution impacts on wildlife. Noise from
dewatering activities would be similar to general construction noise. The FEIS described
potential impacts on wildlife from construction related noise in section 4.5.2.3. In
addition, based on noise studies conducted by Mountain Valley for the Elk River
crossing, the Gauley River crossing, the Roanoke River crossing, and two railroad
crossings (E-012 and H-020), the proposed nighttime activities would not require
additional mitigation in order to meet sound levels identified in the FERC guidance.
Noise studies conducted for the guided conventional bore crossing of Little Stony Creek,
the Direct Pipe® crossing of the Greenbrier River, and the railroad crossing at H-016
indicate that sound levels would exceed levels identified in the FERC guidance.
Therefore, Mountain Valley would install noise barriers around these sites to reduce
noise to acceptable levels. Additional information regarding noise can be found in
section B.6.2 of this EA.

       Wildlife generally relies on hearing for courtship and mating, prey location,
predator detection, and/or homing. These behaviors and interactions could be affected by
noise resulting from construction activities. Specifically, construction noise could lead to
nest abandonment, egg failure, reduced juvenile growth and survival, or malnutrition or
starvation of the young. During construction, the effects of noise on wildlife would be
greatest immediately adjacent to the construction work areas. Wildlife inhabiting the
areas surrounding the trenchless crossings might be temporarily displaced due to noise
during construction but would be able to return to the area after the trenchless crossings
are completed. To reduce potential impacts from 24-hour operations, Mountain Valley
would perform as much work as possible during daylight hours, including preparation of
the workspace, excavation of bore pits, and moving heavy equipment to the crossing
locations.

       Another impact that the trenchless crossings would have on wildlife during
nighttime construction is ecological light pollution. Construction work for dewatering,
guided conventional bores, Direct Pipe® crossing, railroad crossings, and microtunneling
occurring at night would need artificial lighting. As described in the FEIS, artificial
lighting could affect natural patterns of light and dark in ecosystems, which in turn may
affect wildlife. The effects of ecological light pollution may include causing


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disorientation in nocturnal animals, disrupting migratory patterns of birds, altering
seasonal day-length cues, which some wildlife may rely on as a trigger for critical
behavior (e.g., migration).

       To reduce potential noise and lighting impacts from nighttime activities, Mountain
Valley committed to install noise barriers at the crossing of Little Stony Creek,
Greenbrier River, and the H-016 railroad crossing. Mountain Valley would also use “full
cut-off” lighting fixtures to maximize shielding to prevent unintentional lighting of
surrounding areas. With these proposed measures, in consideration of the noise studies
conducted, and the fact that noise and light pollution would be temporary and localized to
the immediate areas surrounding the trenchless crossings, we conclude that impacts on
wildlife would be minimal and not significant.

              3.4    Migratory Birds

       Migratory birds are species that nest in the United States and Canada during the
summer and then migrate to and from tropical regions of Mexico, Central and South
America, and the Caribbean for the non-breeding season. Migratory birds are protected
under the Migratory Bird Treaty Act (16 U.S Code [U.S.C.] 703-711) (MBTA); bald and
golden eagles are additionally protected under the Bald and Golden Eagle Protection Act
(16 U.SC. 668-668d). Executive Order (EO) 13186 (66 FR 3853) directs federal
agencies to identify where unintentional take is likely to have a measurable negative
effect on migratory bird populations and to avoid or minimize adverse impacts on
migratory birds through enhanced collaboration with the FWS.

       On March 20, 2011, the FWS and the Commission entered into a Memorandum of
Understanding that focuses on avoiding or minimizing adverse effects on migratory birds
and strengthening migratory bird conservation though enhanced collaboration between
the two agencies. This voluntary Memorandum of Understanding does not waive legal
requirements under the MBTA, ESA of 1973, NGA, or any other statutes and does not
authorize the take of migratory birds.

        As stated above, the Mountain Valley Pipeline Project has completed
approximately 100 percent of tree felling, 95 percent of vegetation clearing, and 95
percent of upland right-of-way-preparation. Mountain Valley states that at areas of
trenchless crossings, trees and vegetation on the right-of-way were cleared but a 50-foot
buffer of riparian vegetation was maintained, as feasible. These areas currently consist of
tree stumps along with the scrub-shrub and herbaceous vegetation. No tree felling would
be required as part of the Amendment Project. If clearing were required during nesting




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season, Mountain Valley would conduct nest surveys prior to clearing, as outlined in its
current Migratory Bird Conservation Plan.

       Impacts on migratory birds and Mountain Valley’s mitigation measures to protect
migratory birds during construction and operation were discussed and evaluated in the
FEIS. Noise and ground-disturbing activities from the trenchless crossings could affect
birds that might be nesting, foraging, or sheltering nearby. Bird species inhabiting the
surrounding area could be temporarily displaced during construction but would be able to
return to the area after the trenchless crossing are completed. Mountain Valley would
follow its Migratory Bird Conservation Plan to minimize any potential impacts on
migratory birds. No bald or golden eagle nests were identified in the vicinity of the
trenchless crossings. Based on Mountain Valley’s proposed measures, we conclude that
the Amendment Project would not result in population-level impacts on migratory birds
or significant measurable negative impacts on their habitat.

              3.5    Special Status Species

        Special status species are those species for which state or federal agencies afford
an additional level of protection by law, regulation, or policy. Special status species
include federally listed species protected under the ESA, species proposed or candidates
for listing by the FWS or the National Marine Fisheries Service, and those species that
are state-listed as threatened or endangered, or other special status. Section 7(a)(2) of the
ESA requires the Commission to ensure that any action it authorizes, funds, or carries out
would not jeopardize the continued existence of federally listed or proposed listed
species, or result in the adverse modification or destruction of critical habitat for federally
listed and proposed species.

       The areas affected by the Amendment Project are areas previously analyzed for
the certificated Mountain Valley Pipeline Project. However, the proposed route
adjustment at MP 230.8 includes an additional 0.13 acre of disturbance of herbaceous
ground cover habitat that was not analyzed as an impact for the certificated Mountain
Valley Pipeline Project. This area was included in species surveys for ESA Section 7
consultation because Mountain Valley used a 300-foot-wide buffer to conduct biological
surveys for the Mountain Valley Pipeline Project. We received multiple comments
stating that special status species may be impacted due to the Amendment Project. These
impacts are addressed below.

                     3.5.1 Federally Listed Species

      We have determined that the Amendment Project would not result in additional
impacts on federally listed species that would necessitate reinitiation of formal

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consultation under Section 7 of the ESA as outlined in our June 4, 2021 letter to the
FWS.30 Impacts on species as a result of the Amendment Project were already
considered and analyzed during the ESA Section 7 consultation for the certificated
Mountain Valley Pipeline Project in 2020, which was concluded with the FWS’s 2020
BO and Conference Opinion, issued on September 4, 2020, and FWS concurrence letter,
issued on July 9, 2020. We conclude that the Amendment Project would not alter our
prior effects determinations (made as part of the 2020 ESA section 7 consultation
process)31 or the analysis or conclusions in the 2020 BO.

        We have also determined that our prior determination (of may affect, likely to
adversely affect) for candy darter critical habitat analyzed in the Conference Opinion (as
part of the 2020 BO) would not change. The trenchless crossing methods, previously
authorized by the FERC and assessed in the 2020 BO and Conference Opinion, of the
Gauley River (microtunnel and water withdrawal) and Stony Creek (conventional bore),
which do have designated critical habitat, have not changed. As such, there would be no
significant changes with respect to the designated critical habitat in the action as planned
or in the information used to develop the Conference Opinion. On May 14, 2021, the
FWS confirmed the September 4, 2020 Conference Opinion as the BO for candy darter
critical habitat.32

       The Amendment Project includes changes to the Mountain Valley Pipeline Project
in areas containing potential habitat for the following species: Virginia big-eared bat,
gray bat, clubshell, snuffbox, Indiana bat, northern long-eared bat, Roanoke logperch,
and Virginia spiraea.33 As previously stated, all workspaces associated with the


30     See accession number 20210604-3030 – FERC letter to FWS re: Section 7 Consultation.
31     On July10, 2017, the FERC initiated formal consultation under Section 7 of the ESA for the
       certificated Mountain Valley Pipeline Project. The FWS issued a BO on November 21, 2017. In
       2020, the FERC reinitiated Section 7 consultation to evaluate the impacts on the newly listed as
       endangered candy darter as well as new/additional impacts that occurred since the 2017 BO. In
       response to the reinitiation, Mountain Valley submitted a Supplement to the Biological
       Assessment (SBA), which reassessed impacts on federally listed species potentially affected by
       the certificated Mountain Valley Pipeline Project. The FWS issued a new BO on September 4,
       2020. The FWS also provided a letter of concurrence on July 9, 2020 for the species for which
       the FERC determined that the certificated Mountain Valley Pipeline Project may affect, but
       would not likely adversely affect. We refer to the conclusions regarding effects determinations
       made in the most recent 2020 ESA Section 7 consultation process.
32     See accession number 20210514-3026.
33     For the other species included in the 2020 ESA Section 7 consultation process, the activities
       requested in the Amendment Project would not occur within areas that support these species.


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Amendment Project would be within areas that were previously authorized by the FERC
and analyzed during the 2020 ESA consultation, except for 0.13 acre of herbaceous
habitat that would be affected by the slight route adjustment at MP 230.8. The 0.13 acre
of herbaceous habitat was included in prior surveys for ESA consultation for the
Mountain Valley Pipeline Project due to its proximity to the original certificated pipeline
route. Therefore, there are no new areas that would be affected by the Amendment
Project that have not been included in previous survey efforts for federally listed species.
Overall, the Amendment Project would eliminate construction within potentially affected
waterbodies and wetlands. Trenchless crossing methods would reduce the potential of
any direct impacts on the streams and reduce impacts on stream banks and riparian areas,
which would reduce the impacts of sedimentation on aquatic species as discussed above
in section B.3.1 of this EA. Potential impacts and our determinations of effect for the
eight species that are within the action area of the proposed Amendment Project are
described below.

       Virginia Big-eared Bat and Gray Bat

        As described in the FEIS and the supplement to the Biological Assessment
      34
(SBA) , no individuals of either species were captured during surveys and no habitat was
found in the areas affected by the Mountain Valley Pipeline Project. However, as stated
in the FEIS, there is a small chance for construction activities to affect bats migrating in
the general Mountain Valley Pipeline Project area between summer roost sites and winter
hibernacula. On July 9, 2020, the FWS concurred with the FERC’s determination of
“may affect, but is not likely to adversely affect” (NLAA) for these species. Because the
areas affected by the Amendment Project would be within the workspaces previously
authorized by the FERC and analyzed in the 2020 ESA Section 7 consultation for the
Mountain Valley Pipeline Project, with the exception of 0.13 acre of new upland
herbaceous vegetation that was included in prior surveys, we have determined that the
Amendment Project would not change our overall effect determination (NLAA) for the
Virginia big-eared bat and the gray bat, which we made in the 2020 ESA consultation for
the Mountain Valley Pipeline Project.

       Clubshell and Snuffbox

       Streams that potentially support snuffbox and clubshell mussel populations in the
Mountain Valley Pipeline Project area include the Elk River, the Little Kanawha River,
Meathouse Fork, and Leading Creek. The Little Kanawha River and Leading Creek
crossings are already complete and are not part of the Amendment Project. During the

34     See accession number 20200702-5305.


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2020 ESA Section 7 consultation, Mountain Valley proposed to cross the Elk River using
a trenchless method called microtunneling and the headwaters of Meathouse Fork using
an open-cut dry crossing method. On July 9, 2020, the FWS concurred with the FERC’s
determination that the Mountain Valley Pipeline Project is NLAA the snuffbox and
clubshell mussels. This determination was made due to presumed absence of these
species in the streams subject to potential impacts from the Mountain Valley Pipeline
Project. Additionally, sediment modeling that Mountain Valley conducted for the SBA
in 2019 and 202035 indicated that sediment impacts would not extend to areas with a
potential to contain clubshell and snuffbox mussels.

       As part of the Amendment Project, Mountain Valley proposes to cross the Elk
River using a guided conventional bore and the headwaters of Meathouse Fork using a
conventional bore. As compared to the open-cut dry crossing of Meathouse Fork, a
conventional bore crossing would eliminate direct in-water work and reduce
sedimentation impacts in the immediate area of the crossing and downstream. Regarding
the Elk River, microtunneling and guided conventional bores are similar crossing
methods with similar risks of an inadvertent return as discussed in table 12 of the 2020
BO. Given these factors, we have determined that the Amendment Project would not
change our overall effect determination (NLAA) for clubshell and snuffbox mussels,
which we made in the 2020 ESA consultation for the Mountain Valley Pipeline Project.

      Indiana Bat and Northern Long-eared Bat

        The 2020 BO concluded that the Mountain Valley Pipeline Project is likely to
adversely affect (LAA) the Indiana bat and northern long-eared bat. There would be no
additional impacts on Indiana bats and northern long-eared bats as a result of the
Amendment Project that were not already considered in the 2020 BO. We note that tree
felling has already occurred in all the workspaces required for the Amendment Project,
and this tree removal was already accounted for in the 2020 BO. Additionally, Mountain
Valley would avoid construction during hibernation season at the 10 proposed trenchless
crossings where there are known/assumed occupied Indiana bat and northern long-eared




35    See accession number 20200702-5305.




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bat hibernacula36 within two miles of the work spaces that could experience noise levels
above ambient levels due to construction activities at the trenchless crossings.37

        Nighttime construction might be necessary at six of the proposed trenchless
crossings, which would cause minor short-term noise and lighting effects that could
impact active bats at night.38 These six crossings include two guided bores crossings, one
Direct Pipe®, and three conventional bore crossings discussed in the FEIS associated
with railroad crossings. In addition, Mountain Valley proposes to conduct nighttime
work at the previously approved, but yet to be completed, microtunnel crossings of the
Roanoke River and Gauley River. The potential for these noise impacts were discussed
in the 2020 BO as noted below. As discussed in the FEIS and Mountain Valley’s SBA,
dewatering activities may require 24-hour work for limited periods. Mountain Valley
states that it would conduct most work during daylight hours and use cut off fixtures to
reduce lighting impacts if night work is required. The 2020 BO states that “bats are not
likely to be exposed to consequences as a result of increased noise, lighting, or dust
within the areas of habitat removal.”39 Because all tree removal has already occurred in
the areas where nighttime work might occur, impacts on bats as a result of noise and
lighting are not likely.40

      Given the factors discussed above, we have determined that Amendment Project
would not change the overall conclusions of the 2020 BO or the associated Incidental
Take Statement for the Indiana bat and northern long-eared bat.

      Roanoke Logperch

       We received multiple comments regarding potential impacts on the Roanoke
logperch as a result of the Amendment Project. Streams that potentially support Roanoke
logperch in the Mountain Valley Pipeline Project area include Harpen Creek, Bradshaw

36    These features include Tawney’s Cave, Phlegars Cave, John Smith Cave, Kanodes Pit, Eight
      Point Cave, P-BTH-001, Pighole Cave, Spruce Run Mountain Cave, and Links Cave. In the 2020
      BO, FWS determined that portal P-BTH-001 is not a suitable hibernacula for the Indiana bat.
37    Mountain Valley’s noise impact study included in its SBA concluded that hibernacula more than
      2 miles from the trenchless crossings would not experience sound levels above ambient.
38    Nighttime work may be required due to stipulations of the crossing agreement (railroads and
      roadways), particular geologic conditions, or the particular method being used (guided
      conventional bore, microtunneling, and Direct Pipe®).
39    See pages 115 and 131.
40    See also email communication from Cindy Schulz (FWS) and Jennifer Fink (FERC) dated
      November 4, 2020 at accession number 20210604-303.


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Creek, Roanoke River, North Fork Roanoke River, and Pigg River. Mountain Valley has
already completed the crossings of the North Fork Roanoke River and Pigg River, which
were analyzed in the 2020 BO. The 2020 BO also analyzed the crossing of the Roanoke
River as a trenchless method (microtunneling). Because this crossing method was
previously approved and analyzed in the 2020 BO, it is not included as part of the
Amendment Project except for the request to conduct nighttime construction as discussed
above. Mountain Valley is proposing to change the crossing methods from open-cut dry
crossings to trenchless conventional bore crossings for Harpen Creek and Bradshaw
Creek as part of the Amendment Project.

       The 2020 BO concluded that the Mountain Valley Pipeline Project is LAA the
Roanoke logperch. Although trenchless methods would eliminate direct impacts on the
streams and reduce potential effects of sedimentation, we have determined that
Amendment Project would not change the overall conclusions of the 2020 BO and the
associated Incidental Take Statement for the Roanoke logperch.

      Virginia Spiraea

       In the 2020 BO, FWS presumed that the Virginia spiraea is present on one 0.05-
acre parcel along the Greenbrier River in Summers County, West Virginia.41 The FWS
concluded that Mountain Valley Pipeline Project construction would permanently remove
all Virginia spiraea plants, seeds, and habitat in the 0.05 acre. As part of the Amendment
Project, Mountain Valley proposes to change the Greenbrier River crossing to a Direct
Pipe®, which would result in the same workspace requirements and impacts on this
species as identified in the 2020 BO. Therefore, the impacts associated with the
Amendment Project on the Virginia spiraea were fully analyzed and considered in the
2020 BO and Incidental Take Statement.

      Conclusion

        As stated above, trenchless crossing methods would reduce the potential of any
direct impacts on the streams and reduce impacts on stream banks and riparian areas.
Therefore, we expect that any impacts associated with the crossing method changes at
streams containing federally listed species would be insignificant and discountable and
less than what was described in the FEIS. In addition, Mountain Valley would
implement erosion and sediment control measures to minimize any sedimentation that
could result from the trenchless crossing methods.



41    See pages 65 to 66 of the September 4, 2020 BO.


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       Given these factors, we conclude that the scope of impacts on federally listed
species associated with the Amendment Project are fully considered in the 2020 BO and
the 2020 ESA Section 7 consultation process for the Mountain Valley Pipeline Project.
Although impacts on aquatic species would be reduced, we are not altering our
determinations of effect on federally listed species that were concluded for the Mountain
Valley Pipeline Project. On July 29, 2021, we received a response from the FWS to our
June 4, 2021 letter requesting additional information regarding our determinations;42
therefore, we recommend that:

        Mountain Valley should not commence construction activities associated
         with the Amendment Project until Commission staff completes
         consultation with the FWS regarding potential impacts on federally listed
         species.

                     3.5.2 Other Special Status Species

        Impacts on state-listed and other species designated as sensitive were identified
and described for the Mountain Valley Pipeline Project in the FEIS. The proposed
trenchless crossings would not result in any new or additional impacts other than an
increase in the amount of noise and light pollution occurring at night. As described
above, the trenchless crossings would lessen the impact on aquatic species that may occur
in and around the subject streams. Bore pits would occur in upland areas and Mountain
Valley would erect erosion and sediment control devices to protect waterbodies and any
surrounding wetland habitat that could provide habitat for state-listed or special status
sensitive species. In addition, because tree clearing has already occurred in the subject
areas, the impacts on any sensitive bird species potentially inhabiting the surrounding
area would be limited to temporary displacement due to noise from construction as
discussed above. For these reasons, we conclude that the proposed Amendment Project
would not result in significant impacts on special status species.

       4.0     Land Use

       As described previously, the majority of the work associated with the Amendment
Project would occur within the previously authorized limits of disturbance, which
consists of disturbed right-of-way. Impacts on land use resulting from the proposed
trenchless crossings would be similar in nature to impacts addressed in the FEIS. The
Amendment Project would not result in any additional land requirements, except for 0.13
acre, consisting of agricultural land (0.07 acre) and residential land (0.06 acre) that would


42     See accession number 20210803-3020.


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be affected by the route adjustment at MP 230.8, nor would there be a change in land
requirements.

        The trenchless crossing activities would result in short-term impacts on adjacent
residential areas, including increased construction-related traffic on local roads, as well as
dust, lighting, and noise generated during construction. As previously stated, nighttime
construction may be necessary at six of the proposed trenchless crossings, and at the
previously approved Gauley River and Roanoke River crossings, which would cause
minor short-term noise and lighting effects. Mountain Valley states that it would conduct
as much work as possible during daylight hours. Noise modeling conducted by Mountain
Valley indicated that the proposed nighttime activities at five locations would not require
additional mitigation in order to meet sound levels identified in the FERC guidance.
Noise modeling indicated noise mitigation would be required at three locations to reduce
noise to acceptable levels. Additional information regarding noise can be found in
section B.6.2 of this EA. In addition, Mountain Valley would use cut off fixtures to
reduce lighting impacts if night work is required.

       Mountain Valley would minimize potential impacts through implementation of
mitigation measures specified in its Site-Specific Residential Construction Plans for
residences within 50 feet of the right-of-way. However, based on a review of alignment
sheets, no residences appear to be located within 50 feet of the proposed trenchless
crossings.

       We received comments that the Amendment Project would impact recreational
resources in the Amendment Project area. The areas affected by the Amendment Project
were previously analyzed in the FEIS for the certificated Mountain Valley Pipeline
Project. Impacts and mitigation on recreational and visual resources as discussed in the
FEIS are expected to be similar for the Amendment Project. The proposed trenchless
crossing methods would avoid in-stream work and construction would be temporary. As
such, with the exception of the possible exclusion of recreation in the immediate vicinity
of construction, no impacts on waterbodies used as recreational resources is expected.

       No significant additional impacts would occur outside of the already certificated
Mountain Valley Pipeline Project right-of-way. We do not anticipate significant impacts
on land use as a result of the Amendment Project.

              4.1    Environmental Justice

        Executive Order 12898 encourages independent agencies to identify and address,
as part of their NEPA review, “disproportionately high and adverse human health or
environmental effects” of their actions on minority and low-income populations. Section

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4.9.1.8 of the FEIS provides an analysis of minority and low-income populations in the
vicinity of the larger Mountain Valley Pipeline Project. In section 4.9.2.8 of the FEIS,
we concluded that none of the counties or census blocks crossed by the Mountain Valley
Pipeline Project have minority populations exceeding 50 percent nor have minority
populations meaningfully greater than the minority population percentage in their
respective states. However, we note that low-income communities do exist along the
Mountain Valley Pipeline route and that these populations may be affected by
construction and operation of the larger Mountain Valley Pipeline Project.

        The Amendment Project is a subset of the previously evaluated and authorized
Mountain Valley Pipeline Project. All of the communities that would be affected by the
Amendment Project are the same as those reviewed in the FEIS. However, to address
public concern regarding the Amendment Project, Mountain Valley provided an updated
analysis of the FEIS data using 2021 Census data.43 We have verified the updated data
and found that the updated analysis is not materially changed from the analysis provided
in the FEIS (appendix F).

        We received several comments discussing concerns with outreach efforts,
including the reliance on internet services, to potential environmental justice
communities along the Mountain Valley Pipeline Project route. The Amendment Project
would not affect any new landowners and Mountain Valley has been in communication
via telephone, U.S. mail, e-mail, and in-person meetings, with affected landowners.
Communications with affected landowners began before Mountain Valley filed a request
to enter into the Commission’s pre-filing environmental process for the Mountain Valley
Pipeline Project on October 27, 2014. Mountain Valley has also conducted local
outreach efforts throughout the construction of the Mountain Valley Pipeline Project. For
the Amendment Project, Mountain Valley mailed all affected landowners a written copy
of the Notice of Application as well as the Commission’s “An Interstate Natural Gas
Facility On My Land? What Do I Need To Know?” pamphlet.

       With the exception of a 0.13-acre temporary construction workspace, the
Amendment Project would be located entirely within the already certificated limits of
disturbance. This area consists of a disturbed right-of-way that has been under
intermittent construction since 2018. Mountain Valley estimates 41 crews would be
working on the nine construction spreads to complete all of the trenchless crossings in
about 4 months. As mentioned in section 5.1, based on Mountain Valley’s estimates, the
average length of time required for a conventional bore (including pit excavation and
boring) would be about 18 days. It is predicted that around 60 percent of the

43    See accession number 20210427-5306.


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conventional bores would be completed within 2 weeks and an additional 26 percent
would be completed within 4 weeks. Fourteen percent of the remaining bores would be
completed within 10 weeks while one conventional bore is estimated may require 72
days.

        As stated in section 6.1.2 below, the bore crossing would result in higher levels of
emissions per crossing. However, these increases would be dispersed over almost 304
miles of construction right-of-way and there would be no changes in operational
emissions due to the Amendment Project. In addition, as further discussed in section
6.2.2, the Amendment Project would have two distinct phases of construction that would
generate high levels of noise: 1) excavation of entry and exit bore pits; and 2) active
boring. Most locations would involve conventional boring and noise impacts would
occur during the day and would not significantly differ in intensity from those previously
analyzed in the FEIS. However, eight crossings may include 24-hour boring operations.
The noise impacts from those crossings would be temporary and we have included a
recommendation that Mountain Valley notify all landowners within 0.5 miles of
nighttime trenchless crossing activities prior to the start of these activities. Additional
information concerning nighttime construction work can be found in section 6.2.2.

       As stated above, the impacts associated with the Amendment Project would be
temporary and do not involve the construction of any permanent, aboveground structures.
While the proposed route adjustment will result in a minor addition of 0.04 acre of
operational impacts, overall, impacts from the Amendment Project would be temporary
in nature. We conclude that the Amendment Project would not result in a
disproportionately high and adverse impact on environmental justice populations.

       5.0     Cultural Resources

      The NHPA is the cornerstone of the federal government’s historic preservation
program. Section 101(d)(6) of the NHPA states that properties of traditional religious
and cultural importance to Indian tribes44 may be determined eligible for the National
Register of Historic Places (NRHP).



44     Indian tribes are defined in 36 CFR 800.16(m) as: “an Indian tribe, band, nation, or other
       organized group or community, including a Native village, Regional Corporation, or Village
       Corporation, as those terms are defined in Section 3 of the Alaska Native Claims Settlement Act
       (43 U.S.C. 1602), which is recognized as eligible for the special programs and services provided
       by the United States to Indians because of their special status as Indians.”




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       Section 106 of the NHPA requires that the FERC take into account the effect of its
undertakings45 (including authorizations under Section 7 of the NGA) on historic
properties,46 and afford the Advisory Council on Historic Preservation (ACHP) an
opportunity to comment. Mountain Valley, as a non-federal applicant, is assisting the
FERC staff in meeting our obligations under Section 106 by providing data, analyses, and
recommendations in accordance with Title 36 CFR Part 800.2(a)(3) and the FERC’s
regulations at 18 CFR Part 380.12(f). Cultural resources47 information was gathered for
Mountain Valley by its consultants. However, the FERC staff remains responsible for all
final determinations made under the NHPA.

        The FERC staff examined the 120 proposed bore locations to determine if those
activities may have impacts on historic properties. As indicated in our FEIS, and the
Programmatic Agreement (PA) executed December 15, 2017, for the Mountain Valley
Pipeline Project in Docket No. CP16-10-000, the areas where the bores are proposed
were previously inventoried for cultural resources. The FEIS also documented our
consultations with the West Virginia and Virginia State Historic Preservation Offices
(SHPO), interested Indian tribes, and other consulting parties for the Mountain Valley
Pipeline Project. The PA was signed by the SHPOs and the ACHP. Below we identify
the cultural resources previously recorded in proximity to the bores, provide their NRHP
status, and assess the Amendment Project effects.

      The regulations for implementing Section 106 of the NHPA, at 36 CFR 800.9,
encourage the integration of the Section 106 compliance process with the NEPA process;
and we have done that in this section of the EA. This section is divided into several

45    “Undertaking means a project activity, or program funded in whole or in part under the direct or
      indirect jurisdiction of a Federal agency, including those carried out by or on behalf of a Federal
      agency; those carried out with Federal financial assistance; those requiring a Federal permit, license
      or approval; and those subject to state or local regulation administered pursuant to a delegation or
      approval by a Federal agency,” as defined in 36 CFR 800.16(y).
46    Historic properties include prehistoric or historic sites, districts, buildings, structures, objects,
      landscapes, or properties of traditional religious or cultural importance listed on or eligible for
      listing on the National Register of Historic Places, as defined in 36 CFR 800.16(l).
47    Cultural resources are locations of human activity, occupation, or use. According to the FERC’s
      Office of Energy Projects “Guidelines for Reporting on Cultural Resources Investigations for
      National Gas Projects,” cultural resources include any prehistoric or historic archaeological site,
      district, object, cultural feature, building or structure, cultural landscape, or traditional cultural
      property. Although “cultural resources” are not defined in 36 CFR 800, it is a “term-of-art” in the
      field of historic preservation and archaeological research. Some Indian tribes believe that cultural
      resources could include natural resources, such as plants and animals of traditional cultural or
      religious importance to tribes, topographic features that may be sacred, and viewsheds.


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subsections that mirror the Section 106 compliance process. The process includes
consultations; identification of historic properties; assessment of effects; and resolution of
adverse effects, if necessary. Lastly, we reach conclusions about the status of our
compliance with the NHPA.

              5.1    Consultations

       The FERC sent copies of our March 16, 2021 NOS and July 1, 2021 NOSS for the
Amendment Project to a wide range of stakeholders, including other federal agencies,
such as the ACHP, the COE, the EPA, the U.S. Department of the Interior Bureau of
Indian Affairs (BIA), and the National Park Service (NPS), state and local government
agencies, such as the SHPOs of West Virginia and Virginia, affected landowners, and
Indian tribes that may have an interest in the Amendment Project area. The NOS
contained a paragraph about Section 106 of the NHPA, which stated that we use the
notice to initiate consultations with the SHPOs as well as to solicit their views and those
of other government agencies, interested Indian tribes, and the public on the Amendment
Project’s potential effects on historic properties.

                     5.1.1 Consultations with the SHPOs

      With a cover letter dated March 9, 2021, Mountain Valley sent copies of its
Desktop Review and Effects Analysis reports (Dye et al., 2021a; Dye et al., 2021b) for the
Amendment Project to the SHPOs of West Virginia and Virginia, and requested that their
comments on the reports be filed with the FERC.

       In a letter dated April 21, 2021, the West Virginia SHPO offered its review of
Mountain Valley’s Desktop Review and Effects Analysis report. That review stated that
the West Virginia SHPO concurred “… that the proposed Amendment Project will have
no effect on unevaluated and archaeological historic resources. We also concur that no
further survey or evaluation is needed.” With regard to standing structures and
architectural resources, the West Virginia SHPO indicated that: “… it is our opinion that
use of the proposed change in crossing methods will have no effect on the characteristics
that qualify properties for inclusion in the National Register of Historic Places.”

       A response from the Virginia SHPO has not been received. The concurrence of
the Virginia SHPO is assumed, under the stipulations of the PA, when more than 30 days
have passed with no response after submittal of a report.




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                     5.1.2 Consultations with Indian Tribes

       The FERC sent our NOS to 30 federally-recognized Indians tribes that may have
an interest in the Amendment Project.

       Via cover letters dated March 10, 2021, Mountain Valley sent copies of its
Desktop Review and Effects Analysis reports for the Amendment Project to interested
Indian tribes, together with a request for tribes to file comments on the report with the
FERC. Mountain Valley sent copies of reports to the Cherokee Nation of Oklahoma,
Cheyenne River Sioux Tribe of South Dakota, Delaware Nation of Oklahoma, Eastern
Band of Cherokee Indians in North Carolina, Eastern Shawnee Tribe of Oklahoma,
Peoria Tribe of Oklahoma, Rosebud Sioux Tribe of South Dakota, and United Keetoowah
Band of Cherokee Indians in Oklahoma.

      In response to our NOS, in a filing on April 15, 2021, the Monacan Indian Nation,
through its attorney Cultural Heritage Partners, requested to be a consulting party in this
proceeding. We grant that request. On June 2, 2021, Mountain Valley provided copies
of documents submitted to the SHPOs for the Amendment Project to the Monacan Indian
Nation.

                     5.1.3 Communications with Other Consulting Parties and the
                           Public

       Mountain Valley sent copies of its Desktop Review and Effects Analysis reports to
other consulting parties, via a cover letter dated March 10, 2021, with a request that
comments on the reports be filed with the FERC. The parties contacted included the
Summers County Historic Landmark Commission; Committee for Appalachian and
Piedmont Preservation; Preservation Virginia; Historical Society of Western Virginia;
Roanoke County Board of Supervisors; Roanoke Valley Preservation Foundation; Giles
County Board of Supervisors; Giles County Administration, Greater Newport Rural
Historic District Committee; Montgomery County Board of Supervisors; and Preserve
Montgomery County, Virginia.

       On March 19, 2021, Roanoke County Board of Supervisors filed a request to be a
consulting party in the Section 106 process for the Amendment Project. We grant the
request.

        In a March 22, 2021 filing of a motion to intervene, Ms. Grace Terry, who is one
of the landowners of the Coles-Terry Rural Historic District, and a representative of the
Committee for Appalachian and Piedmont Preservation, requested consulting party status
in Docket No. CP21-57. We grant Ms. Terry’s request.


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        In response to our March 16, 2021 NOS, we received six other letters that
commented on cultural resources issues. In a March 22, 2021 filing, Ms. Desiree Shelley
stated that: “Many Eastern Siouxan historical and cultural sites, especially burial mounds,
are located along waterbodies along the MVP route.” We acknowledge that peoples
associated with the Monacan, Sappony, Tutelo, Occaneehi, Sara, and Catawba tribes
historically occupied or utilized portions of the Mountain Valley Pipeline Project area.
No Native American burial mounds have been recorded along the Mountain Valley
Pipeline route.

        Preserve Giles County, in a filing on March 22, 2021, stated that the “pipeline
route bisects the Historic Village of Newport.” The Mountain Valley Pipeline route
skirts but does not cross the boundaries of the Newport Historic District.

       Also on March, 22, 2021, Mr. Fred Vest commented that he resides within the
Bent Mountain Apple Orchard Rural Historic District, and that Mountain Valley seeks to
use his driveway for an access road. Mr. Vest states that his driveway is part of an old
network of historic roads within the District. Mr. Vest indicated that the Rosebud and
Cheyenne River Sioux tribes had representatives visit the area. Mountain Valley
conducted archaeological excavations across Mill Creek from his property in 2018, and
returned artifacts to his possession. Mr. Vest is concerned that: “[b]oring may further
disrupt, waste and destroy fields of as yet undiscovered Native and historical artifacts.”
No trenchless crossings are proposed on Mr. Vest’s property. The closest crossing to Mr.
Vest’s property is H-044, which is approximately 250 feet away, and no cultural resource
sites were recorded in this area by Mountain Valley’s consultants.

       Ms. Lois Waldron Martin, in a letter filed March 22, 2021, stated: “…we have
found several Native American arrowheads throughout the years, leading us to believe
that our land could have been a hunting ground. Therefore, we conclude the farm could
have Native Americans buried in unmarked graves, possibly in, or near, MVP’s right-of-
way.” Ms. Martin identified the steam crossing on her property as “S-EF44,” which
corresponds to Mountain Valley’s bore number H-044. This area was previously
inventoried for cultural resources by Mountain Valley’s consultants, and no
archaeological sites were recorded nearby.

       In a filing dated March 20, 2021, Kathy and James Chandler stated that “MVP is
not acknowledging the amount of workspace necessary; cultural and spiritual resources
are present and at risk.” They are concerned with impacts on Historic Green Hollow
Drive48, within the Bent Mountain Apple Orchard Rural Historic District. However, the

48     Green Hollow Drive is located adjacent to bore H-046.


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road was not recorded as a contributing resource to the District, and was not assigned a
state site number. Amendment Project related impacts on the Bent Mountain Apple
Orchard Rural Historic District are discussed below. The Chandlers also mention a
“Native American Burial site” recorded by Ben Rhodd of the Rosebud Sioux and Steve
Vance of the Cheyenne River Sioux. In past correspondence with Mr. Vance, the FERC
staff requested that he file information about the site, but this information has not been
provided. Mountain Valley had its professional archaeological consultants investigate
the area and found a “push pile,” or bulldozed dirt and rocks, but not a burial mound.49
Mountain Valley installed a 10-foot buffer and jersey barriers around the push pile. In
addition, Mountain Valley shifted the pipeline to the east. The push pile is outside the
limits of disturbance adjacent to bore H-045. Bores H-045 and H-046 would be located
on the Chandler’s parcels.

       In a filing on April 16, 2021, Elizabeth Terry Reynolds expressed concern that
bores H-042 and H-043 could potentially impact archaeological sites 44RN400 and
44RN401. As discussed below, both these sites were found eligible for the NRHP, could
not be avoided by the Mountain Valley Pipeline Project, and impacts were mitigated
through data recovery programs in accordance with the PA.

              5.2    Identification of Historic Properties

                     5.2.1 Area of Potential Effect

       In our FEIS for the Mountain Valley Pipeline Project, we defined the direct area of
potential effect (APE) as a 300-foot-wide corridor along the pipeline route (150 feet on
each side of centerline), a 100-foot-wide corridor along access roads, and the limits of
ground disturbance at aboveground facilities, yards, and other extra workspaces. The
indirect APE was defined as 0.25-mile (1,320 feet) on each side of the pipeline
centerline. We adopt these definitions for the Amendment Project as well.

                     5.2.2 Inventory Results

       Roanoke County expressed concerns about potential Amendment Project impacts
on the NRHP-listed Blue Ridge Parkway and the eligible Appalachian Trail. There are
no bores proposed within the boundaries of the Blue Ridge Parkway Historic District
(Virginia historic site number 80-5161) in the vicinity where the Mountain Valley
Pipeline Project crosses the Blue Ridge Parkway. Nor are there any bores associated



49     See accession number 20180511-5205.


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with the Amendment Project proposed in the vicinity of the Appalachian National Scenic
Trail near the Mountain Valley Pipeline Project crossing.

        As part of its application to the FERC, Mountain Valley filed Appendix H,
Cultural Resources Site Information which listed all cultural resources within 1,320 feet
of the bore locations, recorder, and NRHP status. On March 12, 2021, Mountain Valley
filed its Desktop Review and Effects Analysis reports.

       Based on Appendix H and the Desktop Review reports, staff identified all cultural
resources recorded within the APE. At 35 bore locations, there are no cultural resources
nearby. Cultural resources were recorded near 85 bore locations and the two route
realignments (MPs 0.7 and 230.8).

        There are 144 resources in the indirect APE that are located between 150 and
1,320 feet of the bore locations. Of these, 101 sites were evaluated as not eligible for
nomination to the NRHP. Outside of Historic Districts, three historic architectural sites
in the indirect APE for the Amendment Project were evaluated as eligible for the NRHP.
These are WZ-0154 (Mobley School) near the alignment shift at MP 0.7 (799 feet away),
SU-0446 (Wiseman Residence) near bore F-021 (718 feet away), and 033-5304 (Clear
View Dairy Farm) near bore I-067 (1,098 feet).

      There are two bore locations (G-023 and G-024) inside the boundaries of the
Greater Newport Rural Historic District (site number 35-412), which is listed on the
NRHP. Within this Historic District, there are nine contributing properties located
between 150 and 1,320 feet from the bores.

       One bore (G-024) is in proximity to the Newport Historic District (site number 35-
151), which is listed on the NRHP. Within 150 and 1,320 feet from this bore, there are
15 contributing properties to this Historic District.

       There are three bore locations (H-030, H-031, and H-032) within the boundaries of
the Coles-Terry Rural Historic District (80-5689), which has been determined eligible for
the NRHP. Between 150 and 1,320 feet from those bores, there are three resources that
contribute to the District.

       There is one bore (H-040) within the Bent Mountain Rural Historic District (80-
5677), which has been determined eligible for the NRHP. Within 150 and 1,320 feet
from that bore, there are two resources that contribute to the District.

       Within the Bent Mountain Apple Orchard Rural Historic District (80-5731), which
has been determined eligible for the NRHP, there are seven bore locations (H-042, H-


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043, H-044, H-045, H-046, H-047, and H-048). Between 150 and 1,320 feet from those
bores, there are five historic architectural sites that are contributing elements to the Bent
Mountain Rural Historic District.

       There are 36 archaeological sites in the direct APE for the Amendment Project.
Of these, 23 are not eligible for the NRHP.

        There are 12 archaeological sites (46NI847, 46NI848, 46SU147, 46SU722,
46SU740, 46SU767, 44FR355, 44FR370, 44GS230, 44RN400, 44RN401, and 44RN408)
within 150 feet of a bore that are either unevaluated or eligible for the NRHP. As further
discussed below under effects, eight of those archaeological sites were avoided during
installation of the Mountain Valley Pipeline Project. Four archaeological sites could not
be avoided, and impacts were mitigated through data recovery programs.

       Outside of Historic Districts, there is one eligible historic site (060-5170) within
150 feet of a bore. See section B.5.3 below for further details.

       Within the Bent Mountain Apple Orchard Rural Historic District, there are two
historic architectural sites (80-5677-9 [House] and 80-5677-6 [Hale Cabin]) that are
contributing elements to the Bent Mountain Rural Historic District and the Bent
Mountain Apple Orchard Rural Historic District within 150 feet of the bores. See section
B.5.3 below for further details.

              5.3    Assessment of Effects

       The Amendment Project would have no effect under Section 106 on sites that are
not eligible for nomination to the NRHP. Stipulation IIB of the Mountain Valley
Pipeline Project PA states: “Those cultural resources which the FERC staff determines do
not meet the NRHP criteria, after consultations with [the SHPO] (and federal land
managing agencies for sites on federal lands, interested Indian Tribes, and other
consulting parties, as appropriate), will require no further considerations.”

       We do not believe that the Amendment Project would have any adverse impacts
on archaeological sites that may be unevaluated, listed on the NRHP, or eligible but are
located more than 150 feet from an individual bore. It is possible for the Amendment
Project to have impacts on historic architectural sites between 150 and 1,320 feet of a
bore location, where the bore may have visual or auditory effects that may alter the
characteristics that contribute to elements that make a site eligible for the NRHP.

       The pipeline would be installed underground, and once the right-of-way is
restored, visual impacts would be reduced. Likewise, construction noise would be


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temporary during pipeline installation. The Amendment Project should not have adverse
long-term impacts on the three historic properties (sites WZ-0154, 033-5304, and SU-
0446) outside of Historic Districts, which are located more than 150 feet away from
Amendment Project facilities. The Mobley School is about 800 feet from the alignment
shift at MP 0.7; the Wiseman Residence is about 718 feet from the F-022 bore; and Clear
View Dairy Farm is about 1,000 feet from the I-067 bore.

       The Mountain Valley Pipeline Project right-of-way crosses through the boundaries
of the Greater Newport Rural Historic District and the Coles-Terry Rural Historic
District. However, there are no contributing properties within the Greater Newport Rural
Historic District or the Coles-Terry Rural Historic District that are closer than 150 feet
from any bore for the Amendment Project.

       We identified eight archaeological sites (46NI847, 46NI848, 46SU147, 46SU722,
46SU740, 44GS230, 44RN408, and 44FR355) evaluated as eligible for the NRHP
located within 150 feet of a bore, which would be avoided by pipeline construction.
Mountain Valley previously filed avoidance plans for these sites that were accepted by
the SHPOs and FERC staff. Stipulation IIIA1 of the PA states that: “FERC staff and [the
SHPO] (and federal land managing agencies for sites on federal lands) agree that the
Mountain Valley [Pipeline Project] would have no effect (in accordance with 36 CFR
800.4(d)(l)) upon historic properties that are avoided.”

        There are four archaeological sites (46SU767, 44RN400, 44RN401, and 44FR370)
that are eligible for the NRHP, located within 150 feet of a bore, and that cannot be
avoided by pipeline construction. For those sites, we concluded that the historic
properties would be adversely affected by the Mountain Valley Pipeline Project. In all
these cases, impacts were mitigated by data recovery excavations, as outlined in filed
Treatment Plans approved by the SHPO’s and FERC’s staff, in accordance with
Stipulation IIIB1 of the PA.

        There is one historic site (60-5170, Norfolk and Southern Railroad) outside of
Historic Districts, within 150 feet of a bore (H-020). Because the pipeline would be
installed under the railroad using a bore, the Amendment Project would have no adverse
effects on this historic property, in accordance with Stipulation IIIA2 of the PA.

       Within the boundaries of the Bent Mountain Apple Orchard Rural Historic District
and the Bent Mountain Rural Historic District, there are two historic architectural sites
(80-5677-9 [House] and 80-5677-6 [Hale Cabin]) within 150 feet of two bores (H-043
and H-046) that are contributing elements to the Districts. Site 80-5677-9 is located




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outside of the limits of disturbance. The Hale Cabin was fenced and would be avoided
and monitored during construction.

       The PA for the Mountain Valley Pipeline Project indicated that FERC staff agreed
with the Virginia SHPO that the Mountain Valley Pipeline Project would have adverse
effects on the Bent Mountain Rural Historic District and Bent Mountain Apple Orchard
Rural Historic District. In accordance with Stipulation IIIB1 of the PA, Mountain Valley
previously filed Treatment Plans to mitigate impacts on the Bent Mountain Rural Historic
District and Bent Mountain Apple Orchard Rural Historic District, and these plans were
approved by the Virginia SHPO and FERC staff. Mountain Valley implemented the
Treatment Plans when it filed a Preliminary Information Form for the Bent Mountain
Rural Historic District and an NRHP Nomination Form for the Bent Mountain Apple
Orchard Rural Historic District, which were accepted by the SHPO, and distributed
Preservation Funds to Roanoke County. The Amendment Project does not require
changes to the PA; and the original Treatment Plans are still applicable.

              5.4    Unanticipated Discoveries

       It is possible that during the excavation of the bores for the Amendment Project,
currently unknown and unanticipated cultural resources could be discovered. In its
application for the Amendment Project, Mountain Valley stated that it would “use the
same approved plan for unanticipated historic properties and human remains as for the
Certificated Project.” Further, the 19th whereas clause of the PA executed for the
Mountain Valley Pipeline Project on December 15, 2017 states that…“if any such
discoveries are made during data recovery excavations or construction, the remains shall
be treated in accordance with Mountain Valley's Plan for Unanticipated Historic
Properties and Human Remains (Discovery Plan), discussed below in Stipulation I.E.”
Stipulation I.E. of the PA reads: “Mountain Valley produced a Discovery Plan that has
been reviewed and approved by FERC staff and the West Virginia Division of Culture
and History (WVDCH) and Virginia Department of Historic Resources (VADHR). The
Discovery Plan includes procedures to be followed if human remains or unanticipated
historic properties are discovered during identification or evaluation studies, data
recovery excavations, or construction.”

              5.5    Compliance with the NHPA

       No traditional cultural properties or properties of religious or cultural importance
to Indian tribes were identified in the APE by Mountain Valley or its consultants, the
SHPOs of West Virginia and Virginia, the BIA, the NPS, or Indian tribes contacted.
Therefore, we have complied with the intent of Section 101(d)(6) of the NHPA.


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       We agree with the West Virginia SHPO, in its April 21, 2021 review of Mountain
Valley’s Desktop report, that the Amendment Project would have no adverse impacts on
archaeological and historic architectural sites in the direct APE. The concurrence of the
Virginia SHPO is assumed, under the stipulations of the PA when more than 30 days
have passed with no response after submittal of a report.

       The PA executed for the Mountain Valley Pipeline Project required mitigation for
historic properties that could not be avoided and may be adversely affected by the
Mountain Valley Pipeline Project. As stated above, the Amendment Project does not
require changes to the PA. Based on all of the above, we have complied with Section
106 of the NHPA.

      6.0     Air Quality and Noise

              6.1   Air Quality

        The Amendment Project would result in emissions of regulated air pollutants and
other air contaminants during construction. There would be no operational emissions
from the Amendment Project except very minor fugitive methane emissions previously
identified in the FEIS.

                    6.1.1 Air Quality Regulations

       The Clean Air Act (CAA) of 1970, as amended in 1977 and 1990, is the basic
federal statute governing air quality. The provisions of the CAA that are potentially
relevant to the Amendment Project include National Ambient Air Quality Standards
(NAAQS) and General Conformity.

        Federal and state air quality standards are designed to protect human health. The
EPA has developed NAAQS for criteria air pollutants such as oxides of nitrogen (NOx)
and carbon monoxide (CO), sulfur dioxide (SO2), and inhalable particulate matter (PM2.5
and PM10). PM2.5 includes particles with an aerodynamic diameter less than or equal to
2.5 micrometers, and PM10 includes particles with an aerodynamic diameter less than or
equal to 10 micrometers. The NAAQS were set at levels the EPA believes are necessary
to protect human health and welfare. Volatile organic compounds (VOC) are regulated
by EPA primarily to prevent the formation of ozone, another criteria pollutant included in
the NAAQS and a constituent of photochemical smog. Many VOCs form ground-level
ozone by reacting with sources of oxygen molecules such as NOx in the atmosphere in
the presence of sunlight. NOx and VOCs are referred to as ozone precursors. Hazardous
air pollutants (HAP) are also emitted during fossil fuel combustion and are suspected or
known to cause serious health effects as well as adverse environmental effects.


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       Greenhouse gases (GHG) are gases that trap heat in the atmosphere and have been
determined by the EPA to be the primary cause of climate change. Fossil fuel
combustion primarily emits GHGs such as carbon dioxide (CO2), methane (CH4), and
nitrous oxide (N2O). Emissions of GHGs are typically expressed in terms of CO2
equivalents (CO2e) where the atmospheric heating potential of each gas is expressed as a
multiple of the atmospheric heating potential of CO2.

       If measured ambient air pollutant concentrations for a subject area remain below
the NAAQS criteria, the area is considered to be in attainment with the NAAQS. The
proposed trenchless crossings are located in the counties of Wetzel, Harrison, Doddridge,
Lewis, Webster, Nicholas, Greenbrier, Summers, and Monroe, West Virginia and Giles,
Montgomery, Roanoke, Franklin, and Pittsylvania, Virginia. All counties where the
trenchless crossings would be located are in attainment with the NAAQS for all criteria
pollutants. Therefore, a CAA General Conformity Analysis is not required.

       No county or local air quality regulations have been identified as being potentially
applicable to the Amendment Project.

                     6.1.2 Construction Emissions and Impacts

        During construction, a temporary reduction in ambient air quality would result
from criteria pollutant emissions and fugitive dust generated by construction equipment.
The quantity of fugitive dust emissions would depend on the moisture content and texture
of the soils that would be disturbed. Dust suppression techniques, such as watering the
right-of-way and working area may be used as necessary in construction zones near
residential and commercial areas to minimize the impacts of fugitive dust on sensitive
areas. In addition, Mountain Valley has committed to implementing the same measures
to reduce construction emissions as described in the FEIS.

       Mountain Valley conducted an analysis of estimated emissions from the proposed
trenchless crossing methods compared to open‐cut dry crossings. The bore crossings
would result in higher levels of emissions per crossing. As discussed in section A.4 of
this EA, Mountain Valley has already received authorization to microtunnel at the Gauley
and Roanoke Rivers, but, as part of the Amendment Project, proposes to conduct
nighttime microtunneling activities at those waterbodies. Table 6 below shows the
original emissions estimate for open-cut dry crossings from the FEIS, as well as the
estimated emissions for the crossings proposed in the Amendment Project and the
Gauley and Roanoke River crossings.




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                                                 Table 6

      Total Construction Emissions Comparison for All Open-Cut and Trenchless
                                   Crossings (tons)
                            NOx           CO            SO2        VOC         PM10        PM2.5      CO2e
     Open-Cut Dry
                           50.37         17.26          0.13       0.42         2.97        2.87     17,136.81
        (FEIS)
 Proposed Bore Type a/
 Conventional Bore         93.83         29.38          0.19       0.73         4.90        4.75     25,480.10
     Guided
                            7.85         2.01           0.01       0.06         0.35        0.34      1,429.18
 Conventional Bore
      Direct Pipe®          6.57         2.03           0.01       0.05         0.34        0.33      1,551.70
     Microtunnel b/        15.74         4.73           0.03       0.12         0.78        0.76      3,301.85
     Total Proposed       123.99         38.15          0.24       0.96         6.37        6.18     31,762.83
 Emissions Increase        73.62         20.89          0.11       0.54         3.40        3.31     14,626.02
 a       Emissions include both the bore pit excavation and boring.
 b       Commission staff authorized Mountain Valley to change the crossing method to a microtunnel under
         variances D-35 and H-21, respectively. Although the proposed action for the Amendment Project is
         only evaluating the modification to nighttime construction this estimate includes 24-hour emissions.



        The Amendment Project would result in increases in construction emissions.
However, those emissions would only occur during construction activities and would be
dispersed over the 304 miles of the pipeline route. The Amendment Project would not
result in any change in operational emissions for the Mountain Valley Pipeline Project.
We conclude that there would be minor temporary impacts on localized air quality due to
increases in criteria pollutants, VOC, and fugitive dust in the areas of trenchless crossing
activity. Based on the above, we conclude that there would not be significant impacts
associated with construction emissions from the Amendment Project.

                        6.1.3 Climate Change

       We received comments regarding the Mountain Valley Pipeline Project’s impact
on climate change. Specifically, the GHG emissions from the Mountain Valley Pipeline
Project, as well as exploration, production, transport, and downstream end use
combustion emissions from natural gas. However, our analysis here is limited to
construction emissions resulting from the Amendment Project, as there would be no



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change to operational or downstream emissions of the Mountain Valley Pipeline Project
as a result of the Amendment Project.

        Climate change is the variation in climate (including temperature, precipitation,
humidity, wind, and other meteorological variables) over time and cannot be
characterized by an individual event or anomalous weather pattern. For example, a
severe drought or abnormally hot summer in a particular region is not a certain indication
of climate change. However, a series of severe droughts or hot summers that statistically
alter the trend in average precipitation or temperature over decades may indicate climate
change. Recent research has begun to attribute certain extreme weather events to climate
change (U.S. Global Change Research Program [USGCRP], 2018).

        The leading U.S. scientific body on climate change is the USGCRP, composed of
representatives from 13 federal departments and agencies.50 The Global Change
Research Act of 1990 requires the USGCRP to submit a report to the President and
Congress no less than every 4 years that “1) integrates, evaluates, and interprets the
findings of the USGCRP; 2) analyzes the effects of global change on the natural
environment, agriculture, energy production and use, land and water resources,
transportation, human health and welfare, human social systems, and biological diversity;
and 3) analyzes current trends in global change, both human-induced and natural, and
projects major trends for the subsequent 25 to 100 years.” These reports describe the
state of the science relating to climate change and the effects of climate change on
different regions of the United States on various societal and environmental sectors, such
as water resources, agriculture, energy use, and human health.

       In 2017 and 2018, the USGCRP issued its Climate Science Special Report: Fourth
National Climate Assessment, Volumes I and II (Fourth Assessment Report) (USGCRP,
2017; and USGCRP, 2018, respectively). The Fourth Assessment Report states that
climate change has resulted in a wide range of impacts across every region of the country.
Those impacts extend beyond atmospheric climate change alone and include changes to
water resources, transportation, agriculture, ecosystems, and human health. The U.S. and
the world are warming; global sea level is rising and acidifying; and certain weather
events are becoming more frequent and more severe. These changes are driven by
accumulation of GHG in the atmosphere through combustion of fossil fuels (coal,


50    The USGCRP member agencies are: Department of Agriculture, Department of Commerce,
      Department of Defense, Department of Energy, Department of Health and Human Services,
      Department of the Interior, Department of State, Department of Transportation, Environmental
      Protection Agency, National Aeronautics and Space Administration, National Science
      Foundation, Smithsonian Institution, and U.S. Agency for International Development.


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petroleum, and natural gas), combined with agriculture, clearing of forests, and natural
sources. These impacts have accelerated throughout the end of the 20th and into the 21st
century (USGCRP, 2018). The FEIS discussed the existing and estimated future climate
change impacts in the Mountain Valley Pipeline Project area.

        GHGs were identified by the EPA as pollutants in the context of climate change.
GHG emissions do not result in proportional local and immediate impacts; it is the
combined concentration in the atmosphere that affects the global climate system. These
are fundamentally global impacts that feedback to local and regional climate change
impacts. Thus, the geographic scope for cumulative analysis of GHG emissions is global,
rather than local or regional. For example, a project 1 mile away emitting 1 ton of GHGs
would contribute to climate change in a similar manner as a project 2,000 miles distant
also emitting 1 ton of GHGs.

       Climate change is a global phenomenon; however, for this analysis we will focus
on the existing and potential climate change impacts in the general Amendment Project
area. The USGCRP’s Fourth Assessment Report notes the following observations of
environmental impacts are attributed to climate change in the Northeast and Southeast
regions of the United States51 (USGCRP, 2017; USGCRP, 2018):

Northeast

      increases in annual average temperatures across the Northeast range from less than
       1 °F (0.6 °C) in West Virginia to about 3 °F (1.7 °C) or more in New England
       since 1901;
      from 1958 to 2016, the Northeast experienced a 55 percent increase in the amount
       of precipitation falling in heavy events (the greatest increase in the nation) and 5 to
       20 percent increase in average winter precipitation;
      warming during the winter–spring transition has led to earlier snowmelt-related
       runoff in areas of the Northeast with substantial snowpack; and
      ocean and coastal ecosystems are being affected by large changes in a variety of
       climate-related environmental conditions.
Southeast

      The decade of 2010 through 2017 has been warmer than any previous decade
       since 1920 for average daily maximum and average daily minimum temperature;


51      West Virginia is located in the Northeast region, while Virginia is located in the Southeast.


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      since 1960, there have been lower numbers of days above 95°F compared to the
       pre-1960 period but during the 2010’s the number of nights above 75°F has been
       nearly double the average over 1901 – 1960. The length of the freeze free season
       was 1.5 weeks longer on average in the 2010s compared to any other historical
       period on record;
      number of days with 3 or more inches of rain has been historically high over the
       past 25 years. The 1990s, 2000s and 2010s rank first, third and second,
       respectively in number of events; and
      summers have been either increasingly dry or extremely wet, depending on
       location.
       The USGCRP’s Fourth Assessment Report notes the following projections of
climate change impacts in the Project region (Northeast and Southeast US) with high or
very high level of confidence52 (USGCRP, 2018):

Northeast

      precipitation in the Northeast is projected to be about 1 inch greater for December
       through April by end of century (2070–2100) under the higher scenario;
      temperatures are projected to increase by 5.1°F by the 2090s under the worst case
       scenario (continually increasing emissions) and would increase by 4.0°F if
       emissions were decreased;
      by the middle of the century, the freeze-free period across much of the Northeast
       is expected to lengthen by as much as two weeks under the lower scenario and by
       two to three weeks under the higher scenario. By the end of the century, the
       freeze-free period is expected to increase by at least three weeks over most of the
       region;
      higher than average sea level rise along the Northeastern coast will occur due to
       land subsidence; and


52      The report authors assessed current scientific understanding of climate change based on available
        scientific literature. Each “Key Finding” listed in the report is accompanied by a confidence
        statement indicating the consistency of evidence or the consistency of model projections. A high
        level of confidence results from “moderate evidence (several sources, some consistency, methods
        vary and/or documentation limited, etc.), medium consensus.” A very high level of confidence
        results from “strong evidence (established theory, multiple sources, consistent results, well
        documented and accepted methods, etc.), high consensus.”
        https://science2017.globalchange.gov/chapter/front-matter-guide.


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    much of the infrastructure in the Northeast, including drainage and sewer systems,
     flood and storm protection assets, transportation systems, and power supply, is
     nearing the end of its planned life expectancy; climate-related disruptions will
     only exacerbate existing issues with aging infrastructure.
Southeast

    climate models project nighttime temperatures above 75°F and daytime maximum
     temperatures above 95°F will become the summer norm. Nights above 80°F and
     days above 100°F, which are now relatively rare, would become common;
    lowland coastal areas are expected to receive less rainfall on average but
     experience more frequent intense rainfall events followed by longer drought
     periods; and
    tropical storms and hurricanes may become more intense.
       It should be noted that while the impacts described above taken individually may
be manageable for certain communities, the impacts of compound extreme events (such
as simultaneous heat and drought, or flooding associated with high precipitation on top of
saturated soils) can be greater than the sum of the parts (USGCRP, 2018).

        The GHG emissions associated with construction of the Amendment Project were
identified and quantified in section B.6.1.2 above. The change from open-cut dry to
trenchless crossings would result in increases in GHG emissions during construction
equaling approximately 14,626.02 tons (13,268.5 metric tons) of CO2e. This amount of
emissions from construction of the Amendment Project would increase the atmospheric
concentration of GHGs in combination with past, current, and future emissions from
other sources globally and contribute incrementally to future climate change impacts. In
order to assess impacts on climate change associated with the Project, Commission staff
considered whether it could identify discrete physical impacts resulting from the
Amendment Project’s GHG emissions or compare the Amendment Project’s GHG
emission to established targets designed to combat climate change.

       To date, staff has not identified a methodology to attribute discrete, quantifiable,
physical effects on the environment to the Amendment Project’s incremental contribution
to GHGs. We have looked at atmospheric modeling used by the EPA, National
Aeronautics and Space Administration, the Intergovernmental Panel on Climate Change,
and others, and we found that these models are not reasonable for Project-level analysis
for a number of reasons. For example, these global models are not suited to determine
the incremental impact of individual projects, due to both scale and overwhelming
complexity. We also reviewed simpler models and mathematical techniques to determine


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global physical effects caused by GHG emissions, such as increases in global
atmospheric CO2 concentrations, atmospheric forcing, or ocean CO2 absorption. We
could not identify a reliable, less complex model for this task and thus staff could not
determine specific localized or regional physical impacts from GHG emissions from the
Amendment Project. Without the ability to determine discrete resource impacts,
Commission staff are unable to assess the Amendment Project’s contribution to climate
change through any objective analysis of physical impact attributable to the Amendment
Project.

        Additionally, Commission staff have not been able to find an established threshold
for determining the Amendment Project’s significance when compared to established
GHG reduction targets at the state or federal level. We note that there have been a series
of recent administrative changes and we continue to evaluate their impact on our review
process. For example, on January 20, 2021, President Biden issued the Executive Order
on Protecting Public Health and the Environment and Restoring Science to Tackle the
Climate Crisis (EO 13990) and on January 27, 2021, the Executive Order on Tackling the
Climate Crisis at Home and Abroad (EO 14008). Amongst other objectives, the
Executive Orders call for a net-zero emission economy and a carbon-free electricity
sector. In addition, on January 20, 2021, President Biden announced that the U.S. will
rejoin the Paris Climate Agreement (Agreement), enabling the U.S. to be a party to the
Agreement on February 19, 2021. The Agreement aims to limit global warming to well
below 2 degrees Celsius, and preferably to 1.5 degrees Celsius, compared to pre-
industrial levels.53 On April 20, 2021, the U.S. proposed establishing a U.S. economy-
wide target of reducing net GHG emissions by 50-52 percent below 2005 levels by
2030.54 In 2020, Virginia enacted legislation establishing as an energy policy objective
creating reduction goals necessary to achieve a statutory target of net-zero GHGs across
economic sectors by 2045 (NCSL, 2021). West Virginia currently does not have GHG
emissions reduction targets.

       In order to provide context of the Amendment Project emissions on a national
level, we compare the Amendment Project’s construction GHG emissions to the total
GHG emissions of the United States as a whole. At a national level, 5,769.1 million


53    Additional information is available at https://unfccc.int/process-and-meetings/the-paris-
      agreement/the-paris-agreement. Accessed May 19, 2021.
54    The United States of America Nationally Determined Contribution (Apr. 20, 2021). Available at
      https://www4.unfccc.int/sites/ndcstaging/PublishedDocuments/United%20States%20of%20Amer
      ica%20First/United%20States%20NDC%20April%2021%202021%20Final.pdf.




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metric tons of CO2e were emitted in 2019 (inclusive of CO2e sources and sinks).55 The
construction-related emissions of this Project could potentially increase CO2e emissions
based on the 2019 national levels by 0.0002 percent.

       In order to provide context of the Amendment Project emissions on a state level,
we compare the Amendment Project’s construction GHG emissions to the state GHG
inventories. At the state level, energy related CO 2 emissions in 2018 were 90.0 million
metric tons in West Virginia, and 107.8 million metric tons in Virginia. 56 Construction
emissions from the Amendment Project could potentially increase CO2e emissions based
on the West Virginia 2018 levels by 0.0069 percent. Construction related emissions
from the Amendment Project could potentially increase CO2e emissions based on the
Virginia 2018 levels by 0.0066 percent.

       Based on our analysis in this EA, we are unable to assess the Amendment
Project’s contribution to climate change through any objective analysis of physical
impacts attributable to the Amendment Project or an established threshold when
compared to state or federal GHG reduction targets. However, in a recent order, the
Commission considered a project emitting a total of 20,006 metric tons of CO2e during
construction and operation and determined the project’s contribution to climate change
would not be significant.57 The Amendment Project’s emissions would be less (13,268.5
metric tons CO2e) than the emissions in that proceeding and fall below the level that the
Commission has previously determined would not be significant.

             6.2     Noise

       The noise environment can be affected both during construction and operation of a
project. The magnitude and frequency of environmental noise may vary considerably
over the course of the day, throughout the week, and across seasons, in part due to
changing weather conditions and the effects of seasonal vegetative cover. For the
Amendment Project, there would be no additional permanent (operational) noise that
would result from the change in pipeline installation methods.


55    U.S. Environmental Protection Agency, Inventory of U.S. Greenhouse Gas Emissions and Sinks
      1990-2019 at ES-9 (Table ES-2) (2021). Available at
      https://www.epa.gov/sites/production/files/2021-04/documents/us-ghg-inventory-2021-main-
      text.pdf. Accessed June 2021.
56    U.S. Energy Information Administration, Table 1, State Energy-Related Carbon Dioxide
      Emissions by Year, Unadjusted: West Virginia and Virginia. Available at
      https://www.eia.gov/environment/emissions/state/. Accessed July 2021.
57    See Northern Natural Gas Company, 174 FERC ¶ 61,189, at P 29 (2021).


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                     6.2.1 Noise Characteristics and Regulations

       Decibels (dB) are the units of measurement used to quantify the intensity of noise.
To account for the human ear’s sensitivity to low level noises the dB values are corrected
to weighted values known as dB on the A-weighted scale (dBA). The A-weighting scale
was developed and has been shown to provide a good correlation with the human
response to sound and is the most widely used descriptor for community noise
assessments. The faintest sound that can be heard by a healthy ear is about 0 dBA, while
an uncomfortably loud sound is about 120 dBA. A 3 dBA change of sound level is
considered to be barely perceivable by the human ear, a 5 or 6 dBA change of sound level
is considered noticeable, and a 10 dBA increase is perceived as if the sound intensity has
doubled.

       Two measures used by the FERC relate the time-varying quality of environmental
noise with its known effect on people are the equivalent continuous sound level (Leq) and
the day-night average sound level (Ldn). The preferred single value figure to describe
sound levels that vary over time is Leq, which is defined as the sound pressure level of a
noise fluctuating over a period of time, expressed as the amount of average energy. Ldn is
defined as the 24-hour average of the equivalent average of the sound levels during the
daytime (Ld – from 7:00 a.m. to 10:00 p.m.) and the equivalent average of the sound
levels during the nighttime (Ln – 10:00 p.m. to 7:00 a.m.). Specifically, in the calculation
of the Ldn, late night and early morning (10:00 p.m. to 7:00 a.m.) noise exposures are
increased by 10 dB to account for people’s greater sensitivity to sound during nighttime
hours. In general, if the sound energy does not vary over the given time period, the Ldn
level will be equal to the Leq level plus 6.4 dB. The 6.4 dB difference between the Ldn
and the Leq is a result of the 10 dB nighttime addition for the Ldn calculation.

        The EPA has indicated that an Ldn of 55 dBA protects the public from outdoor
activity interference. We have adopted this criterion and use it to evaluate the potential
noise impacts from construction and operation of projects.

       The FERC guidelines require that the sound attributable to new or modified
compressor equipment, or LNG-related equipment not exceed an Ldn of 55 dBA at any
nearby noise sensitive area (NSA) such as a residence, hospital, place of worship, etc.
Also, a sound level of 55 dBA (Ldn) can be used as a benchmark sound criterion or
guideline for assessing the noise impact of other sources of noise, such as certain
construction noise, including drilling or boring noise. As a result of the nighttime
penalty, a constant sound level at 48.6 dBA Leg/Ln for 24-hours will result in an Ldn of 55
dBA. We have not identified any state or local regulations or ordinances as being
potentially applicable to the proposed Amendment Project.


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                      6.2.2 Noise Impacts

       The Amendment Project will have two distinct phases of construction that would
generate high levels of noise: 1) excavation of entry and exit bore pits; and 2) active
boring. Noise from backfilling would be similar to excavation, although it would be for a
much shorter duration. The bore pits and adjacent upland trench tie-in locations would
be backfilled at the same time. In terms of the total volume of spoil material subject to
movement by construction equipment, bore pit backfilling would be similar to the
amount that was previously analyzed for open-cut dry crossings.

       Mountain Valley proposes to use trenchless crossing methods at 120 locations
along the pipeline route. Most locations would involve conventional boring, which
would occur in daily shifts that would typically last about 12 hours. Consequently, noise
impacts would occur during the day for these crossings and would not differ significantly
from those previously analyzed in the FEIS. However, Mountain Valley expects that the
two guided conventional bores, the Direct Pipe® bore, the three conventional bores
associated with railroad crossings, and the two microtunnel crossings of the Roanoke and
Gauley Rivers would include 24-hour boring operations.58 As discussed in section A of
this EA, nighttime microtunneling is necessary to minimize opportunities for the bore
hole to settle around the drill pipe, which would require additional energy to restart
boring, or for the bore machine to become stuck. Crossings E-012, H-016,59 and H-020
would cross railroads operated by CSX, Roanoke Valley Resource Authority, and
Norfolk Southern, respectively. The owners of these railroads require boring operations
to progress on a 24-hour basis, without stopping, until complete.

       Mountain Valley conducted construction noise assessments for the two guided
conventional bores, the Direct Pipe® crossing, the three conventional bores associated
with railroad crossings, and the two microtunnel bores. A noise model was developed
using the Cadna/A version 2020 MR 1 noise model (noise model). The noise model used
bore equipment specified by Mountain Valley for each trenchless crossing type and


58    Commission staff authorized Mountain Valley to change the crossing method of the Gauley and
      Roanoke Rivers to a microtunnel under variances D-35 and H-21, respectively.
59    According to Mountain Valley, the railroad at H-016 is owned by Roanoke Valley Resource
      Authority and operated under contract with Norfolk Southern. This railroad provides rail service
      to the Smith Gap Landfill. Mountain Valley’s current permit requires a bored crossing and 24-
      hour boring operations. Roanoke Valley Resource Authority is currently paving over the railroad
      tracks. As of July 29, 2021 a base layer of asphalt has been installed. Mountain Valley is
      currently working with the Roanoke Valley Resource Authority to modify its permit to eliminate
      24-hour boring.


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construction phase and estimated bore pit size and depth. The model assumed that only
boring equipment would be located inside the bore pit for each of the sites and that all
other equipment would be arranged at grade surrounding the pit. Additionally, a boring
noise model was developed for the analyses using U.S. Federal Highway Administration
(FHWA) Roadway Construction Noise Model (RCNM) noise data for the expected
construction equipment that would be used during boring. Mountain Valley used the
noise model to predict the boring sound level contribution at the NSAs. To be
conservative, foliage was not included in the model. Mountain Valley provided noise
levels at a specific distance of 500 feet from the bore pits.

       As noted elsewhere, excavation activities would be limited to daytime hours only,
so Mountain Valley only assessed nighttime noise levels associated with the proposed
nighttime boring activities. Where nighttime noise is predicted to exceed the
Commission’s noise threshold, Mountain Valley commits to physical and operational
mitigation measures that would decrease noise levels below the Commission’s threshold.
Mountain Valley would coordinate with affected and adjacent landowners regarding
boring plans and nighttime boring activities. The results of the modeling for each of the
eight modeled locations where nighttime activities would occur are summarized below.
Best estimates were used for the duration of construction activities; however, site-specific
conditions could require the use of longer durations for completing construction.

       Little Stony Creek Guided Conventional Boring Site

       The Little Stony Creek site would be located at MP 204.2 along the Mountain
Valley Pipeline route (crossing number G-013). Excavation of the bore pits is anticipated
to occur 12 hours per day (daytime only) for 30 days total. Boring operations would run
24 hours per day for a total of 3 days.

        Predicted sound levels during the 3 nights of boring operations would exceed 48.6
dBA Leq, however, with mitigation, the predicted nighttime sound levels during boring
operations would be lower than 48.6 dBA Leq for all NSAs, and less than 55 dBA Leq for
daytime activities. In order to lower nighttime sound levels, Mountain Valley would
install barriers around the conventional boring equipment, ranging in height from 24 feet
for the southern barrier to 26 feet for the northern barrier. Additionally, Mountain Valley
would house welding rigs, trash pumps, and slurry pumps within three-sided enclosures
with a roof. The open side of all enclosures would face west along the pipeline corridor.
Additionally, Mountain Valley would only operate one excavator at night, which would
assist with the guided conventional boring process, including lowering pipe sections into
the bore pit. With these mitigations in place, the noise model predicts that sound levels at



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Little Stony Creek would be lower than 48.6 dBA Leq during nighttime boring operations
at all surrounding NSAs (see figure 1).




Figure 1     Predicted 48.6 dBA Ln Contour for the Mitigated Little Stony Creek
             Conventional Boring Site

      Elk River Guided Conventional Boring Site

       The Elk River site would be located at MP 87.3 along the Mountain Valley
Pipeline route (crossing number C-022). Excavation of the bore pits is anticipated to
occur 12 hours per day (daytime only) for 44 days total. Boring operations would run 24
hours per day for a total of 35 days.

        Predicted sound levels during all boring activities would be lower than 48.6 dBA
Leq at all NSAs; therefore, mitigation would not be required (see figure 2).




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Figure 2     Predicted 48.6 dBA Ln Contour for the Elk River Guided Conventional
             Bore Crossing

      Greenbrier River Direct Pipe® Boring Site

       The Greenbrier River site would be located at MP 171.4 along the Mountain
Valley Pipeline route (crossing number F-021). Excavation of the bore pits is anticipated
to occur 12 hours per day (daytime only) for 62 days total. Boring operations would run
24 hours per day for a total of 41 days

       Predicted sound levels during boring operations would exceed 48.6 dBA Leq,
however, with mitigation, the predicted sound levels during boring operations would be
lower than 48.6 dBA Leq for all NSAs. Mountain Valley would install a 24-foot-tall U-
shaped noise barrier along the northwest, northeast, and southeast sides of the work area.
Additionally, Mountain Valley would house welding rigs, trash pumps, and slurry pumps
within three-sided enclosures with a roof. The open side of all enclosures would face
southwest along the pipeline corridor. With this mitigation in place, the noise model
predicts that sound levels at the Greenbrier River would be lower than 48.6 dBA Leq
during nighttime boring operations at all surrounding NSAs (see figure 3).

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Figure 3      Predicted Mitigated 48.6 dBA Ln Contour for the Greenbrier River
              Direct Pipe® Crossing

       E-012 Railroad Conventional Bore Crossing Site

       The E-012 railroad conventional bore crossing would be located at MP 140.4
along the Mountain Valley Pipeline route (crossing number E-012). Excavation of the
bore pits is anticipated to occur 12 hours per day (daytime only) for 8 days total. Boring
operations would run 24 hours per day for a total of 9 days.

     Predicted sound levels during all conventional boring would be lower than 48.6
dBA Leq at all surrounding NSAs therefore, mitigation is not required (see figure 4).




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Figure 4      Predicted 48.6 dBA Ln Contour for the E-012 Railroad Crossing

       H-016 Railroad Conventional Bore Crossing Site

      The H-016 site is located at MP 230.8 along the Mountain Valley Pipeline route.
Excavation of the bore pits is anticipated to occur 12 hours per day (daytime only) for 21
days. Boring operations would run 24 hours per day for a total of 10 days.

        Predicted sound levels during the 10 nights of nighttime boring operations would
exceed 48.6 dBA Leq, however, with mitigation, the predicted sound levels during all
operations would be lower than 48.6 dBA Leq for all NSAs. Mountain Valley would
install two 24-foot-tall barriers on the north side of the work area and on the
south/southwest side. Additionally, Mountain Valley would house welding rigs, trash
pumps, and slurry pumps within three-sided enclosures with a roof. The open side of all
enclosures would face east along the pipeline corridor. With this mitigation in place, the
noise model predicts that sound levels at the H-016 railroad site would be lower than 48.6
dBA Leq during nighttime boring operations at all surrounding NSAs (see figure 5).




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Figure 5     Predicted Mitigated 48.6 dBA Ln Contour for the H-016 Railroad
             Guided Conventional Bore Crossing Site

      H-020 Railroad Conventional Bore Crossing Site

        The H-020 railroad crossing site would be located at MP 235.5 along the
Mountain Valley Pipeline route. Excavation of the bore pits is anticipated to occur 12
hours per day (daytime only) for 36 days. Boring operations would run 24 hours per day
for a total of 3 days.

       The H-020 railroad conventional bore work areas would be located next to a four-
lane divided highway and two double track railroad corridors. Accordingly, the
background sound levels in the area are typically higher than 55 dBA Ldn due to noise
from these nearby transportation sources. Mountain Valley estimated background noise
levels due to traffic and railroad noise at the NSAs surrounding the H-020 railroad
crossing using the U.S. Department of Housing and Urban Development (HUD)
Day/Night Noise Level (DNL) Calculator. The HUD DNL Calculator is a nationally
standardized method used to estimate environmental noise from railroads and highways
for housing projects. Based on a site evaluation at the H-020 railroad crossing, Mountain

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Valley determined that traffic and railroad noise would be the prominent ambient sound
sources at the NSAs for this crossing. As a result, the HUD DNL Calculator is
appropriate for estimating the ambient sound levels at the closest NSAs to the bore site.
The estimated existing background sound levels are above 55 dBA Ldn or 48.6 dBA Leq at
all NSAs.

       Because the background sound levels at all NSAs exceed 55 dBA Ldn, the FERC
guidance recommends that noise mitigation be implemented to reduce noise levels to no
more than 10 dB over background levels. Predicted sound levels during construction
operations would be less than a 10 dB increase at nighttime at all NSAs, therefore, no
mitigation would be needed (see figure 6).




Figure 6     Predicted Unmitigated 48.6 dBA Ln Contour for the H-020 Railroad
             Guided Conventional Bore Crossing

      Roanoke River Microtunnel Boring Site

      The Roanoke River microtunnel site is located at MP 235.4 along the Mountain
Valley Pipeline route. Commission staff already authorized Mountain Valley to change


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the crossing method of the Roanoke River to a microtunnel under variance H-21. As part
of the Amendment Project, Mountain Valley proposes to conduct nighttime
microtunneling activities at the Roanoke River. Therefore, a discussion of the Roanoke
River crossing has been included in this EA in order to address impacts from 24-hour
microtunneling activities and at the request of the COE because it is a Section 10 stream.
Excavation of the bore pits is anticipated to occur 12 hours per day (daytime only) for 33
days. Boring operations would run 24 hours per day for a total of 90 days.

       The Roanoke River microtunnel crossing work areas are located next to a four-
lane divided highway and two double track railroad corridors. Accordingly, the
background sound levels in the area are typically higher than 55 dBA Ldn due to noise
from these nearby transportation sources. Mountain Valley estimated background noise
levels due to traffic and railroad noise at the NSAs surrounding the river crossing using
the HUD DNL Calculator. Based on a site evaluation at the Roanoke River crossing,
Mountain Valley determined that traffic and railroad noise would be the prominent
ambient sound sources at the NSAs for this crossing and that the HUD DNL Calculator
was appropriate for assessing ambient sound levels at the closest NSAs to the bore sites.
The estimated existing background sound levels are above 55 dBA Ldn or 48.6 dBA Leq at
all NSAs.

      Because the background sound levels at all NSAs exceed 55 dBA Ldn, FERC
guidance recommends that noise mitigation be implemented to reduce noise levels to no
more than 10 dB over background. Predicted sound levels during construction operations
would be less than a 10 dB increase at nighttime at all NSAs, therefore, no mitigation
would be needed (see figure 7).




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Figure 7     Predicted Unmitigated 48.6 dBA Ln Contour for the Roanoke River
             Microtunnel Crossing

      Gauley River Microtunnel Boring Site

        The Gauley River microtunnel site is located at MP 118.9 along the Mountain
Valley Pipeline route. Commission staff authorized Mountain Valley to change the
crossing method of the Gauley River to a microtunnel under variance D-35. As part of
the Amendment Project, Mountain Valley proposes to conduct nighttime microtunneling
activities at the Gauley River. Therefore, a discussion of the Gauley River crossing has
been included in this EA in order to address impacts from 24-hour microtunneling
activities and at the request of the COE because it is a Section 10 stream. Excavation of
the bore pits is anticipated to occur 12 hours per day (daytime only) for 28 days. Boring
operations would run 24 hours per day for a total of 90 days.

       Predicted sound levels during boring operations would be below 48.6 dBA Leq
with the exception of NSA C (a regularly unoccupied hunting cabin) and therefore, noise
mitigation would not be required during boring operations (see figure B.6–8).



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Figure 8     Predicted Unmitigated 48.6 dBA Ln Contour for the Gauley River
             Microtunnel Crossing

       As discussed in section B.2.2, bore pit dewatering would be required to provide
for a dry workspace at all trenchless crossing locations. Dewatering would be conducted
in accordance with all existing plans and procedures reviewed and approved for the
Mountain Valley Pipeline Project. In some instances, pumping may require 24-hour
operation to keep up with water infiltration and ensure personnel are able to enter the
bore pits safely and efficiently when beginning bore activities each day. Bore pit
dewatering pumps would generate noise.

        The trenchless crossing activities proposed in the Amendment Project would be
temporary and would not result in a change to the operational noise of the Mountain
Valley Pipeline Project as compared to that discussed in the FEIS. However, the bore
activities would be stationary and would take place over several days to several months,
and thus may impact NSAs for a longer period than the formerly proposed open-cut dry
construction at the same locations.



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      Mountain Valley has committed to coordinate with directly affected and adjacent
landowners regarding trenchless crossing plans. However, because noise impacts could
extend farther than directly affected and adjacent landowners, we recommend that:

    Prior to commencing any nighttime construction activities associated with the
     eight trenchless crossing locations where nighttime construction is proposed,
     Mountain Valley should notify all landowners within 0.5 mile of nighttime
     (7:00 pm to 7:00 am) trenchless crossing activities (boring and pipe welding)
     prior to the start of these activities. Mountain Valley should confirm its
     compliance with the required notification in its construction status reports.
        Nighttime noise from construction of the Amendment Project could include
activities such as bore pit excavation/backfill, active boring, and dewatering (as needed).
Each of these individually or cumulatively could result in nighttime noise impacts on
nearby NSAs. However, to confirm that the noise from the nighttime construction would
not exceed our noise criterion, we recommend that:

    During any nighttime construction activities associated with the trenchless
     crossings, Mountain Valley should monitor noise levels, document the noise
     levels in the weekly status reports, and restrict the noise attributable to
     nighttime construction activities associated with the trenchless crossings to no
     more than an Ldn of 55 dBA, or no more than a 10 dB increase over
     background levels where existing noise levels exceed 55 dBA Ldn, at any
     NSAs.
       Because of the temporary nature of construction activities, and with Mountain
Valley’s proposed mitigation measures and our recommendation, we conclude that no
significant noise impacts are anticipated from construction of the proposed Amendment
Project.

       7.0      Reliability and Safety

       The transportation of natural gas by pipeline involves some risk to the public in
the event of an accident and subsequent release of gas. The greatest hazard is a fire or
explosion following a major pipeline rupture. Methane, the primary component of
natural gas, is colorless, odorless, and tasteless. It is not toxic, but is classified as a
simple asphyxiate, possessing a slight inhalation hazard. If breathed in high
concentration, oxygen deficiency can result in serious injury or death.

       The pipeline facilities associated with the Amendment Project must be designed,
constructed, operated, and maintained in accordance with the DOT Minimum Federal
Safety Standards in 49 CFR Part 192 and other applicable federal and state regulations.

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The regulations are intended to ensure adequate protection for the public and to prevent
natural gas facility accidents and failures. The DOT pipeline standards are published in
Parts 190-199 of Title 49 of the CFR. For example, Part 192 of 49 CFR specifically
addresses natural gas pipeline safety issues, prescribes the minimum standards for
operating and maintaining pipeline facilities, and incorporates compressor station design,
including emergency shutdowns and safety equipment. Part 192 also requires a pipeline
operator to establish a written emergency plan that includes procedures to minimize the
hazards in a natural gas pipeline emergency.

       The operator must also establish a continuing education program to enable
customers, the public, government officials, and those engaged in excavation activities to
recognize a gas pipeline emergency and report it to appropriate public officials. As
discussed in section 4.12.1 of the FEIS, Mountain Valley would provide the appropriate
training to local emergency service personnel before the facilities are placed in service.

        We received several comments concerning the integrity of the pipeline coating on
portions of the pipeline that have been exposed to the elements. As the Commission
noted in its October 9, 2020 Order Partially Lifting Stop Work Order and Allow Certain
Construction to Proceed, Mountain Valley has stated previously that the coating
thickness on its stored pipes is above the manufacturer’s recommendation, and the
coating on each pipe segment is inspected for damage and thickness before the pipe is
installed in the trench. As discussed in section A.5 of this EA, we received comments
concerning protection of the external coating of the pipe from damage during installation
via trenchless crossing methods. Mountain Valley states that pipe utilized at the
trenchless crossings would have an ARO over the standard FBE coating used on all pipe.

       Further, based on Commission staff’s review of the FBE chalking analysis
submitted by Mountain Valley and all other pertinent materials60, we found no basis for
supplementing the FEIS to analyze potential toxicity associated with FBE coating or
including an analysis in this EA.

       Mountain Valley’s use of trenchless crossing methods in lieu of the certificated
and typical open-cut dry techniques would offer the pipeline an equivalent level of
protection. We conclude there would be no increase in risk to the public.



60    Letters to the Virginia Department of Health, the VADEQ, and the North Carolina Department of
      Health and Human Services’ for both the Mountain Valley Pipeline and the Atlantic Coast
      Pipeline regarding FBE coatings. Accession numbers 20201008-3000 and 20201008-3001,
      October 8, 2020.


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SECTION C – ALTERNATIVES

       In accordance with NEPA and Commission policy, we consider and evaluate
alternatives to the proposed action, including the no-action alternative. These alternatives
are evaluated using a specific set of criteria. The evaluation criteria applied to each
alternative include a determination whether the alternative:

      meets the objective of the proposed Amendment Project;
      is technically and economically feasible and practical; and
      offers a significant environmental advantage over the proposed Amendment
       Project.
       Through environmental comparison and application of our professional judgment,
each alternative is considered (in the sequence identified above) to a point where it
becomes clear if the alternative could or could not meet the three evaluation criteria. An
alternative that cannot achieve the purpose for the Amendment Project cannot be
considered as an acceptable replacement for the Amendment Project.

        Because the proposed action does not involve the siting and construction of new
facilities, our alternatives analyses are limited to considering the no-action alternative and
an assessment of alternative crossing techniques.

        1.0      No-Action Alternative

       The no-action alternative is a Commission decision to not authorize the proposal
presented by the project proponent in its application. Selecting the no-action alternative
means that the impacts resulting from the proposed action of the Amendment Project and
disclosed in this EA would not occur, at the cost of not meeting the purpose, need, and
goals of the proposed action. If the no-action alternative is selected, Mountain Valley
would not be authorized to change the crossing technique from open-cut dry to
conventional bore, guided conventional bore, or Direct Pipe® for the 120 trenchless
crossings of 183 waterbodies and wetlands.61 Further, Mountain Valley would not be


61      As part of the Amendment Project, Mountain Valley also requests that the Commission allow
        nighttime microtunneling activities at the Gauley River and Roanoke River. Commission staff
        previously authorized Mountain Valley to change the crossing method for the Gauley and
        Roanoke Rivers to a microtunnel technique as part of our variance process. If the no-action
        alternative is selected, then Mountain Valley would not be authorized to conduct 24-hour
        microtunneling activities at these locations. Additionally, the Certificate authorized Mountain
        Valley to utilize a conventional bore at the H-016 railroad crossing. If the no-action cont’d



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authorized to implement a minor route adjustment at MP 230.8 to avoid waterbody
S-OO11 or a minor alignment shift at MP 0.7 within the previously authorized workspace
to avoid wetland W-A2a. As a result of the Commission selecting the no-action
alternative, Mountain Valley could conduct the crossings via open-cut dry crossing
techniques following appropriate additional Federal approvals; modify and resubmit an
application for a similar or different crossing technique(s); or not construct the crossings.
Given the status of construction of the Mountain Valley Pipeline Project (approximately
81 percent of the pipeline has been installed and backfilled), it is unlikely that Mountain
Valley would choose to not complete the crossings. Consequently, use of the already
authorized open-cut dry crossing technique is the likeliest outcome of the Commission
selecting the no-action alternative.

       As discussed in sections A and B above, the conventional bore, guided
conventional bore, and Direct Pipe® crossings would not change the overall footprint of
the Mountain Valley Pipeline Project as all trenchless crossing activities, including the
bore pit excavations and Direct Pipe® staging areas, would occur entirely within the
Mountain Valley Pipeline Project’s already certificated right-of-way. The impacts of
performing the open-cut dry crossings were discussed in the FEIS, which include
temporary increases in sediments mobilized downstream due to in-stream impacts and the
clearing and grading of stream banks and wetlands. As indicated in the FEIS,62 no long-
term or significant impacts on surface waters are anticipated from open-cut crossings
because Mountain Valley would:

      not permanently affect the designated water uses and would bury the pipeline
       beneath the bed of all waterbodies;
      implement erosion and sedimentation controls;
      adhere to crossing guidelines in its Procedures; and
      restore the streambanks and streambed contours as close as practical to pre-
       construction conditions.
      For wetland impacts, the FEIS concludes63 that while adverse and long-term
impacts on wetlands would occur, with the implementation of best management practices
(BMPs) and mitigation proposed by Mountain Valley, as well as our recommendations,


        alternative is selected, then Mountain Valley would not be authorized to conduct nighttime
        conventional boring activities at this location.
62      FEIS at page 4-149.
63      FEIS at page 4-163.


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impacts on wetlands would not be significant. We maintain that these conclusions would
apply should the no-action alternative be adopted.

       However, as indicated in section B of this EA, the conventional bore, guided
conventional bore, and Direct Pipe® crossing techniques would reduce environmental
impacts on surface waterbodies, wetlands, and aquatic resources, as compared to the no-
action alternative, because trenchless crossing methods do not result in impacts
associated with constructing directly in waterbodies and wetlands, including increased
turbidity and disruption to stream bank and wetland vegetation. The conventional bore,
guided conventional bore, and Direct Pipe® crossings would cause increases in air
emissions and noise during the excavation and boring activities as compared to the no-
action alternative; however, these impacts would be temporary and would persist for only
the short duration required to complete the bores.

        There would be no risk of inadvertent release of drilling fluids with the 117
conventional bores because the majority of those crossings would not require the use of
drilling fluids and for those limited few that would require drilling fluids, the fluids
would be of small volume and not pressurized. Although there is a risk of inadvertent
release of drilling fluids into waterbodies or wetlands with the guided conventional bore
(two crossings) and Direct Pipe® (one crossing) methods, the risk is small and potential
impacts would be reduced due to use of non-hazardous additives and down-hole pressure
monitoring. Further, the comparatively lower drilling pressures and smaller amounts of
slurry needed compared to other trenchless crossing methods such as HDD, would also
reduce the potential for impacts due to inadvertent releases from the guided conventional
bores and the Direct Pipe®.

       Neither the no-action alternative nor the proposed Amendment Project are
anticipated to result in significant environmental impacts. Therefore, we have
determined that the no-action alternative would not offer a significant environmental
advantage over the proposed Amendment Project.

      2.0      Alternative Crossing Techniques

       We received multiple comments concerning the selection of a trenchless crossing
method for each waterbody and wetland crossing. We also received comments noting
that Mountain Valley previously rejected boring of waterbodies and wetlands as too
costly and risky during the application process for the Mountain Valley Pipeline Project.

       As mentioned previously, various legal, regulatory, and permitting challenges
have prevented Mountain Valley from completing construction of the Mountain Valley
Pipeline Project as previously certificated. As such, Mountain Valley reevaluated the

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crossing method for all remaining crossings. As part of its Individual Permit
application,64 Mountain Valley provided an explanation, including cost information, for
each crossing method determination.

       Mountain Valley evaluated a total of eight alternative stream and wetland pipeline
crossing methods. The crossing methods can be generally categorized as either open-cut
methods—meaning that a trench is excavated in the stream or wetland to install the
pipe—or trenchless methods—meaning the pipe is installed with specialized equipment
that bores or tunnels under or bridges over the resource.

       As previously indicated, other trenchless technologies, besides the conventional
bore methodology, were selected for some streams. Mountain Valley indicated that a
guided conventional bore was selected for the Elk River because there are large boulders
within the crossing, the stream depth would reduce available workspace if the stream was
diverted for a dry-ditch open-cut crossing, and a trenchless crossing would further
minimize impacts on mussel species. A guided conventional bore was selected for Little
Stony Creek and its tributaries because it would minimize impacts on the streams. Direct
Pipe® technology was selected for the Greenbrier River because the stream depth would
reduce available workspace if the stream was diverted for a dry-ditch open-cut crossing
and a trenchless crossing would further minimize impacts on mussel species.

       As discussed in section B.2.2, the Mountain Valley Pipeline Project would cross
five Section 10 streams. All of these streams, except for the Blackwater River, would be
crossed via a trenchless crossing method. We have included the following discussion in
order to support the COE’s review of the joint application for Section 10 regulated
streams. At the Blackwater River crossing, Mountain Valley stated that site conditions
do not provide adequate space to stockpile spoil from bore pits that would be almost 40-
feet-deep. We reviewed the Blackwater River crossing location and confirmed that there
may not be space for spoil storage within the limits of disturbance and the slope on one
side of the stream may not be conducive to a trenchless crossing.

        Although differences exist in the specific construction techniques and associated
risks with each type of trenchless crossings, the avoidance of in-stream construction and
its protective nature on the sensitive resources and associated riparian zones are generally
the same. As such, we have determined the use of one trenchless crossing method does
not offer a significant environmental advantage when compared to another trenchless




64     See MVP COE Individual Permit application (table 15) at accession number 20210304-5122.


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crossing method. As such, alternatives relating to the specific trenchless techniques
proposed by Mountain Valley based on the screening criteria below were not considered.

              2.1    Screening Criteria

       The construction method proposed for each crossing in the Amendment Project
was the result of a feasibility analysis conducted by Mountain Valley to compare
trenchless methods, predominantly conventional and guided bores, with the previously
approved open-cut crossing methods for the sensitive resources. The factors evaluated
include bore pit depths, the presence of steep slopes on one or both sides of the crossing,
stream width and depth, the presence of karst terrain, other feasibility concerns, and
workspace constraints such as the presence of existing utilities and infrastructure. These
factors are more fully described in Mountain Valley’s Individual Permit application, and
are summarized below.

       Bore Pit Depth

        For each crossing, Mountain Valley determined the depth of the two bore pits that
would be necessary to complete the crossing. That determination accounted for the pipe
installation depth below the stream or wetland, the steepness and length of the slopes on
both sides of the crossing, and the difference in elevation between the launch and
receiving bore pit. Mountain Valley also evaluated the volume of material to be
excavated against the available working area to determine the approximate available
workspace. As discussed below, the compounding effect of limited workspace for
material storage and site access hindered by long and steep slopes requiring winching of
materials, equipment, and trench spoils, was evaluated with respect to its impact on the
overall construction time and costs, and potential safety concerns.

       Deep bore pits require a greater workspace area for equipment and spoils from the
excavations the sides of the bore pit would need to have one or a series of horizontal
levels or steps (benching) to create a safe working environment for work crew and
equipment. Additionally, deeper bore pits can expose a greater thickness of saturated
subsurface material below the water table necessitating additional dewatering to keep the
bore pits dry for the duration of the drill. If site conditions are acceptable, trenchless
crossing methods are generally considered technically and logistically achievable for any
crossing where adequate workspace for equipment and trench spoil storage is available.
However, technical and logistical challenges associated with deeper bore pits, along with
the resultant additional construction timing and costs when weighed against traditional
open-cut crossings, can make conventional bore crossings less practicable.




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       Steep Slopes

        Mountain Valley evaluated each crossing to determine if the presence of steep
slopes on one or both approaches to the stream or wetland would make trenchless
crossing methods impracticable. That evaluation primarily accounted for two criteria:
slope steepness and slope length. Slopes with grades generally in excess of 30 percent
typically require winching of equipment to work safely on the slope. Winching can be
utilized on shorter slopes to conduct many pipeline construction activities. As slope
lengths increase, additional pieces of heavy machinery must be winched together and
anchored to the top of the slope, in daisy-chain fashion down the hillside. Based on
generally accepted standard industry construction practices and professional pipeline
construction experience, operating the equipment necessary to excavate a bore pit on
slopes that require winching presents additional complicating factors. In particular,
operating excavation equipment on the edge of a bore pit while winched to multiple
pieces of equipment presents a heightened safety risk to equipment operators and other
crew members.

       Similarly, moving and storing spoil piles on steep slopes presents an additional
layer of logistical challenges, as well as compounding safety and environmental risks. If
there was not sufficient workspace adjacent to a crossing to store excavated materials,
Mountain Valley evaluated the logistics of hauling materials to a suitable location for
staging. The use of daisy-chained winch tractors to haul excavation materials across
steep slopes for long distances requires an increased quantity of equipment. For example,
due to limitations in winch cable length, hauling a load of spoil across a steep slope more
than 400 feet in length would require four pieces of heavy equipment – one to hold the
load and three to winch in daisy-chained fashion. The site logistics of winching multiple
pieces of equipment on a 75-foot to 125-foot right-of-way could render such an operation
impracticable. This deployment of multiple pieces of equipment on a steep slope
increases worker safety risk. In addition, hauling excavation spoils across a steep slope
creates an environmental risk of dropping spoils down the slope and potentially off right-
of-way.

       Therefore, Mountain Valley considered excavating bore pits on steep slopes
greater than 30 percent to be generally possible, but would introduce additional safety
and environmental risk. However, the compounding effect of unavailable storage space
for bore pit excavation materials, steep slopes, and long winch hills over 400 feet
generally make a conventional bore crossing in these scenarios impracticable.




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      Stream Depth

       Stream depth may be a limiting factor on the use of the dry-ditch open-cut method.
The technical, logistical, and safety challenges for the dry-ditch open-cut crossing
method increase with stream depth. Based on generally accepted standard industry
construction practices, professional pipeline construction experience, and, most
significantly, the limited workspace available for Project crossings, Mountain Valley
concluded that it is not advisable and may not be practicable, in most cases, to use the
dry-ditch open-cut crossing method for streams deeper than 36 inches.

        A dry-ditch, open-cut crossing can be accomplished using dam and pump, flume
pipe diversion, or cofferdam methods to dewater the stream for pipeline installation.
With any of these methods, a dam structure is needed to keep the stream from flowing
through the workspace. In order to reduce impacts, the construction right-of-way for
stream crossings is reduced from the normal 125-foot-width to 75 feet. Thus, sufficient
room for the dam, pump, and construction activities is limited. The dam must be at least
as tall as the depth of the stream plus a minimum amount of freeboard to ensure safe
working conditions. For deeper streams, such as those greater than 36 inches, the most
common and commercially available type of dam utilized is a bladder dam. Based on
manufacturer’s specifications, a four-foot-tall dam can support a maximum water depth
of 36 inches. The footprint and manufacturer recommended clearance for a dam this size
is 22-feet-wide. In a non-cofferdam installation, the dam on the back side can usually be
lower and constructed with sandbags and is estimated to occupy a 9-foot-wide footprint.
After allowing for space for a pump and discharge structure, a 34-foot workspace remains
within the reduced 75-foot-wide right-of-way to install the pipe. Assuming the pipe is
installed a minimum of five-feet-deep, in type C soil conditions,65 and performing
installation with equipment from an adjacent bridge, this workspace is just sufficient to
excavate a trench and lower in pipe. For water depths greater than 36 inches, a larger
dam would be necessary, which increases the footprint and manufacturer recommended
clearance—further intruding into the limited workspace available.

      For these reasons, Mountain Valley concluded that the dry-ditch open-cut crossing
method is not a practicable alternative for stream depths greater than three feet deep.
Stream depth is not a relevant consideration for trenchless crossing methods as long as it


65    Type C soil is the least stable type of soil. Type C includes granular soils in which particles don't
      stick together and cohesive soils with a low unconfined compressive strength; 0.5 tons per square
      foot or less. United States Department of Labor – Occupational Health and Safety
      Administration Soil Classification Transcript. Accessed at:
      https://www.osha.gov/dts/vtools/construction/soil_testing_fnl_eng_web_transcript.html.


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is feasible to excavate bore pits for conventional bores to the proper depth to allow for
crossing under the stream.

       Karst

        Mature karst bedrock aquifers are characterized by conduit flow systems and rapid
transit times for groundwater, which can introduce sediment and surface contamination at
long distance over short time frames downgradient from a work area. Additionally,
greater rates of pumping may be necessary in these aquifers to keep the bore pits dry for
the duration of the bore. However, the risk of boring through karst can be mitigated
through avoidance of subsurface karst features that can be identified using geophysical
methods.

       Work conducted in karst terrain is more easily identified in a dry-ditch open-cut
crossing than in a bore. Preference is given to dry-ditch open-cut crossings through karst
geology to the extent an open-cut crossing is practicable. However, when a trenchless
crossing method is used through karst terrain, any potential karst voids are observable
during the trenching process and therefore, immediate mitigation measures can be
implemented.

               2.2   Alternative Crossing Techniques Conclusion

       We have reviewed Mountain Valley’s feasibility analysis and agree that the
trenchless crossing techniques selected for the Amendment Project waterbodies and
wetlands are feasible and appropriate.

       According to Mountain Valley:

    eight sites were chosen for a conventional bore because they were adjacent to
     already approved bores of railroads and/or roadways and only required increasing
     the length of the bores;
    another 35 sites were selected for a conventional bore crossing to avoid direct
     aquatic impacts on possible orangefin madtom habitat, Roanoke logperch habitat,
     and/or because the waterbody is considered a trout stream;
    one site was chosen as a conventional bore because it is a wide and deep river with
     high flow conditions;
    two sites were chosen as guided conventional bore because of large boulders,
     stream depth, and to avoid direct aquatic impacts on mussel species;




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    one site was chosen as a Direct Pipe® due to stream depth and to avoid direct
     aquatic impacts on mussel species; and
    the remaining 73 conventional bore locations did not have a significant constraint
     regarding installation method or a significant environmental impact relevant to the
     available installation methods.
       As such, we have determined that completing the 120 trenchless crossings of 183
waterbodies and wetlands by open-cut dry methods would not offer a significant
environmental advantage over the proposed Amendment Project and do not recommend
any alternatives to the proposed action.

       Waterbodies and wetlands originally approved as open-cut dry crossings that
remained open-cut dry crossings following the feasibility analysis were evaluated in the
FEIS. As stated in the FEIS, open-cut dry crossing methods would appropriately
minimize turbidity and sedimentation and no long-term or significant impacts on surface
waters are anticipated as a result of the Mountain Valley Pipeline Project. The features
designated for open-cut dry crossings are included in Mountain Valley’s Individual
Permit application currently under review by the COE.

      3.0      Conclusion

       After reviewing the alternatives to the proposed Amendment Project, we conclude
that none of the alternatives would satisfy the evaluation criteria. In summary, we have
determined that the proposed action, as modified by our recommended mitigation
measures, is the preferred alternative to meet the Amendment Project’s objectives.




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SECTION D – STAFF’S CONCLUSIONS AND RECOMMENDATIONS

        Based on the analysis in this EA, we have determined that if Mountain Valley
completes the waterbody and wetland crossings via trenchless crossing methods in
accordance with its application and supplements, and the staff’s recommended mitigation
measures below, approval of the Amendment Project would not constitute a major federal
action significantly affecting the quality of the human environment. As described in
section B of this EA, the Amendment Project would result in less direct impacts on a
number of resources than the action considered in the FEIS and authorized by the
Certificate. The Amendment Project would lead to an increase in construction emissions
and construction noise. While we conclude that impacts from the Amendment Project on
emissions and noise would exceed those analyzed in the FEIS, we conclude that these
temporary and short-term increases would not be significant. Therefore, we recommend
that the Commission Order contain a finding of no significant impact and include the
measures listed below as conditions in any authorization the Commission may issue to
Mountain Valley. We also recommend that Mountain Valley continue to comply with
applicable environmental conditions set forth in Appendix C of the Mountain Valley
Pipeline Certificate Order.

   1.   Mountain Valley shall follow the construction procedures and mitigation
        measures described in its amendment application and supplements including
        responses to staff data requests and as identified in the environmental
        assessment, unless modified by the Order. Mountain Valley must:
        a. request any modification to these procedures, measures, or conditions in a
           filing with the Secretary;
        b. justify each modification relative to site-specific conditions;
        c. explain how that modification provides an equal or greater level of
           environmental protection than the original measure; and
        d. receive approval in writing from the Director of OEP, or the Director’s
           designee, before using that modification.
   2.   The Director of OEP, or the Director’s designee, has delegated authority to
        address any requests for approvals or authorizations necessary to carry out the
        conditions of the Order, and take whatever steps are necessary to ensure the
        protection of environmental resources during construction of the Amendment
        Project. This authority shall allow:
        a. the modification of conditions of the Order;
        b. stop-work authority; and


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     c. the imposition of any additional measures deemed necessary to ensure
        continued compliance with the intent of the conditions of the Order as well
        as the avoidance or mitigation of unforeseen adverse environmental impact
        resulting from Amendment Project construction.
3.   Mountain Valley shall continue to comply with environmental conditions set
     forth in Appendix C of the October 13, 2017 Order in Docket No. CP16-010-
     000.
4.   The authorized facility locations shall be as shown in the EA, as supplemented
     by filed alignment sheets. As soon as they are available, and before the start
     of construction, Mountain Valley shall file with the Secretary any revised
     detailed survey alignment maps/sheets at a scale not smaller than 1:6,000 with
     station positions for all facilities approved by the Order. All requests for
     modifications of environmental conditions of the Order or site-specific
     clearances must be written and must reference locations designated on these
     alignment maps/sheets.
5.   Mountain Valley shall file with the Secretary detailed alignment maps/sheets
     and aerial photographs at a scale not smaller than 1:6,000 identifying all route
     realignments or facility relocations, and staging areas, pipe storage yards, new
     access roads, and other areas that would be used or disturbed and have not been
     previously identified in filings with the Secretary. Approval for each of these
     areas must be explicitly requested in writing. For each area, the request must
     include a description of the existing land use/cover type, documentation of
     landowner approval, whether any cultural resources or federally listed
     threatened or endangered species would be affected, and whether any other
     environmentally sensitive areas are within or abutting the area. All areas shall
     be clearly identified on the maps/sheets/aerial photographs. Each area must be
     approved in writing by the Director of OEP, or the Director’s designee, before
     construction in or near that area.
     This requirement does not apply to extra workspace allowed by the
     Commission’s Plan and/or minor field realignments per landowner needs and
     requirements which do not affect other landowners or sensitive environmental
     areas such as wetlands.

     Examples of alterations requiring approval include all route realignments and
     facility location changes resulting from:

     a. implementation of cultural resources mitigation measures;



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     b. implementation of endangered, threatened, or special concern species
        mitigation measures;
     c. recommendations by state regulatory authorities; and
     d. agreements with individual landowners that affect other landowners or could
        affect sensitive environmental areas.
6.   Within 60 days of the acceptance of the authorization and before
     construction of the Amendment Project begins, Mountain Valley shall file an
     Implementation Plan with the Secretary for review and written approval by the
     Director of OEP, or the Director’s designee. Mountain Valley must file
     revisions to the plan as schedules change. The plan shall identify:
     a. how Mountain Valley will implement the construction procedures and
        mitigation measures described in its amendment application and supplements
        (including responses to staff data requests), identified in the EA, and
        required by the Order;
     b. how Mountain Valley will incorporate these requirements into the contract
        bid documents, construction contracts (especially penalty clauses and
        specifications), and construction drawings so that the mitigation required at
        each site is clear to onsite construction and inspection personnel;
     c. the number of EIs assigned, and how the company will ensure that sufficient
        personnel are available to implement the environmental mitigation;
     d. company personnel, including EIs and contractors, who will receive copies
        of the appropriate material;
     e. the location and dates of the environmental compliance training and
        instructions Mountain Valley will give to all personnel involved with
        construction and restoration (initial and refresher training as the project
        progresses and personnel change);
     f. the company personnel (if known) and specific portion of Mountain Valley’s
        organization having responsibility for compliance;
     g. the procedures (including use of contract penalties) Mountain Valley will
        follow if noncompliance occurs; and
     h. for each discrete facility, a Gantt or PERT chart (or similar project
        scheduling diagram), and dates for:
          1.     the completion of all required surveys and reports;
          2.     the environmental compliance training of onsite personnel;
          3.     the start of construction; and

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          4.     the start and completion of restoration.

7.   Mountain Valley must receive written authorization from the Director of OEP,
     or the Director’s designee, before commencing construction of any
     Amendment Project facilities. To obtain such authorization, Mountain Valley
     must file with the Secretary documentation that it has received all applicable
     authorizations required under federal law (or evidence of waiver thereof).
8.   Mountain Valley shall not commence construction activities associated with
     the Amendment Project until Commission staff completes consultation with the
     U.S. Fish and Wildlife Service regarding potential impacts on federally listed
     species.
9.   Prior to commencing any nighttime construction activities associated with
     the eight trenchless crossing locations where nighttime construction is
     proposed, Mountain Valley shall notify all landowners within 0.5 mile of
     nighttime (7:00 pm to 7:00 am) trenchless crossing activities (boring and pipe
     welding) prior to the start of these activities. Mountain Valley shall confirm its
     compliance with the required notification in its construction status reports.
10. During any nighttime construction activities associated with the trenchless
    crossings, Mountain Valley shall monitor noise levels, document the noise
    levels in the weekly status reports, and restrict the noise attributable to nighttime
    construction activities associated with the trenchless crossings to no more than a
    day-night average sound level (Ldn) of 55 dBA, or no more than a 10 dB
    increase over background levels where existing noise levels exceed 55 dBA Ldn,
    at any noise sensitive areas.




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         Cardno, Inc. is a third party contractor assisting the Commission staff in
 reviewing the environmental aspects of the project application and preparing the
 environmental documents required by NEPA. Third party contractors are
 selected by Commission staff and funded by project applicants. Per the
 procedures in 40 CFR 1506.5(b)(4), third party contractors execute a disclosure
 statement specifying that they have no financial or other conflicting interest in the
 outcome of the project. Third party contractors are required to self-report any
 changes in financial situation and to refresh their disclosure statements annually.
 The Commission staff solely directs the scope, content, quality, and schedule of
 the contractor's work. The Commission staff independently evaluates the results
 of the third-party contractor’s work and the Commission, through its staff, bears
 ultimate responsibility for full compliance with the requirements of NEPA.




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                        Appendix A
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                                         Appendix A

                             Proposed Trenchless Crossings
                                                       Crossing   Waterbody
                                Crossing                                        Crossing
Spread    State   County                     MP         Length    or Wetland
                                Number                                           Type
                                                         (feet)    Crossed

                                                                  S-A120, S-
                                                                               Conventional
  A       WV      Wetzel         A-008       6.41        85        A119, W-
                                                                                  Bore
                                                                      A34
                                                                  W-H103, S-   Conventional
  B       WV       Lewis         B-012       58.5        148
                                                                     H160         Bore
                                                                  S-CD16, W-
                                                                               Conventional
  B       WV       Lewis        B-015A      61.21        193       CD17, S-
                                                                                  Bore
                                                                     VV13
                                                                               Conventional
  C       WV      Webster       C-013A       81.6        124       S-A100
                                                                                  Bore
                                                                               Conventional
  C       WV      Webster        C-018      82.28        92         S-F40
                                                                                  Bore
                                                                                 Guided
  C       WV      Webster        C-022      87.33        296        S-E68      Conventional
                                                                                  Bore
                                                                  S-H111, S-
                                                                               Conventional
  C       WV      Webster        C-024      87.32        272       H114, S-
                                                                                  Bore
                                                                    H112
                                                                               Conventional
  C       WV      Webster        C-028      89.56        267       S-H110
                                                                                  Bore
                                                                  W-H60, W-    Conventional
  C       WV      Webster        C-035      95.25        312
                                                                     H61          Bore
                                                                  S-B32, W-    Conventional
  D       WV      Webster        D-004      106.35       59
                                                                     B30          Bore
                                                                               Conventional
  D       WV      Nicholas       D-010      109.94       59         S-E46
                                                                                  Bore
                                                                  W-F12, W-    Conventional
  D       WV      Nicholas       D-011       111         174
                                                                  F13, W-F15      Bore
                                                                  S-F20, W-    Conventional
  D       WV      Nicholas       D-012      111.09       104
                                                                     F11          Bore
                                                                  S-B28, W-    Conventional
  D       WV      Nicholas       D-019      113.11       47
                                                                     B27          Bore
                                                                   W-FF6-
                                                                               Conventional
  D       WV      Nicholas       D-020      113.39       158      PEM, W-
                                                                                  Bore
                                                                   FF6-PSS
                                                                               Conventional
  D       WV      Nicholas       D-022      114.17       117        S-J32
                                                                                  Bore




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                                                    Crossing   Waterbody
                                Crossing                                       Crossing
Spread    State    County                   MP       Length    or Wetland
                                Number                                          Type
                                                      (feet)    Crossed

                                                               W-A14, S-
                                                               A72, S-A71,    Conventional
  D       WV      Nicholas       D-028     114.95     92
                                                                 S-A71-          Bore
                                                                  Braid
                                                                              Conventional
  D       WV      Nicholas       D-034     116.69     40         S-N15
                                                                                 Bore
                                                                              Conventional
  D       WV      Nicholas       D-035     117.02     44         S-N14
                                                                                 Bore
                                                                              Conventional
  D       WV      Nicholas       D-036     117.1      73       S-I43, W-I7
                                                                                 Bore
                                                                              Conventional
  D       WV      Nicholas       D-037     117.28     32          S-I44
                                                                                 Bore
                                                                              Conventional
  D       WV      Nicholas       D-038     117.4      20          S-I45
                                                                                 Bore
                                                                              Conventional
  D       WV      Nicholas       D-040     118.24     35         S-148
                                                                                 Bore
                                                                  S-J29
  D       WV      Nicholas       D-041     118.9      367        (Gauley     Microtunnel a/
                                                                  River)
                                                                              Conventional
  D       WV      Nicholas       D-048     122.55     30         S-EE1
                                                                                 Bore
                                                                              Conventional
  E       WV      Nicholas       E-005     132.36     56          S-V3
                                                                                 Bore
                                                                              Conventional
  E       WV      Greenbrier     E-009     136.7      223        W-M18
                                                                                 Bore
                                                                              Conventional
  E       WV      Greenbrier     E-012     140.44     255         S-J20
                                                                                 Bore
                                                                              Conventional
  E       WV      Greenbrier     E-015     141.17     41          S-I27
                                                                                 Bore
                                                                              Conventional
  F       WV      Summers        F-014     169.76     106         S-N3
                                                                                 Bore
                                                                              Conventional
  F       WV      Summers        F-015     169.78     48          S-N2
                                                                                 Bore
                                                                              Conventional
  F       WV      Summers        F-016     169.81     128       S-CD23
                                                                                 Bore
                                                                S-N4, W-      Conventional
  F       WV      Summers        F-017     169.84     99
                                                                  EF40           Bore
  F       WV      Summers        F-021     171.44    1,250        S-18        Direct Pipe®
                                                                              Conventional
  F       WV      Summers        F-022     171.77     91          S-I9
                                                                                 Bore
                                                                              Conventional
  F       WV      Summers        F-027     173.14     30          S-J4
                                                                                 Bore
                                                                              Conventional
  F       WV       Monroe        F-032     184.08     32         S-D25
                                                                                 Bore


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                                                    Crossing   Waterbody
                               Crossing                                        Crossing
Spread    State    County                  MP        Length    or Wetland
                               Number                                           Type
                                                      (feet)    Crossed

                                                               S-G43, W-      Conventional
  F       WV       Monroe       F-039     190.03      83
                                                                 MN1             Bore
                                                                              Conventional
  G       VA        Giles       G-009     203.59      139        S-G35
                                                                                 Bore
                                                                              Conventional
  G       VA        Giles       G-010     203.71      30         S-SS4
                                                                                 Bore
                                                                              Conventional
  G       VA        Giles       G-011     203.88      48          S-Z9
                                                                                 Bore
                                                               S-Z7, S-Z7-    Conventional
  G       VA        Giles       G-012      204        47
                                                                 Braid-1         Bore
                                                                S-Z10, S-
                                                                                Guided
                                                               Z11, S-Z12-
  G       VA        Giles       G-013     204.18      331                     Conventional
                                                               EPH, W-Z3,
                                                                                 Bore
                                                                 S-Z13
                                                                              Conventional
  G       VA        Giles       G-014     204.35      53         S-Z14
                                                                                 Bore
                                                                              Conventional
  G       VA        Giles       G-017     206.59      246      S-Y3, S-Y2
                                                                                 Bore
                                                                 S-E25-       Conventional
  G       VA        Giles      G-019B     207.9       92
                                                               Downstream        Bore
                                                                              Conventional
  G       VA        Giles       G-023     211.17      140       S-NN17
                                                                                 Bore
                                                               S-RR2, S-
                                                                              Conventional
  G       VA        Giles       G-024      213        133      YZ6, W-
                                                                                 Bore
                                                                 RR1b
                                                                              Conventional
  H       VA      Montgomery    H-009     229.48      40        S-MM31
                                                                                 Bore
                                                                              Conventional
  H       VA      Montgomery    H-015     230.55      90         S-C21
                                                                                 Bore
                                                                  None
                                                                (Roanoke
                                                                 Valley       Conventional
  H       VA      Montgomery    H-016     230.8       280
                                                                Resource        Bore b/
                                                                Authority
                                                                Railroad)
                                                                              Conventional
  H       VA      Montgomery    H-017     234.19      360       S-OO16
                                                                                 Bore
                                                                S-NN16
  H       VA      Montgomery    H-019     235.4       316      (Roanoke      Microtunnel a/
                                                                 River)
                                                                S-I1, S-
                                                                              Conventional
  H       VA      Montgomery    H-020     235.53      280      AB16, W-
                                                                                 Bore
                                                                 AB7



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                                                     Crossing   Waterbody
                                 Crossing                                        Crossing
Spread    State    County                    MP       Length    or Wetland
                                 Number                                           Type
                                                       (feet)    Crossed

                                                                                Conventional
  H       VA      Montgomery      H-021     235.9      38        S-CD12b
                                                                                   Bore
                                                                                Conventional
  H       VA      Montgomery      H-022     235.9      114       W-KL58
                                                                                   Bore
                                                                                Conventional
  H       VA       Roanoke        H-030     241.93     73          S-IJ82
                                                                                   Bore
                                                                  W-IJ94-
                                                                  PEM, W-
                                                                IJ95-PSS, S-    Conventional
  H       VA       Roanoke        H-031     242.06     362
                                                                IJ83, S-IJ88,      Bore
                                                                 S-IJ84, W-
                                                                    IJ102
                                                                S-IJ89, S-      Conventional
  H       VA       Roanoke        H-032     242.28     108
                                                                   IJ90            Bore
                                                                W-EF46, S-      Conventional
  H       VA       Roanoke        H-040     243.6      179
                                                                  ST9b             Bore
                                                                 W-KL49-
                                                                 PEM, W-
                                                                                Conventional
  H       VA       Roanoke        H-042     243.9      202      KL51-PEM,
                                                                                   Bore
                                                                S-KL55, W-
                                                                 KL51-PSS
                                                                 W-MN7-
                                                                                Conventional
  H       VA       Roanoke        H-043     244.1      87        PEM, S-
                                                                                   Bore
                                                                   IJ12
                                                                S-EF44, W-      Conventional
  H       VA       Roanoke        H-044     244.5      45
                                                                   EF44            Bore
                                                                W-IJ36, S-      Conventional
  H       VA       Roanoke        H-045     244.7      282
                                                                   IJ43            Bore
                                                                 S-Y7, W-       Conventional
  H       VA       Roanoke        H-046     245.05     140
                                                                 Y2, S-Y8          Bore
                                                                                Conventional
  H       VA       Roanoke       H-047A     245.64     64          S-B22
                                                                                   Bore
                                                                  W-B25-
                                                                                Conventional
  H       VA       Roanoke       H-048A     245.8      253       PSS-2, S-
                                                                                   Bore
                                                                   B25
                                                                                Conventional
  H       VA       Franklin       H-054     248.81     81          S-D11
                                                                                   Bore
                                                                                Conventional
  H       VA       Franklin       H-060     252.35     43         S-RR08
                                                                                   Bore
                                                                                Conventional
  I       VA       Franklin      I-001A     258.23     22         S-GH3
                                                                                   Bore
                                                                                Conventional
  I       VA       Franklin       I-009     260.56     60         S-RR15
                                                                                   Bore


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                                                    Crossing   Waterbody
                                Crossing                                     Crossing
Spread    State   County                    MP       Length    or Wetland
                                Number                                        Type
                                                      (feet)    Crossed

                                                                            Conventional
  I       VA      Franklin       I-014     262.09     62         S-C17
                                                                               Bore
                                                                            Conventional
  I       VA      Franklin       I-016     262.5      94        W-CD6
                                                                               Bore
                                                               S-KL35, W-   Conventional
  I       VA      Franklin       I-020     264.53     72
                                                                  EF48         Bore
                                                                            Conventional
  I       VA      Franklin       I-021     264.66     39        S-KL36
                                                                               Bore
                                                                            Conventional
  I       VA      Franklin       I-034     268.9      52         S-C20
                                                                               Bore
                                                                            Conventional
  I       VA      Franklin       I-038     270.19     47         S-F10
                                                                               Bore
                                                                            Conventional
  I       VA      Franklin       I-039     270.5      66         S-F9a
                                                                               Bore
                                                                            Conventional
  I       VA      Franklin       I-040     270.65     53         S-GG4
                                                                               Bore
                                                                            Conventional
  I       VA      Franklin       I-042     271.39     78         S-A38
                                                                               Bore
                                                               S-GH36, S-   Conventional
  I       VA      Franklin      I-044A     272.65     103
                                                                  KL17         Bore
                                                               S-GH44, S-
                                                                GH38, S-    Conventional
  I       VA      Franklin       I-046     273.09     217
                                                                IJ47, W-       Bore
                                                                  GH16
                                                                            Conventional
  I       VA      Franklin       I-048     274.37     62         S-G20
                                                                               Bore
                                                               S-H38, W-    Conventional
  I       VA      Franklin       I-053     277.13     169
                                                                  H17          Bore
                                                               S-H36, W-    Conventional
  I       VA      Franklin       I-055     277.58     84
                                                                  H16          Bore
                                                                            Conventional
  I       VA      Franklin       I-056     277.75     32         S-H34
                                                                               Bore
                                                                            Conventional
  I       VA      Franklin       I-057     277.96     46         S-H32
                                                                               Bore
                                                                            Conventional
  I       VA      Franklin       I-060B    278.5      82         S-A20
                                                                               Bore
                                                                            Conventional
  I       VA      Franklin      I-061A     278.93     52         S-A22
                                                                               Bore
                                                                            Conventional
  I       VA      Franklin       I-062     279.2      54        S-MM44
                                                                               Bore
                                                                            Conventional
  I       VA      Franklin       I-063     279.51     83        S-MM48
                                                                               Bore
                                                               S-H25, W-    Conventional
  I       VA      Franklin       I-064     279.9      31
                                                                  H9           Bore



                                           A-5
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                                                     Crossing   Waterbody
                                 Crossing                                       Crossing
Spread    State    County                    MP       Length    or Wetland
                                 Number                                          Type
                                                       (feet)    Crossed

                                                                               Conventional
  I       VA       Franklin       I-065     279.73     79         S-H24
                                                                                  Bore
                                                                               Conventional
  I       VA       Franklin       I-067     280.29     54         S-A13
                                                                                  Bore
                                                                               Conventional
  I       VA       Franklin      I-069A     280.88     61         S-A7
                                                                                  Bore
                                                                               Conventional
  I       VA       Franklin       I-070     281.45     51         S-SS8
                                                                                  Bore
                                                                               Conventional
  I       VA       Franklin       I-073     281.88     81         S-DD3
                                                                                  Bore
                                                                               Conventional
  I       VA       Franklin       I-074     282.04     53         S-G16
                                                                                  Bore
                                                                               Conventional
  I       VA       Franklin       I-076     282.78     42         S-G13
                                                                                  Bore
                                                                               Conventional
  I       VA      Pittsylvania    I-078     284.3      43         S-D23
                                                                                  Bore
                                                                               Conventional
  I       VA      Pittsylvania    I-080     284.48     54       S-D2, W-D3
                                                                                  Bore
                                                                               Conventional
  I       VA      Pittsylvania    I-085     286.03     44         S-A6
                                                                                  Bore
                                                                               Conventional
  I       VA      Pittsylvania    I-086     286.83     65         S-C7
                                                                                  Bore
                                                                               Conventional
  I       VA      Pittsylvania    I-087     289.58     126      S-C4, S-C3
                                                                                  Bore
                                                                               Conventional
  I       VA      Pittsylvania    I-091     291.71     74         S-G4
                                                                                  Bore
                                                                               Conventional
  I       VA      Pittsylvania    I-092     291.87     39         S-G3
                                                                                  Bore
                                                                               Conventional
  I       VA      Pittsylvania    I-093     292.11     52        S-CC16
                                                                                  Bore
                                                                  W-CC2-
                                                                   PEM,        Conventional
  I       VA      Pittsylvania    I-094     293.34     110
                                                                 SCC13, S-        Bore
                                                                   CC14
                                                                S-MM8, W-      Conventional
  I       VA      Pittsylvania    I-095     293.5      39
                                                                   MM5            Bore
                                                                               Conventional
  I       VA      Pittsylvania    I-096     293.62     33        S-CC15
                                                                                  Bore
                                                                S-CC8, S-      Conventional
  I       VA      Pittsylvania    I-097     294.2      78
                                                                  CC5             Bore
                                                                               Conventional
  I       VA      Pittsylvania   I-101A     295.03     35        W-MM9
                                                                                  Bore
                                                                               Conventional
  I       VA      Pittsylvania    I-103     295.28     47          S-P5
                                                                                  Bore



                                            A-6
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                                                          Crossing    Waterbody
                                   Crossing                                             Crossing
Spread     State      County                     MP        Length     or Wetland
                                   Number                                                Type
                                                            (feet)     Crossed

                                                                                      Conventional
    I       VA      Pittsylvania     I-105      296.1        48          S-Q4
                                                                                         Bore
                                                                                      Conventional
    I       VA      Pittsylvania    I-106A      296.36       51          S-Q2
                                                                                         Bore
                                                                                      Conventional
    I       VA      Pittsylvania    I-111A      298.32       33         S-DD4
                                                                                         Bore
                                                                                      Conventional
    I       VA      Pittsylvania     I-114      299.86      122       S-G2, W-G2
                                                                                         Bore
                                                                                      Conventional
    I       VA      Pittsylvania     I-115      300.53       40          S-B2
                                                                                         Bore
                                                                                      Conventional
    I       VA      Pittsylvania     I-116      300.92       40          S-H55
                                                                                         Bore
                                                                                      Conventional
    I       VA      Pittsylvania     I-117      301.13       56          S-H54
                                                                                         Bore
                                                                      S-EF26, W-
                                                                       IJ22-PFO,      Conventional
    I       VA      Pittsylvania     I-121      302.84      405
                                                                        W-IJ22-          Bore
                                                                          PEM
                                                                                      Conventional
    I       VA      Pittsylvania     I-122      302.89       68          S-H44
                                                                                         Bore
                                                                                      Conventional
    I       VA      Pittsylvania     I-123      303.16       43          S-H42
                                                                                         Bore
a        On April 27, 2021, Mountain Valley requested the Commission allow nighttime
         microtunneling activities at the Gauley River and Roanoke River. The Commission
         previously authorized Mountain Valley to change the crossing method to a microtunnel
         technique as part of our variance process. Therefore, only new impacts associated with
         Mountain Valley’s request to conduct 24-hour microtunneling activities at these locations
         are analyzed (see sections B.3.3 and B.6.2). As these waterbodies are also Section 10
         streams they are also discussed in section B.2.3.1.

b        Mountain Valley would utilize a conventional bore at the H-016 railroad crossing as
         authorized by the Certificate. Nighttime noise associated with conventional boring
         activities at this location are evaluated as part of the Amendment Project.




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                        Appendix B
                                                          Case: 24-3831               Document: 9-16                                         Filed: 10/04/2024                                Page: 128




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                                                                                                                                                                                                                         West Virginia
                                                           3 Mainline Block Valve                        Bradshaw Station
                                                                Surveyed Waterbody*              Certificated Meter Station Location
         Appendix B-1
                                                                Surveyed Wetland*                        Equitrans Mobley Intereconnect receipt
    Wetland and Waterbodies                                                                              Permanent Area of Disturbance
                                                                Certificated Route
 Proposed Trenchless Crossings                                  Existing Equitrans H-302 Line
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                                                                Laydown Yard
                      Page 1 of 33
                                                                Parking Area
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                                                                Rock Disposal
                        June 2021
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Data Sources: ESRI Streaming Data, 2020, ESRI, 2018,
Ventyx, 2014, USDA 2017, NPS 2017, ATC 2019, USGS 2019.

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Data Sources: ESRI Streaming Data, 2020, ESRI, 2018,
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 Proposed Trenchless Crossings                                  Additional Parking                                                                                                      (
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                      Page 3 of 33                                                                                                                                              (
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                        June 2021                                                                                                                                                                                                                        5
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Data Sources: ESRI Streaming Data, 2020, ESRI, 2018,
Ventyx, 2014, USDA 2017, NPS 2017, ATC 2019, USGS 2019.

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                      Page 5 of 33

                        June 2021
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Data Sources: ESRI Streaming Data, 2020, ESRI, 2018,
Ventyx, 2014, USDA 2017, NPS 2017, ATC 2019, USGS 2019.                                                                                                                                                                                           6
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Data Sources: ESRI Streaming Data, 2020, ESRI, 2018,
Ventyx, 2014, USDA 2017, NPS 2017, ATC 2019, USGS 2019.                                                                                                                                                                                                      7

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Data Sources: ESRI Streaming Data, 2020, ESRI, 2018,
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                     Page 13 of 33

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Data Sources: ESRI Streaming Data, 2020, ESRI, 2018,
Ventyx, 2014, USDA 2017, NPS 2017, ATC 2019, USGS 2019.

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Data Sources: ESRI Streaming Data, 2020, ESRI, 2018,
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                     Page 16 of 33
                                                                                    U.S. Forest Service (National Forest) Lands

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Data Sources: ESRI Streaming Data, 2020, ESRI, 2018,
Ventyx, 2014, USDA 2017, NPS 2017, ATC 2019, USGS 2019.
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Ventyx, 2014, USDA 2017, NPS 2017, ATC 2019, USGS 2019.

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Data Sources: ESRI Streaming Data, 2020, ESRI, 2018,
Ventyx, 2014, USDA 2017, NPS 2017, ATC 2019, USGS 2019.

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Data Sources: ESRI Streaming Data, 2020, ESRI, 2018,
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Data Sources: ESRI Streaming Data, 2020, ESRI, 2018,
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Ventyx, 2014, USDA 2017, NPS 2017, ATC 2019, USGS 2019.
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 Proposed Trenchless Crossings                                                                                                                                                                                                                    28



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                        June 2021                                                                                                                                                                                                           29
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Data Sources: ESRI Streaming Data, 2020, ESRI, 2018,
Ventyx, 2014, USDA 2017, NPS 2017, ATC 2019, USGS 2019.

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Ventyx, 2014, USDA 2017, NPS 2017, ATC 2019, USGS 2019.
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Data Sources: ESRI Streaming Data, 2020, ESRI, 2018,
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Data Sources: ESRI Streaming Data, 2020, ESRI, 2018,
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Mountain Valley Pipeline Project                           NAD 1983 UTM 17N                               1:24,000                                                                                                                                          Miles

                                                           Legend                                                                                                                                                                                                     30
                                                           XXX Proposed Trenchless Crossing Number

                                                            (
                                                            !   Milepost
                                                                                                                                                                                                 West Virginia                                                   31
                                                           3 Mainline Block Valve
                                                            )
                                                            "   Proposed Bore Pit
         Appendix B-1
                                                                Surveyed Waterbody*
    Wetland and Waterbodies                                                                                                                                                                                                                            32
                                                                Surveyed Wetland*
 Proposed Trenchless Crossings                                  Certificated Route
                                                                                                                                                                                                                                           33
                                                                Existing Transco Pipeline
                     Page 33 of 33
                                                           Certificated Meter Station Location
                                                                Transco Interconnect delivery Permanent Area
                        June 2021                               of Disturbance
                                                                                                                                                                                                     Virginia
Data Sources: ESRI Streaming Data, 2020, ESRI, 2018,
Ventyx, 2014, USDA 2017, NPS 2017, ATC 2019, USGS 2019.

                                                                                                                                                  *Surveys conducted prior to 10/15/20
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                        Appendix C
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                                             Appendix C

Construction, Restoration, and Mitigation Plans for the Mountain Valley Pipeline
                        Project and Amendment Project
Title                                               Location
Adopted the FERC Plan                               https://www.ferc.gov/industries-data/natural-
                                                    gas/environment/environmental-guidelines.
Modifications from the FERC Procedures              https://www.ferc.gov/industries-data/natural-
                                                    gas/environment/environmental-guidelines.
                                                    Modifications discussed in the FEIS.
Erosion and Sediment Control Plans                  Mountain Valley’s supplemental filing (Appendix
                                                    C) filed December 6, 2017 (accession number
                                                    20171206-5004).
Karst Hazards Assessment Report                     Mountain Valley’s supplemental filing
                                                    (Attachment RR2-4a) filed October 14, 2016
                                                    (accession number 20161014-5022).
Karst Mitigation Plan                               Mountain Valley’s Implementation Plan
                                                    (Attachment IP-20) filed November 1, 2017
                                                    (accession number 20171101-5042).
Karst-Specific Erosion and Sediment Control         Mountain Valley’s supplemental filing filed
Plan                                                February 26, 2016 (accession number 20160226-
                                                    5404).
Landslide Mitigation Plan                           Mountain Valley’s Implementation Plan
                                                    (Attachment IP-19) filed November 1, 2017
                                                    (accession number 20171101-5042).
Water Resources Identification and Testing Plan     Mountain Valley’s Implementation Plan
                                                    (Attachment IP-21) filed November 1, 2017
                                                    (accession number 20171101-5042).
Vertical Scour and Lateral Channel Erosion          Mountain Valley’s variance request MVP-006
Analysis                                            and H-9 filed September 21, 2018 (accession
                                                    number 20180921-5228).
Site-Specific Residential Construction and          Mountain Valley’s supplemental filing
Mitigation Plans                                    (Attachment D) filed May 3, 2018 (accession
                                                    number 20180503-5127).
Organic Farm Protection Plan                        Mountain Valley’s filing on July 23, 2019
                                                    (accession number 20190723-5152).
Spill Prevention, Control, and Countermeasures      Mountain Valley’s supplemental filing
Plan (SPCCP) and Unanticipated Discovery of         (Attachment DR5 General 1e-1 and General 1e-2)
Contamination Plan for Construction Activities in   filed March 30, 2017 (accession number
West Virginia and Virginia                          20170330-5339).




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Title                                                 Location
General Blasting Plan                                 Mountain Valley’s variance request MVP-1 filed
                                                      March 27, 2018 (accession number 20180327-
                                                      5029).
Compensatory Wetland Mitigation Plan                  Mountain Valley’s supplemental filing
                                                      (Attachments General 1e-1, 1e-2, and 1e-3) filed
                                                      February 26, 2016 (accession number 20160226-
                                                      5404).
Migratory Bird Conservation Plan                      Mountain Valley’s supplemental filing
                                                      (Attachment DR5 General 1b1) filed May 11,
                                                      2017 (accession number 20170511-5018).
Exotic and Invasive Species Control Plan              Mountain Valley’s supplemental filing
                                                      (Attachment DR3 Vegetation-5) filed July 18,
                                                      2016 (accession number 20160718-5161).
Traffic and Transportation Management Plan            Mountain Valley’s variance request H-9 and
                                                      MVP-006 filed September 21, 2018 (accession
                                                      number 20180921-5229).
Fire Prevention and Suppression Plan                  Mountain Valley’s supplemental filing
                                                      (Attachment RR1-4) filed January 15, 2016
                                                      (accession number 20160119-5076).
Mining Area Construction Plan                         Mountain Valley’s supplemental filing
                                                      (Attachment DR2 General-5b) filed April 21,
                                                      2016 (accession number 20160422-5012).
Avoidance Plans filed July 18, 2016.                  N/A
Individual Site Testing Plans for West Virginia
included in county survey reports, variously filed.
Testing Plans for Virginia archaeological sites
filed July 22, 2016.
Treatment Plans, variously filed.
Plan for Unanticipated Historic Properties and        Mountain Valley’s supplemental filing (Appendix
Human Remains                                         O) filed December 6, 2017 (accession number
                                                      20171206-5004).
Plan for Unanticipated Discovery of                   Mountain Valley’s supplemental filing
Paleontological Resources                             (Attachment 1-m) filed January 15, 2016
                                                      (accession number 20160119-5076).
Fugitive Dust Control Plan                            Mountain Valley’s supplemental filing
                                                      (Attachment 1-g) filed January 15, 2016
                                                      (accession number 20160119-5076).
Winter Construction Plan                              Mountain Valley’s supplemental filing
                                                      (Attachment RR1-30) filed January 15, 2016
                                                      (accession number 20160119-5076).




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Title                                                Location
Plan of Development (POD)a/                          https://eplanning.blm.gov/eplanning-
                                                     ui/project/2000356/570.
Unanticipated Mine Pool Mitigation Plan              Mountain Valley’s supplemental filing
                                                     (Attachment DR4 Geology 12) filed February 17,
                                                     2017 (accession number 20170217-5199).
Stormwater Pollution Prevention Plan (SWPPP)         Mountain Valley’s supplemental filing (Appendix
                                                     F of Attachment F) filed June 24, 2016 (accession
                                                     number 20160624-5244).
Annual Standards and Specifications for Virginia     https://www.mountainvalleypipeline.info/wp-
                                                     content/uploads/2020/12/Mountain-Valley-
                                                     Pipeline-LLC-ASS-January-2020_Revised-
                                                     APRIL-2020-V4.pdf.
Acid Forming Materials Mitigation Plan               Mountain Valley’s supplemental filing
                                                     (Attachment DR5 General 1c) filed May 9, 2017
                                                     (accession number 20170509-5108).
Habitat Mitigation Plan                              Mountain Valley’s supplemental filing
                                                     (Attachment DR5 Vegetation) filed May 11, 2017
                                                     (accession number 20170511-5018).
Direct Pipe® and Horizontal Directional Drilling     Mountain Valley’s supplemental filing filed
Contingency Plan                                     January 16, 2019 (accession number 20190116-
                                                     5132).
N/A = Not Applicable
The table has been updated to reflect, as necessary, revisions and updates to plans since issuance of the
FEIS.
a       The Amendment Project would not impact U.S. Forest Service lands.




                                                   C-3
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                        Appendix D
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                                                  Appendix D

                                   Estimated Bore Pit Spoil Volumes
                                Bore Pit #1                                        Bore Pit #2

 Crossing      Bore     Bore                                      Bore     Bore
                                  Bore        Bore     Bore                          Bore        Bore     Bore
 Number         Pit      Pit                                       Pit      Pit
                                   Pit         Pit      Pit                           Pit         Pit      Pit
              Depth,   Depth,                                    Depth,   Depth,
                                 Length       Width   Volume                        Length       Width   Volume
               Face    Back                                       Face    Back
  A-008        19 ft    29 ft     55 ft       16 ft    785 cy     22 ft    29 ft      29 ft      16 ft    440 cy
   B-012       17 ft    24 ft     35 ft       16 ft    430 cy     17 ft    17 ft      55 ft      16 ft    555 cy
  B-015A       22 ft    25 ft     46 ft       16 ft    645 cy     19 ft    20 ft      39 ft      16 ft    455 cy
  C-013A       18 ft    24 ft     55 ft       16 ft    685 cy     19 ft    18 ft      60 ft      16 ft    660 cy
   C-018       16 ft    29 ft     35 ft       16 ft    470 cy     16 ft    17 ft      55 ft      16 ft    540 cy
   C-022       40 ft    44 ft     60 ft       20 ft   1,870 cy    35 ft    49 ft      40 ft      20 ft   1,245 cy
   C-024       14 ft    14 ft     55 ft       16 ft    460 cy     18 ft    15 ft      60 ft      16 ft    590 cy
   C-028       21 ft    22 ft     35 ft       16 ft    450 cy     11 ft     5 ft      55 ft      16 ft    265 cy
   C-035       11 ft    13 ft     35 ft       16 ft    250 cy     16 ft    15 ft      55 ft      16 ft    510 cy
  D-004        13 ft    15 ft     55 ft       16 ft    460 cy     16 ft    20 ft      35 ft      16 ft    375 cy
  D-010        17 ft    17 ft     55 ft       16 ft    555 cy     20 ft    27 ft      35 ft      16 ft    490 cy
  D-011        13 ft    15 ft     35 ft       16 ft    295 cy     11 ft    11 ft      55 ft      16 ft    360 cy
  D-012        15 ft    15 ft     55 ft       16 ft    490 cy     18 ft    19 ft      35 ft      16 ft    385 cy
  D-019        15 ft    18 ft     55 ft       16 ft    540 cy     17 ft    15 ft      35 ft      16 ft    335 cy
  D-020        14 ft    19 ft     35 ft       16 ft    345 cy     13 ft    15 ft      55 ft      16 ft    460 cy
  D-022        16 ft    21 ft     55 ft       16 ft    605 cy     18 ft    23 ft      35 ft      16 ft    430 cy
  D-028        13 ft    22 ft     55 ft       16 ft    575 cy     17 ft    22 ft      35 ft      16 ft    405 cy
  D-034        13 ft    17 ft     55 ft       16 ft    490 cy     13 ft    23 ft      35 ft      16 ft    375 cy
  D-035        16 ft    17 ft     35 ft       16 ft    345 cy     13 ft    14 ft      55 ft      16 ft    440 cy
  D-036        12 ft    18 ft     55 ft       16 ft    490 cy     13 ft    20 ft      35 ft      16 ft    345 cy
  D-037        13 ft    19 ft     35 ft       16 ft    335 cy     13 ft    14 ft      55 ft      16 ft    440 cy
  D-038        13 ft    19 ft     35 ft       16 ft    335 cy     12 ft    13 ft      55 ft      16 ft    410 cy
  D-040        13 ft    12 ft     55 ft       16 ft    410 cy     12 ft    14 ft      35 ft      16 ft    270 cy
  D-041
               40 ft    57 ft     50 ft       20 ft   1,800 cy    42 ft    56 ft      60 ft      20 ft   2,180 cy
(Gauley R.)
  D-048        11 ft    15 ft     55 ft       16 ft   425 cy      12 ft    15 ft      35 ft      16 ft   280 cy
   E-005       12 ft    18 ft     35 ft       16 ft   315 cy      15 ft    23 ft      55 ft      16 ft   620 cy
   E-009       16 ft    17 ft     35 ft       16 ft   345 cy      16 ft     9 ft      55 ft      16 ft   410 cy
   E-012       15 ft    18 ft     55 ft       16 ft   540 cy      32 ft    37 ft      35 ft      16 ft   720 cy
   E-015       11 ft    15 ft     55 ft       16 ft   425 cy      12 ft    18 ft      35 ft      16 ft   315 cy
   F-014       13 ft    14 ft     35 ft       16 ft   280 cy      13 ft    15 ft      55 ft      16 ft   460 cy
   F-015       14 ft    15 ft     35 ft       16 ft   305 cy      14 ft    14 ft      55 ft      16 ft   460 cy
   F-016       15 ft    15 ft     55 ft       16 ft   490 cy      12 ft    12 ft      35 ft      16 ft   250 cy



                                                      D-1
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                             Bore Pit #1                                        Bore Pit #2

Crossing    Bore     Bore                                      Bore     Bore
                               Bore        Bore     Bore                          Bore        Bore     Bore
Number       Pit      Pit                                       Pit      Pit
                                Pit         Pit      Pit                           Pit         Pit      Pit
           Depth,   Depth,                                    Depth,   Depth,
                              Length       Width   Volume                        Length       Width   Volume
            Face    Back                                       Face    Back
  F-017     14 ft    16 ft     35 ft       16 ft    315 cy     14 ft    15 ft      55 ft      16 ft    475 cy
  F-021     10 ft    10 ft     20 ft       20 ft    150 cy     13 ft    13 ft      80 ft      20 ft    775 cy
  F-022     13 ft    11 ft     55 ft       16 ft    395 cy     14 ft    18 ft      35 ft      16 ft    335 cy
  F-027      9 ft    16 ft     35 ft       16 ft    260 cy     16 ft    19 ft      55 ft      16 ft    575 cy
  F-032     13 ft    18 ft     55 ft       16 ft    510 cy     13 ft    19 ft      35 ft      16 ft    335 cy
  F-039     14 ft    19 ft     35 ft       16 ft    345 cy     17 ft    15 ft      55 ft      16 ft    525 cy
 G-009      21 ft    26 ft     20 ft       15 ft    265 cy     18 ft    30 ft      50 ft      20 ft    890 cy
 G-010      13 ft    17 ft     20 ft       15 ft    170 cy     10 ft    10 ft      40 ft      20 ft    300 cy
 G-011      16 ft    27 ft     20 ft       15 ft    240 cy     12 ft    17 ft      40 ft      20 ft    430 cy
 G-012      12 ft    19 ft     50 ft       20 ft    575 cy     10 ft    10 ft      20 ft      15 ft    115 cy
 G-013      16 ft    15 ft     60 ft       20 ft    690 cy     21 ft    23 ft      45 ft      15 ft    550 cy
 G-014       9 ft    15 ft     60 ft       20 ft    535 cy      9 ft    12 ft      20 ft      15 ft    120 cy
 G-017      11 ft    11 ft     20 ft       15 ft    125 cy     24 ft    37 ft      60 ft      20 ft   1,360 cy
 G-019B     13 ft    14 ft     20 ft       15 ft    150 cy     13 ft    19 ft      30 ft      20 ft    360 cy
 G-023      15 ft    25 ft     20 ft       20 ft    300 cy     23 ft    22 ft      60 ft      20 ft   1,000 cy
 G-024      15 ft    27 ft     40 ft       20 ft    625 cy     23 ft    28 ft      20 ft      15 ft    285 cy
 H-009       9 ft    10 ft     40 ft       25 ft    355 cy     10 ft    11 ft      40 ft      25 ft    390 cy
 H-015      23 ft    26 ft     55 ft       25 ft   1,250 cy    16 ft    16 ft      55 ft      25 ft    815 cy
 H-016       9 ft    5 ft      60 ft       16 ft    250 cy     19 ft    21 ft      40 ft      16 ft    475 cy
 H-017      19 ft    30 ft     40 ft       20 ft    730 cy     23 ft    39 ft      40 ft      20 ft    920 cy
 H-019
(Roanoke    26 ft    31 ft     50 ft       20 ft   1,060 cy    22 ft    22 ft      60 ft      20 ft   980 cy
   R.)
 H-020      12 ft    12 ft     40 ft       20 ft    360 cy     14 ft    16 ft      40 ft      20 ft    445 cy
 H-021      11 ft    10 ft     50 ft       25 ft    490 cy      9 ft    10 ft      50 ft      25 ft    440 cy
 H-022      12 ft    12 ft     60 ft       25 ft    670 cy     11 ft    10 ft      50 ft      25 ft    490 cy
 H-030      20 ft    27 ft     50 ft       25 ft   1,090 cy    13 ft    15 ft      60 ft      25 ft    780 cy
 H-031      17 ft    18 ft     45 ft       25 ft    730 cy     14 ft    28 ft      60 ft      25 ft   1,170 cy
 H-032      14 ft    19 ft     65 ft       25 ft    995 cy     15 ft    22 ft      50 ft      25 ft    860 cy
 H-040      12 ft    14 ft     60 ft       25 ft    725 cy     12 ft    21 ft      50 ft      25 ft    765 cy
 H-042      15 ft    17 ft     60 ft       25 ft    890 cy     15 ft    22 ft      50 ft      20 ft    690 cy
 H-043      18 ft    20 ft     50 ft       25 ft    880 cy     16 ft    25 ft      50 ft      25 ft    950 cy
 H-044      15 ft    20 ft     25 ft       25 ft    410 cy     13 ft    21 ft      30 ft      25 ft    475 cy
 H-045      18 ft    24 ft     50 ft       25 ft    975 cy     14 ft    30 ft      50 ft      25 ft   1,020 cy
 H-046      21 ft    25 ft     35 ft       25 ft    750 cy     13 ft    23 ft      50 ft      25 ft    835 cy
 H-047A     12 ft    14 ft     60 ft       25 ft    725 cy     13 ft    10 ft      77 ft      25 ft    820 cy
 H-048A     10 ft    10 ft     60 ft       25 ft    560 cy     11 ft    11 ft      50 ft      25 ft    510 cy


                                                   D-2
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                             Bore Pit #1                                        Bore Pit #2

Crossing    Bore     Bore                                      Bore     Bore
                               Bore        Bore     Bore                          Bore        Bore     Bore
Number       Pit      Pit                                       Pit      Pit
                                Pit         Pit      Pit                           Pit         Pit      Pit
           Depth,   Depth,                                    Depth,   Depth,
                              Length       Width   Volume                        Length       Width   Volume
            Face    Back                                       Face    Back
 H-054      14 ft    14 ft     50 ft       25 ft    650 cy     14 ft    22 ft      65 ft      25 ft   1,085 cy
 H-060      12 ft    15 ft     60 ft       25 ft    750 cy     11 ft    15 ft      45 ft      25 ft    545 cy
I-001A      12 ft    14 ft     60 ft       20 ft    580 cy     12 ft    14 ft      50 ft      20 ft    485 cy
 I-009      16 ft    16 ft     60 ft       20 ft    715 cy     18 ft    20 ft      50 ft      20 ft    705 cy
 I-014      15 ft    20 ft     50 ft       20 ft    650 cy     13 ft    16 ft      60 ft      20 ft    645 cy
 I-016      11 ft    10 ft     50 ft       20 ft    390 cy     10 ft     9 ft      60 ft      20 ft    425 cy
 I-020      12 ft    16 ft     60 ft       20 ft    625 cy     12 ft    14 ft      50 ft      20 ft    485 cy
 I-021      12 ft    17 ft     60 ft       20 ft    645 cy     12 ft    16 ft      50 ft      20 ft    520 cy
 I-034      13 ft    8 ft      50 ft       20 ft    390 cy     17 ft    17 ft      60 ft      20 ft    760 cy
 I-038      11 ft    4 ft      50 ft       20 ft    280 cy     12 ft    16 ft      50 ft      20 ft    520 cy
 I-039      12 ft    20 ft     50 ft       20 ft    595 cy     12 ft    15 ft      60 ft      20 ft    600 cy
 I-040      10 ft    11 ft     60 ft       20 ft    470 cy     12 ft    17 ft      50 ft      20 ft    540 cy
 I-042      15 ft    20 ft     50 ft       20 ft    650 cy     12 ft    11 ft      60 ft      20 ft    515 cy
I-044A      14 ft    19 ft     60 ft       20 ft    735 cy     14 ft    11 ft      50 ft      20 ft    465 cy
 I-046      10 ft    10 ft     60 ft       20 ft    445 cy     16 ft    20 ft      50 ft      20 ft    670 cy
 I-048      12 ft    15 ft     60 ft       20 ft    600 cy     12 ft    14 ft      50 ft      20 ft    485 cy
 I-053      19 ft    22 ft     50 ft       20 ft    760 cy     15 ft    19 ft      60 ft      20 ft    760 cy
 I-055      17 ft    30 ft     50 ft       20 ft    875 cy     10 ft    21 ft      60 ft      20 ft    690 cy
 I-056      12 ft    16 ft     60 ft       20 ft    625 cy     11 ft    24 ft      50 ft      20 ft    650 cy
 I-057      14 ft    26 ft     50 ft       20 ft    745 cy     12 ft    20 ft      60 ft      20 ft    715 cy
I-060B      13 ft    17 ft     50 ft       30 ft    835 cy     24 ft    39 ft      60 ft      20 ft   1,400 cy
I-061A      13 ft    16 ft     37 ft       20 ft    400 cy     12 ft    16 ft      60 ft      20 ft    625 cy
 I-062      22 ft    36 ft     50 ft       20 ft   1,075 cy    10 ft    11 ft      60 ft      20 ft    470 cy
 I-063      17 ft    29 ft     50 ft       20 ft    855 cy     10 ft    17 ft      60 ft      20 ft    600 cy
 I-065      12 ft    20 ft     60 ft       20 ft    715 cy     12 ft    26 ft      50 ft      20 ft    705 cy
 I-064      15 ft    28 ft     60 ft       20 ft    960 cy     16 ft    27 ft      50 ft      20 ft    800 cy
 I-067      13 ft    20 ft     50 ft       20 ft    615 cy     13 ft    19 ft      60 ft      20 ft    715 cy
I-069A      12 ft    19 ft     60 ft       20 ft    690 cy     16 ft    16 ft      50 ft      20 ft    595 cy
 I-070      14 ft    26 ft     50 ft       20 ft    745 cy     16 ft    27 ft      60 ft      20 ft    960 cy
 I-073      13 ft    13 ft     60 ft       20 ft    580 cy     12 ft    16 ft      50 ft      20 ft    520 cy
 I-074      16 ft    31 ft     50 ft       20 ft    875 cy     13 ft    18 ft      60 ft      20 ft    690 cy
 I-076      13 ft    20 ft     60 ft       20 ft    735 cy     17 ft    26 ft      50 ft      20 ft    800 cy
 I-078      11 ft    16 ft     60 ft       20 ft    600 cy     10 ft    14 ft      50 ft      20 ft    445 cy
 I-080      13 ft    13 ft     50 ft       20 ft    485 cy     12 ft    19 ft      60 ft      20 ft    690 cy
 I-085      12 ft    22 ft     60 ft       20 ft    760 cy     10 ft    17 ft      50 ft      20 ft    500 cy
 I-086      14 ft    19 ft     60 ft       20 ft    735 cy     15 ft    16 ft      50 ft      20 ft    575 cy



                                                   D-3
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                                      Bore Pit #1                                       Bore Pit #2

 Crossing       Bore       Bore                                        Bore     Bore
                                        Bore        Bore     Bore                         Bore        Bore     Bore
 Number          Pit        Pit                                         Pit      Pit
                                         Pit         Pit      Pit                          Pit         Pit      Pit
               Depth,     Depth,                                      Depth,   Depth,
                                       Length       Width   Volume                       Length       Width   Volume
                Face      Back                                         Face    Back
   I-087        15 ft         15 ft     60 ft       20 ft   670 cy     14 ft    27 ft      50 ft      20 ft   760 cy
   I-091        20 ft         32 ft     50 ft       20 ft   965 cy     13 ft    13 ft      60 ft      20 ft   580 cy
   I-092        12 ft         19 ft     60 ft       20 ft   690 cy     13 ft    20 ft      50 ft      20 ft   615 cy
   I-093        11 ft         15 ft     60 ft       20 ft   580 cy     11 ft    16 ft      50 ft      20 ft   500 cy
   I-094        17 ft         23 ft     60 ft       20 ft   890 cy     15 ft    21 ft      50 ft      20 ft   670 cy
   I-095        12 ft         17 ft     60 ft       20 ft   645 cy     12 ft    19 ft      50 ft      20 ft   575 cy
   I-096        11 ft         18 ft     50 ft       20 ft   540 cy     10 ft    16 ft      60 ft      20 ft   580 cy
   I-097        11 ft         12 ft     60 ft       20 ft   515 cy     14 ft    14 ft      50 ft      20 ft   520 cy
  I-101A        10 ft         18 ft     60 ft       20 ft   625 cy      9 ft    16 ft      49 ft      20 ft   455 cy
   I-103         8 ft         3 ft      50 ft       20 ft   205 cy     10 ft    11 ft      60 ft      20 ft   470 cy
   I-105        14 ft         19 ft     60 ft       20 ft   735 cy     13 ft    19 ft      50 ft      20 ft   595 cy
  I-106A        16 ft         15 ft     49 ft       20 ft   565 cy     12 ft    14 ft      60 ft      20 ft   580 cy
  I-111A        12 ft         15 ft     60 ft       20 ft   600 cy     12 ft    14 ft      50 ft      20 ft   485 cy
   I-114        12 ft         19 ft     60 ft       20 ft   690 cy     11 ft    21 ft      50 ft      20 ft   595 cy
   I-115        11 ft         18 ft     50 ft       20 ft   540 cy     10 ft    17 ft      60 ft      20 ft   600 cy
   I-116        11 ft         16 ft     50 ft       20 ft   500 cy     10 ft    11 ft      60 ft      20 ft   470 cy
   I-117        13 ft         15 ft     50 ft       20 ft   520 cy     13 ft    16 ft      60 ft      20 ft   645 cy
   I-121        16 ft         19 ft     50 ft       20 ft   650 cy     15 ft    19 ft      60 ft      20 ft   760 cy
   I-122        13 ft         14 ft     60 ft       20 ft   600 cy     13 ft    17 ft      50 ft      20 ft   560 cy
   I-123        16 ft         23 ft     50 ft       20 ft   725 cy     13 ft    17 ft      60 ft      20 ft   670 cy
ft = feet, cy = cubic yards




                                                            D-4
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                        Appendix E
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                                                                                   Appendix E

            Bore Pit Underlying Geology, Depths, Aquifer Characteristics, Duration, and Estimated Groundwater Drawdown
                                                SSURGO                                                                                                             (R0)
                                                            Depth of                                                                                                        Drawdown
                                                Estimated              Saturated      Bore      Hydraulic     Saturated                              Pumping     Radius
Crossing              Underlying   Underlying               Bore Pit                                                      Transmissivity                                     at 150 ft
           Milepost                             Depth to               Pit Depth    Duration   Conductivity   Thickness                    Storage     Rate         of
Number                Rock Type    Formation                Analyzed                                                        (ft b/day)                                      from Bore
                                                 Bedrock                 (ft) b/     (days)      (ft/day)        (ft)                                (gpm) c/   Influence
                                                             (ft) a/                                                                                                          Pit (ft)
                                                   (ft)                                                                                                           (ft) d/
                                    Greene,
 A‐008       6.56     sandstone                    5.8        22          16          11            1            50            50           0.12       16         102           0
                                   Washington

                                   Uniontown,
 B‐012      58.53     sandstone                    >7         17          11          17            1            50            50           0.12       10         126           0
                                    Pittsburg

                                   Casselman,
B‐015A      61.21       Shale                      6.3        22          16          18            1            50            50           0.12       14         130           0
                                   Glenshaw

C‐013A       81.6     Sandstone     Kanawha        6.3        19          13          27            1            50            50           0.12       10         159          0.2
 C‐018      82.28     Sandstone     Kanawha        >7         16          10          15            1            50            50           0.12        9         119           0
 C‐022      87.33     Sandstone    New River       >7         40          34          79            1            50            50           0.12       22         272           7
 C‐024      87.32     Sandstone    New River       >7         15          9           36            1            50            50           0.12        7         184          0.8

                                   Casselman,
 C‐028      89.56       Shale                      >7         21          15          26            1            50            50           0.12       12         156         <0.1
                                   Glenshaw

 C‐035      95.45     Sandstone    Allegheny       >7         15          9           28            1            50            50           0.12        7         162          0.5
 D‐004     106.35     Sandstone     Kanawha        >7         16          10          13            1            50            50           0.12       10         110           0
 D‐010     109.94     Sandstone     Kanawha        >7         20          14          18            1            50            50           0.12       13         130           0
 D‐011       111      Sandstone     Kanawha        >7         13          7           18           20            7             140          0.21       15         164          0.5
 D‐012     111.09     Sandstone     Kanawha        >7         18          12          17            1            50            50           0.12       11         126           0
 D‐019     113.11     Sandstone     Kanawha        >7         15          9           24            1            50            50           0.12        7         212           1
 D‐020     113.39     Sandstone     Kanawha        >7         14          8           20           20            8             160          0.21       19         185          0.8
 D‐022     114.17     Sandstone     Kanawha        >7         18          12          16            1            50            50           0.12       11         122           0
 D‐028     114.95     Sandstone     Kanawha        >7         17          11          14            1            50            50           0.12       11         115           0
 D‐034     116.69     Sandstone     Kanawha        6          13          7           12            1            50            50           0.12        7         106           0
 D‐035     117.02     Sandstone     Kanawha        4.7        16          10           9            1            50            50           0.12       11          92           0
 D‐036      117.1     Sandstone     Kanawha        >7         13          7           17           20            7             140          0.21       15         160          0.5
 D‐037     117.28     Sandstone     Kanawha        >7         13          7            9           20            7             140          0.21       18         116           0
 D‐038      117.4     Sandstone     Kanawha        >7         13          7            9           20            7             140          0.21       18         116           0
 D‐040     118.24     Sandstone     Kanawha        >7         12          10           7           20            10            200          0.21       35         122           0


                                                                                        E-1
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                                                    SSURGO                                                                                                            (R0)
                                                                Depth of                                                                                                       Drawdown
                                                    Estimated              Saturated     Bore      Hydraulic     Saturated                              Pumping     Radius
Crossing              Underlying     Underlying                 Bore Pit                                                     Transmissivity                                     at 150 ft
           Milepost                                 Depth to               Pit Depth   Duration   Conductivity   Thickness                    Storage     Rate         of
Number                Rock Type      Formation                  Analyzed                                                       (ft b/day)                                      from Bore
                                                     Bedrock                 (ft) b/    (days)      (ft/day)        (ft)                                (gpm) c/   Influence
                                                                 (ft) a/                                                                                                         Pit (ft)
                                                       (ft)                                                                                                          (ft) d/
 D‐041      118.9     Sandstone       Kanawha          >7         42          36         78            1            50            50           0.12       21         270           8
 D‐048     122.55     Sandstone       Kanawha          >7         12          10          7           20            10            200          0.21       35         122           0
 E‐005     132.36     Sandstone      New River         4.7        15          9          11            1            50            50           0.12       10         102           0
 E‐009     136.72     sandstone      New River         >7         16          10         23            1            50            50           0.12        8         147           0
 E‐012     140.44     Sandstone      New River         >7         32          26         17            1            50            50           0.12       23         126           0
 E‐015     141.17     Sandstone      New River         >7         12          10          9           20            10            200          0.21       34         139           0

                        shale /
 F‐014     169.76                     Bluefield        >7         13          7          31           20            7             140          0.21       13         216          1.4
                      sandstone

                        shale /
 F‐015     169.78                     Bluefield        >7         14          8          14           20            8             160          0.21       20         155           0
                      sandstone

                        shale /
 F‐016     169.81                     Bluefield        >7         15          9          14            1            50            50           0.12        9         115           0
                      sandstone

                        shale /
 F‐017     169.84                     Bluefield        >7         14          8          16           20            8             160          0.21       20         166          0.5
                      sandstone

                        shale /
 F‐021     171.44                     Bluefield        >7         13          7          103          20            7             140          0.21       11         393          2.5
                      sandstone

                        shale /
 F‐022     171.77                     Bluefield        >7         14          8          12           20            8             160          0.21       21         143           0
                      sandstone

                        shale /
 F‐027     173.14                     Bluefield        >7         16          10          8            1            50            50           0.12       11          87           0
                      sandstone

                        shale /
 F‐032     184.08                     Bluefield        3.4        13          7           9            1            50            50           0.01        7          92           0
                      sandstone

                        shale /
 F‐039     190.03                     Bluefield        3.4        15          9          10            1            50            50           0.12       11          97           0
                      sandstone

                      silt, shale,
 G‐009     203.59                    Martinsburg       0          21          15         18            1            50            50           0.12       0.7        101           0
                          sand

                      silt, shale,
 G‐010     203.71                    Martinsburg       0          13          7           6            1            50            50           0.01        9          75           0
                          sand

                      silt, shale,
 G‐011     203.88                    Martinsburg       0          16          10         10            1            50            50           0.12       10          97           0
                          sand

                      silt, shale,
 G‐012       204                     Martinsburg       >7         12          10          8           20            10            200          0.21       35         131           0
                          sand




                                                                                           E-2
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                                                     SSURGO                                                                                                            (R0)
                                                                 Depth of                                                                                                       Drawdown
                                                     Estimated              Saturated     Bore      Hydraulic     Saturated                              Pumping     Radius
Crossing               Underlying     Underlying                 Bore Pit                                                     Transmissivity                                     at 150 ft
           Milepost                                  Depth to               Pit Depth   Duration   Conductivity   Thickness                    Storage     Rate         of
Number                 Rock Type      Formation                  Analyzed                                                       (ft b/day)                                      from Bore
                                                      Bedrock                 (ft) b/    (days)      (ft/day)        (ft)                                (gpm) c/   Influence
                                                                  (ft) a/                                                                                                         Pit (ft)
                                                        (ft)                                                                                                          (ft) d/
                       silt, shale,
 G‐013     204.34                     Martinsburg       >7         21          15         33            1            50            50           0.12       11         176          0.7
                           sand

                       silt, shale,
 G‐014     204.35                     Martinsburg       >7          9          7           9           20            7             140          0.21       19         116           0
                           sand

 G‐017     206.59     dolomite (k)    Undivided         6.8        24          18         33           0.1           50             5           0.14       1.5         51           0
                       silt, shale,
G‐019B      207.9                     Martinsburg       >7         13          7          72           20            7             140          0.21       12         329          2.5
                           sand

 G‐023     211.17     limestone (k)   Undivided         >7         22          16         25           0.1           50             5           0.14        2          45           0
 G‐024       213      dolomite (k)     Honaker          >7         23          17         18           0.1           50             5           0.14        2          38           0
                                      Millboro /
 H‐009     229.48         shale                         3.2        10          8           8            1            50            50           0.01        9          87           0
                                      Needmore

                          shale /
 H‐015     230.55                       Bralier         3.2        23          17         13            1            50            50           0.12       18          87           0
                        sandstone

 H‐016      230.8         shale         Bralier         3.2        19          13         42            1            50            50           0.12       23         198           3

                      dolomite/lime
 H‐017     234.15                      Elbrook          >7         23          17         34           0.1           50             5           0.14       1.5         52           0
                           (k)

                      dolomite/lime
 H‐019      235.4                      Elbrook          >7         26          20         36           0.05          50             5           0.14       3.5         54           0
                           (k)

                      dolomite/lime
 H‐020     235.58                      Elbrook          >7         14          8          39           20            8             160          0.21       17         259          1.5
                           (k)

 H‐021      235.9         shale         Rome            >7         10          8           7           20            8             160          0.21       25         110           0
 H‐022      235.9         shale         Rome            >7         12          10         13           20            10            200          0.21       31         167          0.5
                                       Pyroxene
 H‐030     241.93       granulite                       5.3        20          14          8           0.05          50            2.5          0.01       0.9         67           0
                                       Granulite

                                       Pyroxene
 H‐031     242.06       granulite                       5.3        17          11         62           0.05          50            2.5          0.01       0.4        187          1.5
                                       Granulite

                                       Pyroxene
 H‐032     242.28       granulite                       5.3        15          9          13           0.05          50            2.5          0.01       0.5         86           0
                                       Granulite

                                       Pyroxene
 H‐040     243.55       granulite                       >7         12          10         19           20            10            200          0.21       28         202          0.8
                                       Granulite

                        granitic
 H‐042     243.83                     Charnockite       4.8        15          9          22           0.05          50            2.5          0.01       0.45       111           0
                         gneiss




                                                                                            E-3
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                                                     SSURGO                                                                                                            (R0)
                                                                 Depth of                                                                                                       Drawdown
                                                     Estimated              Saturated     Bore      Hydraulic     Saturated                              Pumping     Radius
Crossing              Underlying       Underlying                Bore Pit                                                     Transmissivity                                     at 150 ft
           Milepost                                  Depth to               Pit Depth   Duration   Conductivity   Thickness                    Storage     Rate         of
Number                Rock Type        Formation                 Analyzed                                                       (ft b/day)                                      from Bore
                                                      Bedrock                 (ft) b/    (days)      (ft/day)        (ft)                                (gpm) c/   Influence
                                                                  (ft) a/                                                                                                         Pit (ft)
                                                        (ft)                                                                                                          (ft) d/
                        granitic
 H‐043     243.97                      Charnockite      5.5        18          12         14           0.05          50            2.5          0.01       0.6         89           0
                         gneiss

                        granitic
 H‐044      244.5                      Charnockite      5.3        15          9          10           0.05          50            2.5          0.01       0.6         75           0
                         gneiss

                        granitic
 H‐045      244.7                      Charockite       5.3        18          12         33           0.05          50            2.5          0.01       0.5        136           0
                         gneiss

                        granitic
 H‐046     245.05                      Charockite       5.3        21          15         18           0.05          50            2.5          0.01       0.7        101           0
                         gneiss

                        granitic
H‐047A     245.64                      Charnockite      5.3        12          10         30           0.05          50            2.5          0.01       0.45       130           0
                         gneiss

                        granitic
H‐048A      245.8                      Charnockite      5.3        11          9          25            1            50            50           0.01       0.4        119           0
                         gneiss

                       granulite /       Biotite
 H‐054     248.81                                       4.8        14          8          10           0.05          50            2.5          0.01       0.6         75           0
                         gneiss          Gneiss

                        granitic
 H‐060     252.35                      Charnockite      >7         12          10          8           20            10            200          0.21       35         131           0
                         gneiss

                                         Augen
 I‐001A    258.23     felsic gneiss                     >7         12          10          8           20            10            200          0.21       35         131           0
                                         Gneiss

                        augen &        Lovingston
 I‐009     260.56                                       >7         18          12         10           0.05          50            2.5          0.01       0.6         75           0
                      flaser gneiss      massif

 I‐014     262.09     biotite gneiss      Ashe          >7         15          9          10           0.05          50            2.5          0.01       0.6         75           0


 I‐016      262.5     biotite gneiss      Ashe          >7         10          8          12           20            8             160          0.21       21         143           0


 I‐020     264.53     biotite gneiss      Ashe          >7         12          10         10           20            10            200          0.21       33         146           0


 I‐021     264.66     biotite gneiss      Ashe          >7         12          10          8           20            10            200          0.21       35         131           0


 I‐034      268.9     biotite gneiss      Ashe          >7         17          11          9           0.05          50            2.5          0.01       0.7         71           0


 I‐038     270.19     biotite gneiss      Ashe          4.8        12          10          7           0.05          50            2.5          0.01       0.5         63           0


 I‐039      270.5     biotite gneiss      Ashe          >7         12          10          8           20            10            200          0.21       35         131           0



                                                                                            E-4
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                                                      SSURGO                                                                                                            (R0)
                                                                  Depth of                                                                                                       Drawdown
                                                      Estimated              Saturated     Bore      Hydraulic     Saturated                              Pumping     Radius
Crossing              Underlying       Underlying                 Bore Pit                                                     Transmissivity                                     at 150 ft
           Milepost                                   Depth to               Pit Depth   Duration   Conductivity   Thickness                    Storage     Rate         of
Number                Rock Type        Formation                  Analyzed                                                       (ft b/day)                                      from Bore
                                                       Bedrock                 (ft) b/    (days)      (ft/day)        (ft)                                (gpm) c/   Influence
                                                                   (ft) a/                                                                                                         Pit (ft)
                                                         (ft)                                                                                                          (ft) d/

 I‐040     270.65     biotite gneiss     Ashe            5.1        12          10          7           0.05          50            2.5          0.01       0.5         63           0


 I‐042     271.39     biotite gneiss     Ashe            6.3        15          9          14           0.05          50            2.5          0.01       0.5         89           0


 I‐044A    272.65     biotite gneiss     Ashe            >7         14          8          25            8            20            160          0.21       18         207           1


 I‐046     273.09     biotite gneiss     Ashe            4.8        16          10         55           0.05          50            2.5          0.01       0.4        176           1

                        actinolite      Alligator
 I‐048     274.37                                        4.8        12          10         10           0.05          50            2.5          0.01       0.6         75           0
                          schist         Back

                        actinolite      Alligator
 I‐053     277.13                                        >7         19          13         22           0.05          50            2.5          0.01       0.6        111           0
                          schist         Back

                        actinolite      Alligator
 I‐055     277.58                                        >7         17          11         18           0.05          50            2.5          0.01       0.55       101           0
                          schist         Back

                        actinolite      Alligator
 I‐056     277.75                                        >7         12          10          8           10            20            200          0.21       35         131           0
                          schist         Back

                        actinolite      Alligator
 I‐057     277.96                                        >7         14          8          11            8            20            160          0.21       22         137           0
                          schist         Back

                        actinolite      Alligator
 I‐060B     278.5                                        >7         24          18         19           0.05          50            2.5          0.01       0.9         10           0
                          schist         Back

                        actinolite      Alligator
 I‐061A    278.93                                        >7         13          7           8            7            20            140          0.21       19         110           0
                          schist         Back

                        actinolite      Alligator
 I‐062      279.2                                        >7         22          16         16           0.05          50            2.5          0.01       0.9         95           0
                          schist         Back

                        actinolite      Alligator
 I‐063     279.51                                        >7         17          11         14           0.05          50            2.5          0.01       0.6         89           0
                          schist         Back

                        actinolite      Alligator
 I‐064      279.9                                        >7         12          10         14           10            20            200          0.21       30         173          0.5
                          schist         Back

                        actinolite      Alligator
 I‐065     279.73                                        >7         16          10         14           0.05          50            2.5          0.01       0.6         89           0
                          schist         Back

                        actinolite      Alligator
 I‐067     280.29                                        >7         13          7          11            7            20            140          0.21       17         128           0
                          schist         Back

                        actinolite      Alligator
 I‐069A    280.88                                        >7         16          10         10           0.05          50            2.5          0.01       0.6         75           0
                          schist         Back


                                                                                             E-5
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                                                      SSURGO                                                                                                            (R0)
                                                                  Depth of                                                                                                       Drawdown
                                                      Estimated              Saturated     Bore      Hydraulic     Saturated                              Pumping     Radius
Crossing              Underlying       Underlying                 Bore Pit                                                     Transmissivity                                     at 150 ft
           Milepost                                   Depth to               Pit Depth   Duration   Conductivity   Thickness                    Storage     Rate         of
Number                Rock Type        Formation                  Analyzed                                                       (ft b/day)                                      from Bore
                                                       Bedrock                 (ft) b/    (days)      (ft/day)        (ft)                                (gpm) c/   Influence
                                                                   (ft) a/                                                                                                         Pit (ft)
                                                         (ft)                                                                                                          (ft) d/
                        actinolite      Alligator
 I‐070     281.45                                        >7         16          10         10           0.05          50            2.5          0.01       0.6         75           0
                          schist         Back

                        actinolite      Alligator
 I‐073     281.88                                        >7         13          7          11            7            20            140          0.21       17         128           0
                          schist         Back

                        actinolite      Alligator
 I‐074     282.04                                        >7         16          10         13           0.05          50            2.5          0.01       0.6         85           0
                          schist         Back

                        actinolite      Alligator
 I‐076     282.78                                        >7         17          11         44           0.05          50            2.5          0.01       0.4        157           1
                          schist         Back

 I‐078     284.13     amphibolite        Bassett         >7         11          9          10            9            20            180          0.21       27         146           0

 I‐080     284.48     biotite gneiss     Bassett         >7         13          7          22            7            20            140          0.21       15         182          0.7

 I‐085     286.03     amphibolite        Bassett         >7         12          10         10           10            20            200          0.21       33         146           0

                                         Fork
 I‐086     286.83      mica schist                       >7         15          9          13           0.05          50            2.5          0.01       0.5         86           0
                                        Mountain

                                         Fork
 I‐087     289.58      mica schist                       >7         15          9          13           0.05          50            2.5          0.01       0.5         86           0
                                        Mountain

 I‐091     291.71     biotite gneiss     Bassett         >7         20          14         13           0.05          50            2.5          0.01       0.8         86           0


 I‐092     291.87     biotite gneiss     Bassett         >7         13          7          10            7            20            140          0.21       18         122           0


 I‐093     292.11     biotite gneiss     Bassett         >7         11          9          10            9            20            180          0.21       27         146           0


 I‐094     293.25     biotite gneiss     Bassett         >7         17          11         48           0.05          50            2.5          0.01       0.4        164           1


 I‐095      293.5     biotite gneiss     Bassett         >7         12          10         11           10            20            200          0.21       32         154         <0.1

                                         Fork
 I‐096     293.62      mica schist                       >7         11          9          10            9            20            180          0.21       27         146           0
                                        Mountain

 I‐097      293.9     biotite gneiss     Bassett         >7         14          8          22            8            20            160          0.21       18         194          0.8

                                         Fork
 I‐101A    295.03      mica schist                       >7         10          8          60            8            20            160          0.21       15         321          2.2
                                        Mountain




                                                                                             E-6
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                                                             SSURGO                                                                                                                                (R0)
                                                                            Depth of                                                                                                                          Drawdown
                                                             Estimated                   Saturated       Bore        Hydraulic        Saturated                                    Pumping       Radius
Crossing                    Underlying       Underlying                     Bore Pit                                                                Transmissivity                                             at 150 ft
              Milepost                                       Depth to                    Pit Depth     Duration     Conductivity      Thickness                        Storage       Rate           of
Number                      Rock Type        Formation                      Analyzed                                                                  (ft b/day)                                              from Bore
                                                              Bedrock                      (ft) b/      (days)        (ft/day)           (ft)                                      (gpm) c/     Influence
                                                                             (ft) a/                                                                                                                            Pit (ft)
                                                                (ft)                                                                                                                              (ft) d/
                                               Fork
    I‐103      295.28        mica schist                         >7            10            8            10              8               20              160            0.21          22           131            0
                                              Mountain

                                             Leatherwoo
    I‐105       296.1         Granite                            >7            14            8            10              8               20              160            0.21          23           131            0
                                              d Granite

                                             Leatherwoo
 I‐106A        296.36         Granite                            >7            15            9            65             0.05             50              2.5            0.01         0.3           196            1
                                              d Granite

                                               Fork
 I‐111A         298.2        mica schist                         >7            12            10           31              10              20              200            0.21          25           258            1.5
                                              Mountain

                                               Fork
    I‐114      299.86        mica schist                         >7            12            10           49              10              20              200            0.21          23           324            2.5
                                              Mountain

                                               Fork
    I‐115      300.53        mica schist                         >7            11            9            10              9               20              180            0.21          27           146            0
                                              Mountain

                                             Leatherwoo
    I‐116      300.92         Granite                            >7            11            9            10              9               20              180            0.21          27           146            0
                                              d Granite

                                             Leatherwoo
    I‐117      301.13         Granite                            >7            13            7            14              7               20              140            0.21          16           145            0
                                              d Granite

                                               Fork
    I‐121       302.9        mica schist                         >7            16            10           45             0.05             50              2.5            0.01         0.4           159            0.4
                                              Mountain

                                               Fork
    I‐122      302.89        mica schist                         >7            13            7            14              7               20              140            0.21          16           145            0
                                              Mountain

                             sandstone,
    I‐123      303.16                        Leakesville         >7            16            10           10              1               50               50            0.12          10           97             0
                              siltstone

a      From appendix C, the deepest bore pit at each crossing was selected for analysis. Bore pits excavated on a slope will have different front and back face depths in which case the shallower face depth is
       used here since it defines the maximum depth of water that can be retained in the bore pit.
b      Saturated depth is pit depth minus the water table. For pits less than 12 feet, depth to water assumed at 2 feet. For pits greater than 12 feet, depth to water assumed at 6 feet.
c      Q = In gallons per minute (gpm) adjusted to meet drawdown to full depth of bore pit at max time.
d      Distance from bore pit at which estimated groundwater drawdown reaches zero. Calculation inputs include the following:
       Saturated Thickness was estimated to be the saturated depth of the bore pit in the alluvium. The bore pits estimated to be in the bedrock were assigned a saturated thickness of 50 feet.
       Hydraulic Conductivity from USGS (2002) likely maximum value in feet/day:
       •Alluvium (Fine Sand from borings) = 20
       •Sedimentary Rock (Fine Sandstone) = 1
       •Limestone = 0.1
       •Crystalline = 0.05
       Specific Storage:
       •Alluvium (Fine Sand from borings) = 0.21
       •Sedimentary Rock (Siltstone) = 0.12
       •Limestone = 0.14
       •Crystalline = 0.01 r = 10 feet


                                                                                                            E-7
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                                                                                                                          Appendix F

                                                                                                   Current Environmental Justice Community Data
                                                                                                                  African         American                  Native HI &                                  Hispanic Origin Total Minority
                                      No. of                                            Total      White (%)                                    Asian                       Some Other    Two or More                                     Households in
         Geographic Area                                 Crossing Number                                       American/Black   Indian/Alaska              Other Pacific                                 (any race) (%) Populations (%)
                                     Crossings                                        Population      a/                                        (%) a/                      Race (%) a/   Races (%) a/                                    Poverty (%) b/
                                                                                                                  (%) a/        Native (%) a/             Islander (%) a/                                      a/              a/
WEST VIRGINIA                                                                         1,817,305     92.0%          3.6%             0.2%         0.8%          0.0%            0.2%          1.6%             1.6%            8.0%            17.3%
Wetzel County                                                                           15,436      96.9%          1.1%             0.0%         0.0%          0.0%            0.3%          0.9%             0.9%            3.1%            18.3%
Block Group 5, Census Tract 305         1                      A-008                     666        100.0%         0.0%             0.0%         0.0%          0.0%            0.0%          0.0%             0.0%            0.0%            26.3%
Lewis County                                                                            16,166      96.3%          0.2%             0.5%         0.5%          0.0%            0.0%          1.2%             1.2%            3.7%            19.1%
Block Group 2, Census Tract 9676        1                     B-012                      899        100.0%         0.0%             0.0%         0.0%          0.0%            0.0%          0.0%             0.0%            0.0%            28.0%
Block Group 3, Census Tract 9676        1                     B-015A                    1,679       97.5%          0.0%             0.0%         0.0%          0.0%            0.0%          2.1%             0.4%            2.5%            13.6%
Webster County                                                                          8,386       99.6%          0.0%             0.0%         0.0%          0.0%            0.0%          0.3%             0.1%            0.4%            26.0%
Block Group 1, Census Tract 9701        1                     C-013A                     684        100.0%         0.0%             0.0%         0.0%          0.0%            0.0%          0.0%             0.0%            0.0%            29.4%
Block Group 2, Census Tract 9701        2                 C-018, C-022*                 1,001       100.0%         0.0%             0.0%         0.0%          0.0%            0.0%          0.0%             0.0%            0.0%            18.8%
Block Group 4, Census Tract 9701        4           C-022*, C-024, C-028, C-035         1,515       100.0%         0.0%             0.0%         0.0%          0.0%            0.0%          0.0%             0.0%            0.0%            27.3%
Block Group 1, Census Tract 9703        1                     D-010                     2,147       99.1%          0.1%             0.0%         0.0%          0.0%            0.0%          0.6%             0.2%            0.9%            19.9%
Nicholas County                                                                         25,078      96.9%          0.7%             0.4%         0.2%          0.0%            0.0%          1.0%             0.8%            3.1%            17.5%
Block Group 1, Census Tract 9504        4           D-022, D-028, D-034, D-035           986        100.0%         0.0%             0.0%         0.0%          0.0%            0.0%          0.0%             0.0%            0.0%             8.2%
Block Group 2, Census Tract 9504        4           D-036, D-037, D-038, D-040          1,437       100.0%         0.0%             0.0%         0.0%          0.0%            0.0%          0.0%             0.0%            0.0%            23.4%
Block Group 3, Census Tract 9504        4           D-011, D-012, D-019, D-020          1,939       100.0%         0.0%             0.0%         0.0%          0.0%            0.0%          0.0%             0.0%            0.0%            13.2%
Block Group 3, Census Tract 9506        1                     D-048                     1,798       100.0%         0.0%             0.0%         0.0%          0.0%            0.0%          0.0%             0.0%            0.0%            15.8%
Block Group 1, Census Tract 9507        1                     E-005                      288        84.0%          0.0%             16.0%        0.0%          0.0%            0.0%          0.0%             0.0%           16.0%            27.5%
Greenbrier County                                                                       35,155      92.2%          2.8%             0.0%         0.6%          0.0%            0.5%          1.8%             2.0%            7.8%            16.6%
Block Group 1, Census Tract 9503        3               E-009, E-012, E-015              632        100.0%         0.0%             0.0%         0.0%          0.0%            0.0%          0.0%             0.0%            0.0%            46.5%
Summers County                                                                          12,848      91.9%          4.5%             0.0%         0.0%          0.0%            0.0%          2.2%             1.5%            8.1%            21.2%
Block Group 1, Census Tract 6           4            F-014, F-015, F-016, F-017          516        87.8%          10.5%            0.0%         0.0%          0.0%            0.0%          0.0%             1.7%           12.2%            34.8%
Block Group 2, Census Tract 6           3               F-021, F-022, F-027             1,845       84.1%          11.2%            0.0%         0.0%          0.0%            0.0%          1.5%             3.2%           15.9%            16.8%
Monroe County                                                                           13,401      96.3%          0.9%             0.5%         0.0%          0.0%            0.0%          1.4%             0.9%            3.7%            15.3%
Block Group 4, Census Tract 9502        1                      F-032                     729        94.9%          0.0%             0.0%         0.0%          0.0%            0.0%          5.1%             0.0%            5.1%             4.7%
Block Group 2, Census Tract 9503        1                      F-039                    2,861       99.6%          0.0%             0.0%         0.0%          0.0%            0.0%          0.1%             0.3%            0.4%            13.7%
VIRGINIA                                                                              8,454,463     61.8%          18.8%            0.2%         6.3%          0.1%            0.3%          3.1%             9.4%           38.2%            10.3%
Giles County                                                                            16,772      94.9%          2.2%             0.0%         0.1%          0.2%            0.0%          0.9%             1.7%            5.1%             9.6%
Block Group 1, Census Tract 9301        4         G-017*, G-019B, G-023, G-024          1,035       99.5%          0.0%             0.0%         0.0%          0.0%            0.0%          0.0%             0.5%            0.5%             8.5%
                                                 G-09, G-010, G-011, G-012, G-013,
Block Group 3, Census Tract 9302        7                 G-014, G-017*                1,258        93.2%          4.1%               0.0%       0.0%          0.0%            0.0%          1.8%             0.9%           6.8%             13.4%
Montgomery County                                                                      98,140       83.3%          4.4%               0.4%       6.6%          0.0%            0.6%          1.5%             3.2%           16.7%            20.0%
Block Group 2, Census Tract 213         3              H-009, H-015, H-017              939         96.8%          0.0%               0.6%       0.0%          0.0%            0.0%          1.5%             1.1%           3.2%              5.7%
Block Group 1, Census Tract 214         2                 H-017, H-020*                 714         81.7%          0.0%               0.0%       0.0%          0.0%            0.0%          0.0%            18.3%           18.3%            10.1%
Block Group 2, Census Tract 214         3              H-020*, H-021, H-022            1,856        92.7%          4.2%               0.0%       0.0%          0.0%            0.0%          0.0%             3.1%           7.3%             43.6%
Roanoke County                                                                         93,823       85.8%          5.9%               0.2%       3.1%          0.0%            0.1%          1.8%             3.1%           14.2%             8.1%
                                                 H-030, H-031, H-032, H-040. H-042,
                                                   H-043, H-044, H-045, H-046, H-
Block Group 3, Census Tract 306         11                 047A, H-048A                 789         89.6%          0.0%               0.0%       1.5%          0.0%            0.0%          8.9%             0.0%           10.4%             5.0%
Franklin County                                                                        56,187       87.2%          7.4%               0.3%       0.5%          0.0%            0.3%          1.5%             2.8%           12.8%            13.4%

Block Group 1, Census Tract 201.02      1                      I-048                    1,070       86.5%          6.8%               0.0%       0.6%          0.0%            0.0%          6.1%             0.0%           13.5%            4.8%
Block Group 1, Census Tract 202         1                      I-034                    1,582       93.4%          4.4%               0.0%       0.0%          0.0%            0.0%          2.2%             0.0%           6.6%             6.9%


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                                                                                                                               Appendix F

                                                                                                       Current Environmental Justice Community Data
                                                                                                                      African         American                    Native HI &                                     Hispanic Origin Total Minority
                                      No. of                                                Total      White (%)                                      Asian                        Some Other      Two or More                                     Households in
         Geographic Area                                  Crossing Number                                          American/Black   Indian/Alaska                Other Pacific                                    (any race) (%) Populations (%)
                                     Crossings                                            Population      a/                                          (%) a/                       Race (%) a/     Races (%) a/                                    Poverty (%) b/
                                                                                                                      (%) a/        Native (%) a/               Islander (%) a/                                         a/              a/
                                                 I-038, I-039, I-040, I-042, I-044A, I-
Block Group 2, Census Tract 202          6                         046                      1,392       87.7%          7.4%               0.5%         0.0%          0.0%              0.0%            0.0%             4.4%            12.3%           6.9%
Block Group 1, Census Tract 205          3               H-054, H-060, I-001A               1,861       98.9%          0.0%               0.0%         0.0%          0.0%              0.0%            1.1%             0.0%            1.1%            8.5%
Block Group 4, Census Tract 205          5          I-009, I-014, I-016, I-020, I-021       2,169       87.5%          6.6%               0.0%         1.6%          0.0%              0.0%            2.9%             1.4%            12.5%          11.1%
                                                 I-053, I-055, I-056, I-057, I-060B, I-
                                                  061A, I-062, I-063, I-064, I-065, I-
                                                  067, I-069A, I-070, I-073, I-074, I-
Block Group 1, Census Tract 209         16                         076                      928         76.6%          19.2%              0.0%         2.2%          0.0%              0.0%            2.0%             0.0%            23.4%          17.7%
Pittsylvania County                                                                        61,256       74.1%          20.0%              0.1%         0.4%          0.0%              0.0%            2.8%             2.6%            25.9%          15.7%
                                                  I-078, I-080, I-085, I-086, I-087, I-
Block Group 4, Census Tract 103          8                 091, I-092, I-093                 630        58.3%          40.0%              0.0%         0.0%          0.0%              0.0%            1.7%             0.0%            41.7%          29.1%
                                                 I-111A, I-114, I-115, I-116, I-117, I-
Block Group 1, Census Tract 105          8                 121, I-122, I-123                1,147       60.4%          38.4%              0.0%         1.1%          0.0%              0.0%            0.0%             0.0%            39.6%          12.7%
Block Group 3, Census Tract 105          4           I-101A, I-103, I-105, I-106A           2,267       54.2%          38.2%              0.0%         1.4%          0.0%              0.0%            1.6%             4.5%            45.8%          14.2%
Block Group 2, Census Tract 106          4             I-094, I-095, I-096, I-097           1,712       78.0%          18.3%              0.0%         0.0%          0.0%              0.0%            2.6%             1.1%            22.0%          14.6%

a Percent of Total Population (Table B03002 - Hispanic or Latino Origin by Race American Community Survey. 2019 ACS 5-Year Estimates Detailed Tables. U.S. Census Bureau, 2015-2019 American Community Survey 5-Year Estimates:
https://api.census.gov/data/2019/acs/acs5). Accessed: May 13, 2021
b Percent of Households (Table B17017 - Poverty Status in the Past 12 months by Household Type by Age of Householder. 2019 ACS 5-Year Estimates Detailed Tables. U.S. Census Bureau, 2015-2019 American Community Survey 5-Year Estimates:
https://api.census.gov/data/2019/acs/acs5). Accessed: May 13, 2021
* Crossing occurs in more than one Block Group




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